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                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF DELAWARE

 In re:
                                                               Chapter 11
                                                    1
  WATER GREMLIN COMPANY, et al.,
                                                               Case No. 23-11775 (LSS)
                        Debtors.
                                                               (Jointly Administered)


                     SECOND AMENDMENT OF SCHEDULES OF ASSETS AND
                        LIABILITIES FOR WATER GREMLIN COMPANY




______________________________________________
1
  . The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: WG Sub, LLC (“WG Sub”) (0781), Water Gremlin Holdings, Inc. (“Holdings”) (9250), and Water
Gremlin Company (“Water Gremlin”) (6396).
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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                            )
In re:                                                      ) Chapter 11
                                                            )
WATER GREMLIN COMPANY, et al., 1                            ) Case No. 23-11775 (LSS)
                                                            )
                  Debtors.                                  ) (Jointly Administered)
                                                            )
                                                            )

      GLOBAL NOTES AND STATEMENT OF LIMITATIONS, METHODOLOGY,
     AND DISCLAIMERS REGARDING DEBTORS’ SCHEDULES OF ASSETS AND
            LIABILITIES AND STATEMENTS OF FINANCIAL AFFAIRS

        The above-captioned debtors and debtors in possession (collectively, the “Debtors”), with
the assistance of their advisors, have filed their respective Schedules of Assets and Liabilities
(collectively, the “Schedules”) and Statements of Financial Affairs (collectively, the
“Statements”) in the United States Bankruptcy Court for the District of Delaware (the
“Bankruptcy Court”), pursuant to section 521 of title 11 of the United States Code (the
“Bankruptcy Code”) and Rule 1007 of the Federal Rules of Bankruptcy Procedure.

       These Global Notes and Statement of Limitations, Methodology, and Disclaimers
Regarding the Debtors’ Schedules of Assets and Liabilities and Statements of Financial Affairs
(the “Global Notes”) pertain to, are incorporated by reference in, and comprise an integral part of
each of the Schedules and Statements. These Global Notes should be referred to, considered, and
reviewed in connection with any review of the Schedules and Statements.2 In the event that the
Schedules and/or Statements differ from these Global Notes, these Global Notes control.

         While the Debtors’ management and advisors have made reasonable efforts to ensure that
the Schedules and Statements are as accurate and complete as possible under the circumstances,
based on information available at the time of preparation, subsequent information or discovery
may result in material changes to these Schedules and Statements, and inadvertent errors,
inaccuracies, or omissions may have occurred. Because the Schedules and Statements contain
unaudited information, which is subject to further review, verification, and potential adjustment,
there can be no assurance that these Schedules and Statements are complete. The Debtors reserve
all rights to amend or supplement the Schedules and Statements from time to time, in all respects,
as may be necessary or appropriate, including, without limitation, the right to amend the Schedules
and Statements with respect to a claim (as defined in section 101(5) of the Bankruptcy Code,
         1
           The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
identification number, are: WG Sub, LLC (“WG Sub”) (0781), Water Gremlin Holdings, Inc. (“Holdings”) (9250),
and Water Gremlin Company (“Water Gremlin”) (6396).
         2
           These Global Notes supplement and are in addition to any specific notes contained in each Debtor’s
Schedules or Statements. The fact that the Debtors may reference an individual Debtor’s Schedules and Statements
and not those of another Debtor should not be interpreted as a decision by the Debtors to exclude the applicability of
such reference to any of the Schedules and Statements of any other Debtor, as applicable.
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“Claim”) description or designation; dispute or otherwise assert offsets or defenses to any Claim
reflected in the Schedules and Statements as to amount, liability, priority, status, or classification;
subsequently designate any Claim as “disputed,” “contingent,” or “unliquidated;” or object to the
extent, validity, enforceability, priority, or avoidability of any Claim. Any failure to designate a
Claim in the Schedules or Statements as “disputed,” “contingent,” or “unliquidated” does not
constitute an admission by the Debtors that such Claim or amount is not “disputed,” “contingent,”
or “unliquidated.” Listing a Claim does not constitute an admission of liability by the Debtors.
Nothing contained in the Schedules and Statements shall constitute a waiver of any right of the
Debtors or an admission with respect to the Debtors’ Chapter 11 Cases (as defined herein)
(including, but not limited to, issues involving claims, substantive consolidation, defenses,
equitable subordination, and/or causes of action arising under the provisions of chapter 5 of the
Bankruptcy Code or any other relevant non-bankruptcy laws to recover assets or avoid transfers).

        The Debtors and their agents, attorneys and financial advisors do not guarantee or warrant
the accuracy or completeness of the data that is provided herein, and will not be liable for any loss
or injury arising out of or caused in whole or in part by the acts, errors, or omissions, whether
negligent or otherwise, in procuring, compiling, collecting, interpreting, reporting,
communicating, or delivering the information contained herein. The Debtors and their agents,
attorneys, and financial advisors expressly do not undertake any obligation to update, modify,
revise, or re-categorize the information provided herein, or to notify any third party should the
information be updated, modified, revised, or re-categorized, except as required by applicable law.
In no event will the Debtors or their agents, attorneys and/or financial advisors be liable to any
third party for any direct, indirect, incidental, consequential, or special damages (including, but
not limited to, damages arising from the disallowance of a potential claim against the Debtors or
damages to business reputation, lost business, or lost profits), arising from the accuracy or
completeness of the data provided herein whether foreseeable or not and however caused, even if
the Debtors or their agents, attorneys, and financial advisors are advised of the possibility of such
damages.

       Bradley J. Hartsell, the President or Authorized Person of the Debtors, has signed the
Schedules and Statements. Mr. Hartsell is an authorized signatory for the Debtors. In reviewing
and signing the Schedules and Statements, Mr. Hartsell has necessarily relied upon the efforts,
statements, and representations of various third parties involved in the Debtors’ operations. Mr.
Hartsell has not (and could not have) personally verified the accuracy of each such statement and
representation, including statements and representations concerning amounts owed to creditors.

               I. GLOBAL NOTES AND OVERVIEW OF METHODOLOGY
          1.     Description of the Chapter 11 Case. On October 27, 2023 (the “Petition
  Date”), the Debtors filed voluntary petitions for relief under chapter 11 of the Bankruptcy
  Code. The Debtors are operating their business and managing their property as debtors in
  possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code (the “Chapter 11
  Cases”). On November 1, 2023, an order was entered directing joint administration of these
  Chapter 11 Cases [Docket No. 33]. Notwithstanding the joint administration of the Debtors’
  Chapter 11 Cases for procedural purposes, each Debtor has filed its own Schedules and
  Statements. The information provided herein, except as otherwise noted, is reported as of the
  Petition Date. On November 7, 2023, the United States Trustee for the District of Delaware

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(the “U.S. Trustee”) appointed an official committee of unsecured creditors (the
“Committee”). No trustee or examiner has been appointed in the Chapter 11 Cases.

         2.     Basis of Presentation. For financial reporting purposes, in the ordinary course
prior to the Petition Date, the Debtors prepared financial statements that were consolidated by
Holdings. Combining the assets and liabilities set forth in the Schedules and Statements would
result in amounts that may be different from financial information that would be prepared on a
consolidated basis under Generally Accepted Accounting Principles (“GAAP”). The Schedules
and Statements do not purport to represent financial statements prepared in accordance with
GAAP nor are they intended to fully reconcile to the financial statements prepared by the
Debtors. Unlike the consolidated financial statements, the Schedules and Statements reflect the
assets and liabilities of each separate Debtor, except where otherwise indicated. Information
contained in the Schedules and Statements has been derived from the Debtors’ books and
records and historical financial statements.

        3.     Moreover, given, among other things, the extent of the Debtors’ unused net
operating losses and the uncertainty surrounding the valuation and nature of certain of the
Debtors’ assets and liabilities, to the extent that a Debtor shows more assets than liabilities, this
is not an admission that a Debtor was solvent as of the Petition Date or at any time prior to the
Petition Date.

        4.      Reservation and Limitations. While reasonable efforts have been made to
prepare and file complete and accurate Schedules and Statements, inadvertent errors or
omissions may exist. The Debtors reserve all rights to amend and/or supplement the Schedules
and Statements from time to time as is necessary or appropriate. Nothing contained in the
Schedules and Statements constitutes a waiver of any of the Debtors’ rights or an admission of
any kind with respect to these Chapter 11 Cases, including, but not limited to, any rights or
claims of the Debtors against any third party or issues involving substantive consolidation,
equitable subordination, or defenses or causes of action arising under the provisions of chapter
5 of the Bankruptcy Code or any other relevant applicable bankruptcy or non-bankruptcy laws
to recover assets or avoid transfers. Any specific reservation of rights contained elsewhere in
these Global Notes does not limit in any respect the general reservation of rights contained in
this paragraph.

        5.     No Admission. Nothing contained in the Schedules and Statements is intended
as, or should be construed as, an admission or stipulation of the validity of any claim against
any Debtor, any assertion made therein or herein, or a waiver of any of the Debtors’ rights to
dispute any claim or assert any cause of action or defense against any party.

II. GENERAL DISCLOSURE APPLICATION TO SCHEDULES AND STATEMENTS

        6.      Causes of Action. Despite their reasonable efforts to identify all known assets,
the Debtors may not have listed all of their causes of action or potential causes of action against
third-parties as assets in the Schedules and Statements, including causes of actions arising under
the provisions of Chapter 5 of the Bankruptcy Code and any other relevant nonbankruptcy laws
to recover assets or avoid transfers. The Debtors reserve all of their rights with respect to any
cause of action (including avoidance actions), controversy, right of setoff, cross claim,

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counterclaim, or recoupment, and any claim in connection with any contract, breach of duty
imposed by law or in equity, demand, right, action, lien, indemnity, guaranty, suit, obligation,
liability, damage, judgment, account, defense, power, privilege, license, and franchise of any
kind or character whatsoever, known, unknown, fixed or contingent, matured or unmatured,
suspected or unsuspected, liquidated or unliquidated, disputed or undisputed, secured or
unsecured, assertable directly or derivatively, whether arising before, on, or after the Petition
Date, in contract or in tort, in law or in equity, or pursuant to any other theory of law
(collectively, “Causes of Action”) it may have, and neither these Global Notes nor the
Schedules nor the Statements shall be deemed a waiver of any Causes of Action or in any way
prejudice or impair the assertion of any such Causes of Action.

       7.       Recharacterization. The Debtors have made reasonable efforts to correctly
characterize, classify, categorize, and designate the claims, assets, executory contracts,
unexpired leases, and other items reported in the Schedules and Statements. However, the
Debtors may have inadvertently improperly characterized, classified, categorized, designated,
or omitted certain items due to the complexity of the Debtors’ business. Accordingly, the
Debtors reserve all of their rights to recharacterize, reclassify, recategorize, or redesignate items
reported in the Schedules and Statements at a later time as necessary or appropriate, including,
without limitation, whether contracts or leases listed herein were deemed executory or
unexpired as of the Petition Date and remain executory and unexpired postpetition.

        8.      Claim Designations. Listing a claim (i) on Schedule D as “secured,” (ii) on
Schedule E/F part 1 as “unsecured priority” or (iii) on Schedule E/F part 2 as “unsecured
nonpriority,” does not constitute a waiver of any of the Debtors’ rights to recharacterize,
reclassify, recategorize, or redesignate such claim. Furthermore, listing a contract on Schedule
G as “executory” or “unexpired,” does not constitute an admission by the Debtors that such
contract or agreement is an executory contract or unexpired lease nor a waiver of the Debtors’
right to recharacterize, reclassify or dispute the validity, status or enforceability of any
contracts, agreements or leases set forth on Schedule G and to amend or supplement such
Schedule, as necessary.

        9.      Totals. All totals that are included in the Schedules and Statements represent
totals of all known and estimated amounts included in the Schedules and Statements. To the
extent there are unknown, disputed, contingent, unliquidated, or otherwise undetermined
amounts, the actual total may be materially different than the listed total. The description of an
amount as “unknown,” “disputed,” “contingent,” “unliquidated,” or “undetermined” is not
intended to reflect upon the materiality of such amount. Due to numerous unliquidated,
contingent and/or disputed claims, it is possible that the summary statistics in the Schedules,
Statements and Global Notes may understate the Debtors’ liabilities (possibly to a significant
extent).

        10.    Court Orders. Pursuant to certain orders of the Bankruptcy Court, the Debtors
were authorized (but not directed) to pay, among other things, certain prepetition claims,
including with respect to employees, among others. Accordingly, certain of these liabilities
may have been, or will be, satisfied in accordance with such orders. Where the Schedules list
creditors and set forth the Debtors’ scheduled amount of such claims, such scheduled amounts
reflect amounts owed as of the Petition Date. However, the estimates of claims set forth in the

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Schedules may not reflect assertions by the Debtors’ creditors of a right to have such claims
paid or reclassified under the Bankruptcy Code or orders of the Bankruptcy Court.

         11.    Other Paid Claims. To the extent the Debtors have reached any postpetition
settlement with a vendor or other creditor, the terms of such settlement will prevail, supersede
amounts listed in the Schedules and Statements, and shall be enforceable by all parties, subject
to any necessary Bankruptcy Court approval. To the extent the Debtors pay any of the claims
listed in the Schedules and Statements pursuant to any orders entered by the Bankruptcy Court,
the Debtors reserve all rights to amend and supplement the Schedules and Statements and take
other action, such as filing claims objections or notices of satisfaction of such claims, as is
necessary and appropriate to avoid overpayment or duplicate payment for such liabilities.

        12.     Liabilities. The Debtors allocated liabilities between the prepetition and
postpetition periods based on the information and research conducted in connection with the
preparation of the Schedules and Statements. As additional information becomes available and
further research is conducted, the allocation of liabilities between the prepetition and
postpetition periods may change. The Debtors reserve all rights to modify, amend or
supplement the Schedules and Statements as is necessary or appropriate. The liabilities listed
on these Schedules do not reflect any analysis of claims under section 503(b)(9) of the
Bankruptcy Code. Accordingly, the Debtors reserve all rights to dispute or challenge the
validity of any asserted claims under section 503(b)(9) of the Bankruptcy Code or the
characterization of the structure of any such transaction or any document or instrument related
to such creditor’s claim.

       13.      Currency. Unless otherwise indicated, all amounts are reflected in U.S. dollars.

        14.     Valuation. The Debtors believe it would be prohibitively expensive, unduly
burdensome, and an inefficient use of estate assets for the Debtors to obtain current market
valuations of all of their assets. For these reasons, the Debtors have indicated in the Schedules
and Statements that the values of certain assets and liabilities are undetermined or unknown.
Unless otherwise indicated, the Schedules and Statements reflect net book values as of the
Petition Date. Exceptions to this include operating cash and certain other assets as described
herein. Operating cash is presented as bank balances as of the Petition Date. Amounts
ultimately realized may vary from net book value, and such variance may be material. The
omission of an asset from the Schedules and Statements does not constitute a representation
regarding the ownership of such asset, and any such omission does not constitute a waiver of
any rights of the Debtors with respect to such asset.

        15.      Leases. Nothing in the Schedules or Statements (including, without limitation
the failure to list leased property or equipment as owned property or equipment) is, or shall be
construed as, an admission as to the determination of legal status of any lease (including
whether any lease is a true lease or financing arrangement), and the Debtors reserve all of their
rights with respect to such issues. The Debtors lease facilities under various lease agreements.
These leases are reported on the Schedule G. To the extent that there was an amount outstanding
under any of these agreements as of the respective Petition Date, the amount owed to the
applicable lessor has been listed on Schedule E/F Part 2.


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        16.     Estimates. To prepare and file the Schedules in accordance with the deadline
established in the Chapter 11 Cases, management was required to make certain estimates and
assumptions that affected the reported amounts of these assets and liabilities as of the Petition
Date. The Debtors reserve the right to amend the reported amounts of assets and liabilities to
reflect changes in those estimates or assumptions.

       17.      Fiscal Year. The Debtors’ fiscal years end on September 30.

        18.     Intellectual Property Rights. Exclusion of certain intellectual property shall not
be construed to be an admission that such intellectual property rights have been abandoned,
have been terminated, or otherwise have expired by their terms, or have been assigned or
otherwise transferred pursuant to a sale, acquisition, or other transaction. Conversely, inclusion
of certain intellectual property shall not be construed to be an admission that such intellectual
property rights have not been abandoned, have not been terminated, or otherwise have not
expired by their terms, or have not been assigned or otherwise transferred pursuant to a sale,
acquisition, or other transaction. The Debtors reserve all of their rights with respect to the legal
status of any and all intellectual property rights.

        19.     Liens. The inventories, property, and equipment listed in the Statements and
Schedules are presented without consideration of any asserted mechanics’, materialmen, or
similar liens that may attach (or have attached) to such inventories, property, and equipment.

        20.     Credits and Adjustments. The claims of individual creditors for, among other
things, goods, products, services, or taxes are listed as the amounts entered on the Debtors’
books and records and may not reflect credits, allowances, or other adjustments due from such
creditors to the Debtors. The Debtors reserve all of their rights with regard to such credits,
allowances, and other adjustments, including the right to assert claims objections and/or setoffs
with respect to the same.

         21.     Insiders. In the circumstance where the Schedules and Statements require
information regarding “insiders,” the Debtors have included information with respect to certain
individuals who the Debtors believe may be included in the definition of “insider” set forth in
section 101(31) of the Bankruptcy Code during the relevant time periods. The listing of a party
as an insider for purposes of the Schedules and Statements is not intended to be, nor should it
be, construed as an admission of any fact, right, claim, or defense, and all such rights, claims,
and defenses are hereby expressly reserved. Information regarding the individuals listed as
insiders in the Schedules and Statements has been included for informational purposes only
and such information may not be used for (1) the purposes of determining (i) control of the
Debtors, (ii) the extent to which any individual exercised management responsibilities or
functions or corporate decision making authority over the Debtors, or (iii) whether such
individual could successfully argue that he or she is not an insider under applicable law,
including the Bankruptcy Code and federal securities laws, or with respect to any theories of
liability or (2) any other purpose.

        22.    Intercompany Claims. Receivables and payables among the Debtors are
reported on Schedule A/B and Schedule E/F, respectively. The listing of any amounts with
respect to such receivables and payables is not, and should not be construed as, an admission

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of the characterization of such balances as debt, equity, or otherwise. For the avoidance of
doubt, the Debtors reserve all rights, claims, and defenses in connection with any and all
intercompany receivables and payables, including with respect to the characterization of
intercompany claims. The Debtors engage in limited intercompany transactions with each
other, including the payment or funding of certain operating expenses as described in the
Debtors’ Motion For Entry of Interim and Final Orders (I) Authorizing the Debtors to (A)
Continue to Operate Their Cash Management System, (B) Honor Certain Prepetition
Obligations Related Thereto, (C) Maintain Existing Business Forms, and (D) Perform
Intercompany Transactions, (II) Waiving the Requirements of Section 345(b) On An Interim
Basis, and (III) Granting Related Relief [Docket No. 12] (the “Cash Management Motion”).

    III. SPECIFIC DISCLOSURES WITH RESPECT TO THE DEBTORS’
    SCHEDULES

         23.    Schedule A/B – All Assets. Except as otherwise set forth herein, the value of all
assets listed on Schedule A/B are as of the Petition Date, as reflected in the Debtors’ books and
records. The Debtors have performed no independent review of the value of these assets. The
actual value of the assets listed may differ significantly from the amounts reflected in each
Debtors’ books and records.

       24.     Schedule A/B, Parts 1 and 2 – Cash and Cash Equivalents; Deposits and
Prepayments. Details with respect to the Debtors’ cash management system and bank accounts
are provided in the Cash Management Motion and the orders of the Bankruptcy Court granting
the Cash Management Motion. The Debtors’ bank account balances, and the balances of
deposits and prepayments, are reported as of the Petition Date.

        25.      Schedule D - Creditors Holding Secured Claims. The descriptions provided on
Schedule D are intended only as a summary. Reference to the applicable agreements and related
documents is necessary for a complete description of the collateral and the nature, extent and
priority of any liens. Nothing in any Debtors’ Schedule D shall be deemed a modification,
interpretation, or waiver of the terms of any such agreements. Except as specifically stated
herein, utility companies and other parties that may hold security deposits have not been listed
on Schedule D. In addition, the Debtors have not included on Schedule D parties that may
believe their claims are secured through setoff rights or inchoate statutory lien rights.

        26.      Schedule E/F - Creditors Holding Unsecured Priority and/or Unsecured Non-
Priority Claims. The listing of any claim on Schedule E/F does not constitute an admission by
the Debtors that such claim or any portion thereof is entitled to priority treatment under section
507 of the Bankruptcy Code. The Debtors reserve all of their rights to dispute the amount and/or
the priority status of any claim on any basis at any time.

        27.     The Debtors have obtained authority from the Bankruptcy Court to pay certain
prepetition claims, including those of employees pursuant to the Final Order (I) Authorizing
the Debtors to (A) Pay Prepetition Wages, Salaries, Other Compensation, and Reimbursable
Expenses and (B) Continue Employee Benefits Programs, and (II) Granting Related Relief
[Docket No. 91] (the “Wage Order”). The Wage Order authorizes the Debtor to pay in the
ordinary course accrued but unpaid PTO upon termination of an employee, unless such amount

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exceeds the limits of sections 507(a)(4) and 507(a)(5). The Debtors expect that all or most
prepetition claims of current employees for wages, salaries, benefits and other related
obligations either have been paid or will be paid in the ordinary course of business. Thus,
Schedule E/F Part 1 does not include prepetition claims of employees on account of wages,
salaries, benefits and other obligations that the Debtors have paid or expect to pay in the
ordinary course of business, however Schedule E/F Part 1 does list claims for accrued but
unpaid PTO. To the extent any claims on account of employee wages, salaries, benefits, and
other obligations are not paid, the Debtors reserve the right to amend Schedule E/F Part 1 and
Part 2, as necessary or appropriate.

        28.     The unsecured non-priority claims of creditors for among other things, products,
goods or services are listed as either the lower of the amounts invoiced by the creditor or the
estimated accrued amounts reflected on the Debtors’ books and records and may not reflect
credits or allowances due from such creditors to the Debtors.

        29.     Schedule E/F reflects the prepetition amounts owing to counterparties to
executory contracts and unexpired leases. Such prepetition amounts, however, may be paid in
connection with the assumption, or assumption and assignment, of an executory contract or
unexpired lease. In addition, Schedule E/F does not include rejection damage claims of the
counterparties to the executory contracts and unexpired leases that have been or may be
rejected, to the extent such damage claims exist.

        30.     Schedule G - Unexpired Leases and Executory Contracts. The contracts,
agreements and leases listed on the Schedule G may have expired or may have been modified,
amended or supplemented from time to time by various amendments, restatements, waivers,
estoppels, certificates, letters, memoranda or other documents, instruments and agreements that
may not be listed on Schedule G, despite the Debtors’ use of reasonable efforts to identify such
documents. Certain of the executory contracts and unexpired leases listed on Schedule G may
contain certain renewal options, guarantees of payment, options to purchase, rights of first
refusal, and other miscellaneous rights, which are not set forth separately on Schedule G. In
addition, the Debtors may have entered into various other types of agreements in the ordinary
course of business, such as subordination, nondisturbance and attornment agreements,
supplemental agreements, amendments/letter agreements, title agreements and confidentiality
agreements. Such documents may not be set forth on Schedule G. Certain of the executory
contracts or unexpired leases listed in Schedule G may include one or more ancillary
documents, including but not limited to any underlying assignment and assumption agreements,
amendments, supplements, full and partial assignments, renewals and partial releases.
Executory contracts that are oral in nature, if any, have not been included on Schedule G. To
the extent the Court determines a particular contract not included on Schedule G is executory,
the Debtors will amend Schedule G to add that contract, as necessary or appropriate.

        31.     In addition, Schedule G does not include rejection damage claims of the
counterparties to the executory contracts and unexpired leases that have been or may be
rejected, to the extent such damage claims exist.

       32.      Omission of a contract or agreement from Schedule G does not constitute an

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admission that such omitted contract or agreement is not an executory contract or unexpired
lease. The Debtors’ rights under the Bankruptcy Code with respect to any such omitted
contracts or agreements are not impaired by the omission.

   IV.   SPECIFIC DISCLOSURES WITH RESPECT TO THE DEBTORS’
   STATEMENTS


        33.    Statements Item 7 – Litigation. Despite reasonable efforts, the Debtors may not
have identified all of their causes of action (filed or potential) against third parties as assets in
their Schedules and Statements. The Debtors reserve all rights with respect to any causes of
action and nothing in the Global Notes or the Schedules and Statements shall be deemed a
waiver of any such causes of action.

       34.     Statements Item 22 – Judicial or Administrative Proceedings Under
Environmental Law. Despite reasonable efforts, the Debtors may not have identified in their
Statements all judicial or administrative proceedings under environmental laws, including
settlements and orders, to which the Debtors have been a party. The Debtors reserve all rights
with respect to any judicial or administrative proceedings under any environmental law.

         35.   Statements Item 31 – Consolidated Group. As described above, for financial
reporting purposes, in the ordinary course prior to the Petition Date, the Debtors prepared
financial statements that were consolidated by Holdings. Although the Debtors’ consolidated
tax returns were not due prior to the Petition Date (and therefore such tax returns have not been
filed) the Debtors anticipate being treated as a consolidated group for tax purposes.




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 Fill in this information to identify the case:

 Debtor name: Water Gremlin Company

 United States Bankruptcy Court for the: District of Delaware
                                                                                                                        Check if this is an
 Case number: 23-11775
                                                                                                                        amended filing


Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals

 1. Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B)
  1a. Real property:                                                                                                                $0.00
          Copy line 88 from Schedule A/B
  1b. Total personal property:                                                                                            $32,284,408.53
          Copy line 91A from Schedule A/B
  1c. Total of all property:                                                                                              $32,284,408.53
          Copy line 92 from Schedule A/B


 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)                                                  $0.00
 Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D

 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
  3a. Total claim amounts of priority unsecured claims:                                                                      $602,362.42
          Copy the total claims from Part 1 from line 5a of Schedule E/F
  3b. Total amount of claims of nonpriority amount of unsecured claims:                                                   $40,984,409.96
          Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F


 4. Total Liabilities                                                                                                     $41,586,772.38
 Lines 2 + 3a + 3b
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   Fill in this information to identify the case:

   Debtor name: Water Gremlin Company

   United States Bankruptcy Court for the: District of Delaware
                                                                                                                                                         Check if this is an
   Case number: 23-11775
                                                                                                                                                         amended filing


 Official Form 206A/B
 Schedule A/B: Assets — Real and Personal Property 12/15

  Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include all property in which the
  debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have no book value, such as fully depreciated assets
  or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired
  Leases (Official Form 206G).
  Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write the debtor’s name and case
  number (if known). Also identify the form and line number to which the additional information applies. If an additional sheet is attached, include the amounts from the
  attachment in the total for the pertinent part.
  For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset schedule or depreciation
  schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the debtor’s interest, do not deduct the value of secured
  claims. See the instructions to understand the terms used in this form.

 Part 1:     Cash and Cash Equivalents

1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.

       Yes. Fill in the information below.

  All cash or cash equivalents owned or controlled by the debtor                                                                        Current value of debtor’s interest

 2. Cash on hand

 2.1
                                                                                                                                                                        $0.00

 3. Checking, savings, money market, or financial brokerage accounts (Identify all)
 Name of institution (bank or brokerage firm)                           Type of account                  Last 4 digits of account #


 3.1
           Mizuho Bank                                                      Disbursement                 0617                                                    $223,893.00


 3.2
           Mizuho Bank                                                      Operating                    1540                                                  $1,522,442.01

 3.3
           Mizuho Bank                                                      Time Deposits                1540                                                           $0.00


 3.4
           U.S. Bank                                                        Checking                     5468                                                    $179,484.00

 4. Other cash equivalents (Identify all)
 4.1
           None                                                                                                                                                         $0.00

 5. Total of Part 1
 Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.
                                                                                                                                                              $1,925,819.01
Debtor      Water Gremlin Company___________________________________________________          Case number (if known) 23-11775________________________________________
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  Part 2:     Deposits and prepayments

  6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.

        Yes. Fill in the information below.


                                                                                                                                  Current value of debtor’s interest
  7. Deposits, including security deposits and utility deposits
  Description, including name of holder of deposit


  7.1
            None                                                                                                                                                 $0.00

  8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
  Description, including name of holder of prepayment


  8.1
            AGC Networks LLC - AGC Maint 5/1/23-4/30/24                                                                                                      $2,874.97

  8.2
            American Express - WG - Vehicle Down Payment                                                                                                     $1,750.00


  8.3
            Battery Council International - Level 6 Supplier Membership                                                                                      $4,154.20

  8.4
            Berkley Net - Insurance - Workers' Comp                                                                                                        $50,435.25

  8.5
            CPA Global Limited - Patent Renewals                                                                                                           $69,541.67

  8.6
            Dorsey and Whitney - Retainer                                                                                                                 $274,376.81


  8.7
            EAC Design Inc - Creo Design Essentials                                                                                                          $8,950.60


  8.8
            Epicor Software Corporation - Annual License Renewal                                                                                           $89,434.07

  8.9
            Insight Direct USA Inc - Barracuda Renewal 3 Years                                                                                               $5,667.31

  8.10
            Insight Direct USA Inc - ESET 3 Yr Renewal                                                                                                       $2,142.78


  8.11
            Insight Direct USA Inc - Microsoft Datacenter                                                                                                    $3,627.04


  8.12
            Insight Direct USA Inc - Veeam Suite & Migration                                                                                                 $1,810.62

  8.13
            Insight Direct USA Inc - VMware Support and Sub                                                                                                  $1,098.43


  8.14
            Insight Direct USA Inc - WatchGuard Firebox                                                                                                      $3,350.38


  8.15
            Intrepid - Retainer                                                                                                                            $80,000.00
Debtor   Water Gremlin Company___________________________________________________   Case number (if known) 23-11775________________________________________
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  8.16
          John Henry Foster - Linear indexer & controller                                                                                       $11,445.29

  8.17
          Kekst - Retainer                                                                                                                      $20,000.00

  8.18
          Kone Inc - Elevator Maint 12/1-11/30/23                                                                                                  $844.60

  8.19
          Kraus-Anderson - Various Insurance Premiums                                                                                          $575,188.74

  8.20
          Mutual of Omaha - Life insurance benefit premiums - Nov23                                                                              $8,565.03

  8.21
          Owens Companies, Inc. - Service Contract 10/1-9/30/24                                                                                  $8,855.00

  8.22
          Padilla - Retainer                                                                                                                    $50,000.00

  8.23
          QlikTech Inc - Annual Billing 12/31-12/30/23                                                                                           $1,064.00

  8.24
          Riveron - Retainer                                                                                                                   $320,804.07

  8.25
          Salary.com - Market Data                                                                                                               $6,401.08

  8.26
          Stretto - Retainer                                                                                                                    $19,814.70

  8.27
          TeamViewer US LLC - TeamViewer License                                                                                                 $3,894.03

  8.28
          Tiffin Foundry - Gooseneck (to replace # 21)                                                                                          $25,025.00


  8.29
          Tiffin Foundry - Gooseneck N8678 (to replace #12)                                                                                      $8,390.00

  8.30
          Tiffin Foundry - Gooseneck N8847                                                                                                      $25,025.00

  8.31
          UKG Inc - Sub Fee Sep - Nov23                                                                                                          $1,375.00

  8.32
          Vadnais Heights Rental                                                                                                                 $4,139.60


  8.33
          Various suppliers - Coating supplies r/c to PPD                                                                                       $83,229.15

  8.34
          WB Subaru - 2022 Forester                                                                                                                $194.44

  9. Total of Part 2
  Add lines 7 through 8. Copy the total to line 81.
                                                                                                                                            $1,773,468.86
Debtor      Water Gremlin Company___________________________________________________                    Case number (if known) 23-11775________________________________________
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  Part 3:     Accounts receivable

  10. Does the debtor have any accounts receivable?

     No. Go to Part 4.

     Yes. Fill in the information below.


                                                                                                                                               Current value of debtor’s interest
  11. Accounts receivable
  11a.      90 days old or                              $5,217,090.00      —                                         $0.00    = ........                            $ 5,217,090.00
            less:
                                  face amount                                   doubtful or uncollectible accounts

  11b.      Over 90 days old:                             $95,112.17       —                                    $74,980.00    = ........                               $20,132.17

                                  face amount                                   doubtful or uncollectible accounts

  12. Total of Part 3
  Current value on lines 11a + 11b = line 12. Copy the total to line 82.
                                                                                                                                                                    $5,237,222.17


  Part 4:     Investments

  13. Does the debtor own any investments?

     No. Go to Part 5.

     Yes. Fill in the information below.

                                                                                                 Valuation method used for current             Current value of debtor’s interest
                                                                                                 value
  14. Mutual funds or publicly traded stocks not included in Part 1
  Name of fund or stock:


  14.1
            None                                                                                                                                                              $0.00

  15. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,
  partnership, or joint venture
  Name of entity:                                           % of ownership:


  15.1
            WG Sub, LLC                                        100%                             N/A                                            Undetermined

  16. Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1
  Describe:


  16.1
            None                                                                                                                                                              $0.00

  17. Total of Part 4
  Add lines 14 through 16. Copy the total to line 83.
                                                                                                                                                                             $0.00


  Part 5:     Inventory, excluding agriculture assets

  18. Does the debtor own any inventory (excluding agriculture assets)?

     No. Go to Part 6.

     Yes. Fill in the information below.
Debtor        Water Gremlin Company___________________________________________________             Case number (if known) 23-11775________________________________________
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   General description                                          Date of       Net book value of            Valuation method used           Current value of debtor’s interest
                                                                the last      debtor's interest            for current value
                                                                physical      (Where available)
                                                                inventory
  19. Raw materials

  19.1
               Raw Materials                                   9/30/2023               $3,620,590.00     Standard Cost (FIFO)                                    $3,620,590.00

  20. Work in progress
  20.1
               Work in progress                                9/30/2023               $1,760,237.00     Standard Cost (FIFO)                                    $1,760,237.00

  21. Finished goods, including goods held for resale
  21.1
               Finished Goods                                  9/30/2023               $4,867,614.00     Standard Cost (FIFO)                                    $4,867,614.00

  22. Other inventory or supplies
  22.1
               None                                                                                                                                                       $0.00

  23. Total of Part 5
  Add lines 19 through 22. Copy the total to line 84.
                                                                                                                                                               $10,248,441.00


  24. Is any of the property listed in Part 5 perishable?

     No

     Yes

  25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

         No
                       Book value   Undetermined                    Valuation method    N/A                                    Current value   Undetermined
         Yes

  26. Has any of the property listed in Part 5 been appraised by a professional within the last year?

     No

     Yes

  Part 6:       Farming and fishing-related assets (other than titled motor vehicles and land)

  27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

     No. Go to Part 7.

     Yes. Fill in the information below.

   General description                                                        Net book value of            Valuation method used           Current value of debtor’s interest
                                                                              debtor's interest            for current value
                                                                              (Where available)
  28. Crops—either planted or harvested
  28.1
                                                                                                                                                                          $0.00

  29. Farm animals Examples: Livestock, poultry, farm-raised fish
  29.1
                                                                                                                                                                          $0.00

  30. Farm machinery and equipment (Other than titled motor vehicles)
  30.1
                                                                                                                                                                          $0.00
Debtor        Water Gremlin Company___________________________________________________                        Case number (if known) 23-11775________________________________________
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  31. Farm and fishing supplies, chemicals, and feed
  31.1
                                                                                                                                                                                            $0.00

  32. Other farming and fishing-related property not already listed in Part 6
  32.1
                                                                                                                                                                                            $0.00

  33. Total of Part 6
  Add lines 28 through 32. Copy the total to line 85.
                                                                                                                                                                                          $0.00


  34. Is the debtor a member of an agricultural cooperative?

         No

         Yes. Is any of the debtor’s property stored at the cooperative?

                          No

                          Yes

  35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

         No
                      Book value                                        Valuation method                                                  Current value
         Yes

  36. Is a depreciation schedule available for any of the property listed in Part 6?

     No

     Yes

  37. Has any of the property listed in Part 6 been appraised by a professional within the last year?

     No

     Yes

  Part 7:       Office furniture, fixtures, and equipment; and collectibles

  38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

     No. Go to Part 8.

     Yes. Fill in the information below.


   General description                                                                Net book value of                 Valuation method used            Current value of debtor’s interest
                                                                                      debtor's interest                 for current value
                                                                                      (Where available)
  39. Office furniture
  39.1
               Office Furniture                                                                          $0.00        N/A                               Undetermined

  40. Office fixtures
  40.1
               Office Fixtures                                                                           $0.00        N/A                               Undetermined

  41. Office equipment, including all computer equipment and communication systems equipment and software
  41.1
               Computers, Hardware and Software                                                          $0.00        N/A                               Undetermined

  42. Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card collections; other
  collections, memorabilia, or collectibles

  42.1
               None                                                                                                                                                                         $0.00
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  43. Total of Part 7
  Add lines 39 through 42. Copy the total to line 86.
                                                                                                                                                                               $0.00


  44. Is a depreciation schedule available for any of the property listed in Part 7?

     No

     Yes

  45. Has any of the property listed in Part 7 been appraised by a professional within the last year?

     No

     Yes

  Part 8:     Machinery, equipment, and vehicles

  46. Does the debtor own or lease any machinery, equipment, or vehicles?

     No. Go to Part 9.

     Yes. Fill in the information below.

   General description                                                            Net book value of               Valuation method used          Current value of debtor’s interest
   Include year, make, model, and identification numbers (i.e., VIN,              debtor's interest               for current value
   HIN, or N-number)                                                              (Where available)
  47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles
  47.1
  None                                                                                                                                                                          $0.00

  48. Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors, floating homes, personal watercraft, and fishing vessels
  48.1
  None                                                                                                                                                                          $0.00

  49. Aircraft and accessories
  49.1
  None                                                                                                                                                                          $0.00

  50. Other machinery, fixtures, and equipment (excluding farm machinery and equipment)
  50.1
  Equipment                                                                               $6,296,930.13         Net Book Value                                         $6,296,930.13

  50.2
  Land Improvement                                                                        $1,026,025.36         Net Book Value                                         $1,026,025.36

  51. Total of Part 8.
  Add lines 47 through 50. Copy the total to line 87.
                                                                                                                                                                      $7,322,955.49


  52. Is a depreciation schedule available for any of the property listed in Part 8?

     No

     Yes

  53. Has any of the property listed in Part 8 been appraised by a professional within the last year?

     No

     Yes
Debtor      Water Gremlin Company___________________________________________________                 Case number (if known) 23-11775________________________________________
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  Part 9:     Real Property

  54. Does the debtor own or lease any real property?

     No. Go to Part 10.

     Yes. Fill in the information below.

  55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
   Description and location of property                         Nature and extent of          Net book value of           Valuation method used         Current value of
   Include street address or other description such as          debtor’s interest in          debtor's interest           for current value             debtor’s interest
   Assessor Parcel Number (APN), and type of property           property                      (Where available)
   (for example, acreage, factory, warehouse,
   apartment or office building), if available.

  55.1
             North Building - 4400 Otter Lake Rd, White Bear   Owned                                    $8,466,124.00     Broker Opinion of Value     Undetermined
             Township, MN 55110

  55.2
             North Land - 4400 Otter Lake Rd, White Bear       Owned                                    $3,297,057.00     Broker Opinion of Value     Undetermined
             Township, MN 55110

  55.3
             South Building - 4316 Otter Lake Rd, White Bear   Owned                                    $3,698,142.00     Broker Opinion of Value     Undetermined
             Township, MN 55110


  55.4
             South Land - 4316 Otter Lake Rd, White Bear       Owned                                     $940,131.00      Broker Opinion of Value     Undetermined
             Township, MN 55110

  56. Total of Part 9.
  Add the current value of all lines in question 55 and entries from any additional sheets. Copy the total to line 88.
                                                                                                                                                                       $0.00


  57. Is a depreciation schedule available for any of the property listed in Part 9?

     No

     Yes

  58. Has any of the property listed in Part 9 been appraised by a professional within the last year?

     No

     Yes

  Part 10:       Intangibles and intellectual property

  59. Does the debtor have any interests in intangibles or intellectual property?

     No. Go to Part 11.

     Yes. Fill in the information below.

   General description                                                         Net book value of              Valuation method used      Current value of debtor’s interest
                                                                               debtor's interest              for current value
                                                                               (Where available)
  60. Patents, copyrights, trademarks, and trade secrets
  60.1
             2003 Add'l Batt Term & Meth -CAN                                                   $0.00        N/A                        Undeterminded

  60.2
             2003 Add'l Batt Term & Meth -EPC                                                   $0.00        N/A                        Undeterminded
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  60.3
           2003 Add'l Batt Term & Meth Mak-MEX                                       $0.00     N/A                          Undeterminded


  60.4
           2003 Add'l to Pat High Torque                                             $0.00     N/A                          Undeterminded


  60.5
           2004 Add'l to Pat Torque                                                  $0.00     N/A                          Undeterminded


  60.6
           2005 Add'l Batt Term & Meth -CAN                                          $0.00     N/A                          Undeterminded


  60.7
           2005 to Pat High Torque                                                   $0.00     N/A                          Undeterminded


  60.8
           Add'l Batt Term&Meth Mak-AUST                                             $0.00     N/A                          Undeterminded


  60.9
           Add'l Batt Term&Meth Mak-CAN                                              $0.00     N/A                          Undeterminded


  60.10
           Add'l Batt Term&Meth Mak-FRENCH                                           $0.00     N/A                          Undeterminded

  60.11
           Add'l Batt Term&Meth Mak-GER                                              $0.00     N/A                          Undeterminded

  60.12
           Add'l Batt Term&Meth Mak-GER                                              $0.00     N/A                          Undeterminded

  60.13
           Add'l Batt Term&Meth Mak-India                                            $0.00     N/A                          Undeterminded

  60.14
           Add'l Batt Term&Meth Mak-IREL                                             $0.00     N/A                          Undeterminded

  60.15
           Add'l Batt Term&Meth Mak-ITAL                                             $0.00     N/A                          Undeterminded


  60.16
           Add'l Batt Term&Meth Mak-NETHER                                           $0.00     N/A                          Undeterminded

  60.17
           Add'l Batt Term&Meth Mak-PORT                                             $0.00     N/A                          Undeterminded

  60.18
           Add'l Batt Term&Meth Mak-SPAN                                             $0.00     N/A                          Undeterminded

  60.19
           Add'l Batt Term&Meth Mak-SWED                                             $0.00     N/A                          Undeterminded

  60.20
           Add'l Batt Term&Meth Mak-SWITZ                                            $0.00     N/A                          Undeterminded

  60.21
           Add'l Batt Term&Meth Mak-UK                                               $0.00     N/A                          Undeterminded


  60.22
           Apparatus - Mexico - Patent Ref No. 252826                                $0.00     N/A                          Undeterminded
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  60.23
           Apparatus Pressure Csting Brazil - Patent Ref No. PI9905097-                $0.00      N/A                          Undeterminded
           8

  60.24
           Appart/Meth PC Batt Term CAN                                                $0.00      N/A                          Undeterminded


  60.25
           Appart/Meth PC BRZL                                                         $0.00      N/A                          Undeterminded

  60.26
           Appart/Meth PC BRZL                                                         $0.00      N/A                          Undeterminded

  60.27
           Appart/Meth PC MEX D1                                                       $0.00      N/A                          Undeterminded

  60.28
           Appart/Meth PC MEX D2                                                       $0.00      N/A                          Undeterminded

  60.29
           Appart/Meth PressCast Batt Term US                                          $0.00      N/A                          Undeterminded


  60.30
           Appart/Meth PressCast Brazil                                                $0.00      N/A                          Undeterminded


  60.31
           Appart/Meth PressCast CAN                                                   $0.00      N/A                          Undeterminded


  60.32
           Batt Term & Meth Mak GERM                                                   $0.00      N/A                          Undeterminded


  60.33
           Batt Term & Meth of Mak CAN                                                 $0.00      N/A                          Undeterminded


  60.34
           Batt Term Meth Mak EPC                                                      $0.00      N/A                          Undeterminded


  60.35
           Battery Method Making Austria - Patent Ref No. 1700354                    $163.26      N/A                          Undeterminded


  60.36
           Battery Method Making Bulgaria - Patent Ref No. 1700354                   $115.13      N/A                          Undeterminded


  60.37
           Battery Method Making Czech Rep - Patent Ref No. 1700354                  $101.94      N/A                          Undeterminded


  60.38
           Battery Method Making Estonia - Patent Ref No. 1700354                    $115.13      N/A                          Undeterminded


  60.39
           Battery Method Making EU - Patent Ref No. 1700354                        $1,069.03     N/A                          Undeterminded


  60.40
           Battery Method Making Finland - Patent Ref No. 1700354                    $167.60      N/A                          Undeterminded


  60.41
           Battery Method Making France - Patent Ref No. 1700354                      $39.91      N/A                          Undeterminded

  60.42
           Battery Method Making Germany - Patent Ref No. 1700354                     $49.17      N/A                          Undeterminded
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  60.43
           Battery Method Making Greece - Patent Ref No. 1700354                   $130.74      N/A                          Undeterminded


  60.44
           Battery Method Making Hungary - Patent Ref No. 1700354                    $91.45     N/A                          Undeterminded


  60.45
           Battery Method Making Ireland - Patent Ref No. 1700354                    $38.15     N/A                          Undeterminded


  60.46
           Battery Method Making Italy - Patent Ref No. 1700354                    $103.28      N/A                          Undeterminded


  60.47
           Battery Method Making Luxembourg - Patent Ref No.                         $24.62     N/A                          Undeterminded
           1700354

  60.48
           Battery Method Making Mexico - Patent Ref No. 287342                    $236.56      N/A                          Undeterminded

  60.49
           Battery Method Making Netherlands - Patent Ref No. 1700354                $78.56     N/A                          Undeterminded


  60.50
           Battery Method Making Poland - Patent Ref No. 1700354                   $158.17      N/A                          Undeterminded


  60.51
           Battery Method Making Portugal - Patent Ref No. 1700354                 $168.40      N/A                          Undeterminded


  60.52
           Battery Method Making Romania - Patent Ref No. 1700354                    $30.42     N/A                          Undeterminded


  60.53
           Battery Method Making Slovakia - Patent Ref No. 1700354                 $113.32      N/A                          Undeterminded


  60.54
           Battery Method Making Slovenia - Patent Ref No. 1700354                   $15.75     N/A                          Undeterminded


  60.55
           Battery Method Making Spain - Patent Ref No. 1700354                    $160.96      N/A                          Undeterminded


  60.56
           Battery Method Making Sweden - Patent Ref No. 1700354                     $85.13     N/A                          Undeterminded


  60.57
           Battery Method Making Turkey - Patent Ref No. 1700354                   $160.23      N/A                          Undeterminded


  60.58
           Battery Method Making UK - Patent Ref No. 1700354                         $31.09     N/A                          Undeterminded


  60.59
           Battery Method Making USA - Patent Ref No. 8202328                     $1,946.18     N/A                          Undeterminded


  60.60
           Battery Part                                                              $30.08     N/A                          Undeterminded


  60.61
           Battery Part                                                            $105.84      N/A                          Undeterminded

  60.62
           Battery Part                                                            $113.50      N/A                          Undeterminded
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  60.63
           Battery Part                                                               $7.70     N/A                          Undeterminded


  60.64
           Battery Part                                                               $3.90     N/A                          Undeterminded


  60.65
           Battery Part                                                               $7.78     N/A                          Undeterminded

  60.66
           Battery Part                                                               $7.86     N/A                          Undeterminded

  60.67
           Battery Part                                                               $5.10     N/A                          Undeterminded

  60.68
           Battery Part                                                              $83.96     N/A                          Undeterminded

  60.69
           Battery Part                                                               $1.32     N/A                          Undeterminded

  60.70
           Battery part                                                               $2.00     N/A                          Undeterminded

  60.71
           Battery part                                                          $362.51        N/A                          Undeterminded

  60.72
           Battery part                                                          $115.01        N/A                          Undeterminded

  60.73
           Battery part                                                        $14,491.29       N/A                          Undeterminded

  60.74
           Battery part                                                              $69.43     N/A                          Undeterminded

  60.75
           Battery part                                                          $209.88        N/A                          Undeterminded


  60.76
           Battery part                                                               $6.51     N/A                          Undeterminded


  60.77
           Battery part                                                              $14.17     N/A                          Undeterminded


  60.78
           Battery part                                                               $3.31     N/A                          Undeterminded


  60.79
           Battery part                                                               $3.31     N/A                          Undeterminded


  60.80
           Battery part                                                              $10.92     N/A                          Undeterminded


  60.81
           Battery part                                                              $84.11     N/A                          Undeterminded

  60.82
           Battery part                                                         $4,199.93       N/A                          Undeterminded
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  60.83
           Battery part                                                               $15.90     N/A                          Undeterminded

  60.84
           Battery part                                                                $4.35     N/A                          Undeterminded

  60.85
           Battery part                                                                $4.35     N/A                          Undeterminded

  60.86
           Battery part                                                               $12.74     N/A                          Undeterminded

  60.87
           Battery part                                                                $8.73     N/A                          Undeterminded

  60.88
           Battery part                                                          $2,310.29       N/A                          Undeterminded

  60.89
           Battery part                                                          $1,459.20       N/A                          Undeterminded

  60.90
           Battery part                                                          $1,522.52       N/A                          Undeterminded

  60.91
           Battery part                                                           $723.91        N/A                          Undeterminded

  60.92
           Battery part                                                          $1,439.32       N/A                          Undeterminded


  60.93
           Battery part                                                               $35.08     N/A                          Undeterminded


  60.94
           Battery part                                                           $217.77        N/A                          Undeterminded


  60.95
           Battery part                                                           $585.76        N/A                          Undeterminded


  60.96
           Battery part                                                               $12.56     N/A                          Undeterminded

  60.97
           Battery part                                                           $134.48        N/A                          Undeterminded

  60.98
           Battery part                                                           $101.12        N/A                          Undeterminded

  60.99
           Battery part                                                           $115.90        N/A                          Undeterminded

  60.100
           Battery part                                                               $43.23     N/A                          Undeterminded

  60.101
           Battery part                                                          $1,503.03       N/A                          Undeterminded

  60.102
           BATTERY PART                                                           $133.00        N/A                          Undeterminded
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  60.103
           Battery Part - Patent Ref No. 10283754                                $2,489.79       N/A                          Undeterminded


  60.104
           Battery part - Patent Ref No. 10283754                                 $539.62        N/A                          Undeterminded


  60.105
           Battery part - Patent Ref No. 10283754                                     $14.70     N/A                          Undeterminded

  60.106
           Battery part - Patent Ref No. 10283754                                 $164.28        N/A                          Undeterminded

  60.107
           Battery part - Patent Ref No. 10283754                                 $146.79        N/A                          Undeterminded

  60.108
           Battery part - Patent Ref No. 10283754                                $1,064.45       N/A                          Undeterminded

  60.109
           Battery part - Patent Ref No. 10283754                                 $700.84        N/A                          Undeterminded

  60.110
           Battery part - Patent Ref No. 10283754                                     $53.28     N/A                          Undeterminded

  60.111
           Battery part - Patent Ref No. 10283754                                 $655.18        N/A                          Undeterminded

  60.112
           Battery part - Patent Ref No. 10283754                                 $354.45        N/A                          Undeterminded

  60.113
           Battery part - Patent Ref No. 10283754                                 $147.84        N/A                          Undeterminded

  60.114
           Battery part - Patent Ref No. 10283754                                $1,098.14       N/A                          Undeterminded

  60.115
           Battery part - Patent Ref No. 10283754                                $2,412.74       N/A                          Undeterminded


  60.116
           Battery part - Patent Ref No. 10283754                                     $54.07     N/A                          Undeterminded


  60.117
           Battery part - Patent Ref No. 10283754                                 $711.85        N/A                          Undeterminded


  60.118
           Battery part - Patent Ref No. 10283754                                 $110.85        N/A                          Undeterminded


  60.119
           Battery part - Patent Ref No. 10283754                                 $428.56        N/A                          Undeterminded


  60.120
           Battery part - Patent Ref No. 10283754                                 $458.07        N/A                          Undeterminded


  60.121
           Battery part - Patent Ref No. 10283754                                 $527.75        N/A                          Undeterminded

  60.122
           Battery part - Patent Ref No. 10283754                                 $185.06        N/A                          Undeterminded
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  60.123
           Battery part - Patent Ref No. 10283754                                     $66.83     N/A                          Undeterminded

  60.124
           Battery part - Patent Ref No. 10283754                                     $45.75     N/A                          Undeterminded

  60.125
           Battery Part - Patent Ref No. 1700354                                       $0.22     N/A                          Undeterminded

  60.126
           Battery Part - Patent Ref No. 2293360                                      $10.54     N/A                          Undeterminded

  60.127
           Battery Part - Patent Ref No. 2293360                                       $1.19     N/A                          Undeterminded

  60.128
           Battery Part - Patent Ref No. 2293360                                      $64.52     N/A                          Undeterminded

  60.129
           Battery Part - Patent Ref No. 2293360                                  $959.66        N/A                          Undeterminded

  60.130
           Battery Part - Patent Ref No. 2293360                                      $17.33     N/A                          Undeterminded

  60.131
           Battery part - Patent Ref No. 2293360                                      $11.34     N/A                          Undeterminded

  60.132
           Battery Part - Patent Ref No. 332696                                   $821.84        N/A                          Undeterminded

  60.133
           Battery Part - Patent Ref No. 332696                                        $7.06     N/A                          Undeterminded

  60.134
           Battery Part - Patent Ref No. 332696                                   $320.63        N/A                          Undeterminded

  60.135
           Battery Part - Patent Ref No. 332696                                       $30.28     N/A                          Undeterminded


  60.136
           Battery Part - Patent Ref No. 8202328                                       $8.67     N/A                          Undeterminded

  60.137
           Battery Part - Patent Ref No. 8202328                                       $8.67     N/A                          Undeterminded

  60.138
           Battery Part - Patent Ref No. 8202328                                      $10.13     N/A                          Undeterminded

  60.139
           Battery part - Patent Ref No. 8202328                                      $20.47     N/A                          Undeterminded

  60.140
           Battery Part - Patent Ref No. 8202328                                      $19.70     N/A                          Undeterminded

  60.141
           Battery Part - Patent Ref No. 8701743                                  $114.65        N/A                          Undeterminded


  60.142
           Battery Part - Patent Ref No. 8701743                                      $71.88     N/A                          Undeterminded
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  60.143
           Battery Part - Patent Ref No. 8701743                                      $70.35     N/A                          Undeterminded


  60.144
           Battery Part - Patent Ref No. 8701743                                  $236.58        N/A                          Undeterminded


  60.145
           Battery Part - Patent Ref No. 8701743                                      $29.84     N/A                          Undeterminded

  60.146
           Battery Part - Patent Ref No. 8701743                                  $733.19        N/A                          Undeterminded

  60.147
           Battery Part - Patent Ref No. 8701743                                  $344.44        N/A                          Undeterminded

  60.148
           Battery Part - Patent Ref No. 8701743                                       $6.43     N/A                          Undeterminded

  60.149
           Battery Part - Patent Ref No. 8701743                                  $242.00        N/A                          Undeterminded

  60.150
           Battery part - Patent Ref No. 8701743                                  $103.18        N/A                          Undeterminded

  60.151
           Battery part - Patent Ref No. 8701743                                      $14.13     N/A                          Undeterminded

  60.152
           Battery Part - Patent Ref No. PI0417087-3                                  $28.88     N/A                          Undeterminded

  60.153
           Battery Part - Patent Ref No. PI0417087-3                                   $1.32     N/A                          Undeterminded

  60.154
           Battery part - Patent Ref No. PI0417087-3                              $299.32        N/A                          Undeterminded

  60.155
           Battery part - Patent Ref No. PI0417087-3                              $329.03        N/A                          Undeterminded


  60.156
           Battery part - Patent Ref No. PI0417087-3                              $303.62        N/A                          Undeterminded


  60.157
           Battery part - Patent Ref No. PI0417087-3                                  $16.63     N/A                          Undeterminded


  60.158
           Battery part - Patent Ref No. PI0417087-3                                   $5.35     N/A                          Undeterminded


  60.159
           Battery part & method making - Patent Ref No. 2293360                      $80.94     N/A                          Undeterminded


  60.160
           Battery part & method of making                                       $2,404.80       N/A                          Undeterminded


  60.161
           Battery part & method of making                                        $524.25        N/A                          Undeterminded

  60.162
           Battery part & method of making                                       $1,538.19       N/A                          Undeterminded
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  60.163
           Battery Part & Method of Making - Patent Ref No. 2293360                   $92.51     N/A                          Undeterminded

  60.164
           Battery Part & Method of Making - Patent Ref No. 2293360                   $97.19     N/A                          Undeterminded

  60.165
           Battery Part & Method of Making - Patent Ref No. 2293360               $351.37        N/A                          Undeterminded

  60.166
           Battery Part & Method of Making - Patent Ref No. 2293360                   $14.74     N/A                          Undeterminded

  60.167
           Battery Part & Method of Making - Patent Ref No. 2293360               $180.36        N/A                          Undeterminded

  60.168
           Battery Part & Method of Making - Patent Ref No. 2293360                   $15.60     N/A                          Undeterminded

  60.169
           Battery Part & Method of Making - Patent Ref No. 2293360               $175.01        N/A                          Undeterminded

  60.170
           Battery Part & Method of Making - Patent Ref No. 2293360                    $2.63     N/A                          Undeterminded

  60.171
           Battery part & method of making - Patent Ref No. 2293360               $677.44        N/A                          Undeterminded

  60.172
           Battery part & method of making - Patent Ref No. 2293360                   $80.89     N/A                          Undeterminded

  60.173
           Battery part & method of making - Patent Ref No. 2293360                   $64.68     N/A                          Undeterminded

  60.174
           Battery part & method of making - Patent Ref No. 2293360               $158.04        N/A                          Undeterminded

  60.175
           Battery part & method of making - Patent Ref No. 2293360                   $52.39     N/A                          Undeterminded


  60.176
           Battery part & method of making - Patent Ref No. 2293360               $278.20        N/A                          Undeterminded

  60.177
           Battery part & method of making - Patent Ref No. 2293360                   $72.96     N/A                          Undeterminded

  60.178
           Battery part & method of making - Patent Ref No. 2293360                   $25.38     N/A                          Undeterminded

  60.179
           Battery part & method of making - Patent Ref No. 2293360              $3,474.60       N/A                          Undeterminded

  60.180
           Battery part & method of making - Patent Ref No. 2293360                   $41.45     N/A                          Undeterminded

  60.181
           Battery part & method of making - Patent Ref No. 2293360                   $12.46     N/A                          Undeterminded


  60.182
           Battery Part & Method of Making - Patent Ref No. 8701743                   $26.70     N/A                          Undeterminded
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  60.183
           Battery part & method of making - Patent Ref No. 8701743                 $409.06      N/A                          Undeterminded


  60.184
           Battery part & method of making - Patent Ref No. 8701743                 $178.99      N/A                          Undeterminded


  60.185
           Battery part & method of making - Patent Ref No. 9190654                 $663.40      N/A                          Undeterminded

  60.186
           Battery part & method of making - Patent Ref No. PI0417087-                 $1.68     N/A                          Undeterminded
           3


  60.187
           Battery part & method of making - Patent Ref No. PI0417087-             $1,405.67     N/A                          Undeterminded
           3

  60.188
           Battery part and associated methods - Patent Ref No.                    $6,797.08     N/A                          Undeterminded
           8701743


  60.189
           Battery part and method of making - Patent Ref No. 2293360                  $0.00     N/A                          Undeterminded


  60.190
           Battery Part Method Making USA - Patent Ref No. 7338539                    $23.54     N/A                          Undeterminded


  60.191
           Battery Part Method of Mking USA - Patent Ref No. 7838145               $1,989.51     N/A                          Undeterminded


  60.192
           Battery Part with Retaining & Sealing Features & Assoc                     $60.01     N/A                          Undeterminded
           Methods of Manufacture - Patent Ref No. 8802282

  60.193
           Battery Parts - Patent Ref No. 8701743                                     $67.32     N/A                          Undeterminded


  60.194
           Battery Parts & Asscociated Systems and Methods - Patent                   $30.40     N/A                          Undeterminded
           Ref No. 332696

  60.195
           Battery Parts & Associated Systems & Methods - Patent Ref               $1,154.81     N/A                          Undeterminded
           No. 8701743

  60.196
           Battery Parts & Associated Systems & Methods - Patent Ref                   $8.95     N/A                          Undeterminded
           No. 8701743

  60.197
           Battery Parts & Associated Systems & Methods - Patent Ref                   $2.99     N/A                          Undeterminded
           No. 8701743

  60.198
           Battery Parts & Associated Systems & Methods - Patent Ref                $415.05      N/A                          Undeterminded
           No. 9190654


  60.199
           Battery Parts & Associated Systems & Methods - Patent Ref                $559.71      N/A                          Undeterminded
           No. 9190654
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  60.200
           Battery Parts & Associated Systems & Methods - Patent Ref                  $42.20     N/A                          Undeterminded
           No. 9190654

  60.201
           Battery Parts & Associated Systems and Methods - Patent                  $877.83      N/A                          Undeterminded
           Ref No. 332696

  60.202
           Battery parts & associated systems and methods - Patent Ref                 $7.76     N/A                          Undeterminded
           No. 332696


  60.203
           Battery parts & associated systems and methods - Patent Ref                $30.48     N/A                          Undeterminded
           No. 332696

  60.204
           Battery parts & associated systems and methods - Patent Ref                $63.33     N/A                          Undeterminded
           No. 332696


  60.205
           Battery Parts & Associated Systems and Methods - Patent                    $30.31     N/A                          Undeterminded
           Ref No. 9190654

  60.206
           Battery Parts & Associated Systems and Methods - Patent                  $427.70      N/A                          Undeterminded
           Ref No. 9190654

  60.207
           Battery Parts & Associated Systems and Methods - Patent                  $351.26      N/A                          Undeterminded
           Ref No. 9190654


  60.208
           Battery Parts & Associated Systems and Methods - Patent                    $12.84     N/A                          Undeterminded
           Ref No. 9190654

  60.209
           Battery Parts & Associated Systems and Methods - Patent                  $264.89      N/A                          Undeterminded
           Ref No. 9190654

  60.210
           Battery Parts & Associated Systems and Methods - Patent                 $2,251.64     N/A                          Undeterminded
           Ref No. 9190654

  60.211
           Battery Parts & Associated Systems and Methods - Patent                  $159.16      N/A                          Undeterminded
           Ref No. 9190654

  60.212
           Battery Parts & Associated Systems and Methods - Patent                    $86.82     N/A                          Undeterminded
           Ref No. 9190654

  60.213
           Battery parts & associated systems and methods - Patent Ref              $202.09      N/A                          Undeterminded
           No. 9190654


  60.214
           Battery Parts and Associated Systems and Methods - Patent                   $5.10     N/A                          Undeterminded
           Ref No. 332696

  60.215
           Battery Parts and Associated Systems and Methods - Patent                  $58.15     N/A                          Undeterminded
           Ref No. 9190654
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  60.216
           Battery Parts and Associated Systems and Methods - Patent                   $607.03      N/A                          Undeterminded
           Ref No. 9190654

  60.217
           Battery parts and associated systems and methods - Patent                    $12.77      N/A                          Undeterminded
           Ref No. 9190654

  60.218
           Battery Parts and Associated Systems and Methods - Patent                    $19.57      N/A                          Undeterminded
           Ref No. 9190654

  60.219
           Battery Parts and Associated Systems and Methods - Patent                   $189.68      N/A                          Undeterminded
           Ref No. 9190654

  60.220
           Battery parts and associated systems and methods - Patent                   $103.34      N/A                          Undeterminded
           Ref No. 9190654


  60.221
           Battery parts and methods of making - Patent Ref No. 332696                 $179.47      N/A                          Undeterminded

  60.222
           Battery parts having retaining & sealing features - Patent Ref              $516.25      N/A                          Undeterminded
           No. 2425478


  60.223
           Battery parts having retaining & sealing features - Patent Ref              $305.46      N/A                          Undeterminded
           No. 8802282

  60.224
           Battery Parts Having Retaining & Sealing Features - Patent                 $1,271.76     N/A                          Undeterminded
           Ref No. 9748551


  60.225
           Battery Parts Having Retaining & Sealing Features - Patent                 $1,218.64     N/A                          Undeterminded
           Ref No. 9748551

  60.226
           Battery parts having retaining & sealing features - Patent Ref              $242.99      N/A                          Undeterminded
           No. 9748551

  60.227
           Battery parts having retaining & sealing features - Patent Ref               $38.81      N/A                          Undeterminded
           No. 9748551


  60.228
           Battery Parts Having Retaining & Sealing Features & Assoc                    $24.31      N/A                          Undeterminded
           Methods - Patent Ref No. 8497036

  60.229
           Battery parts having retaining & sealing features & assoc                   $217.13      N/A                          Undeterminded
           methods of manufacture - Patent Ref No. 8802282


  60.230
           Battery parts having retaining and sealing features - Patent               $1,872.81     N/A                          Undeterminded
           Ref No. 9748551

  60.231
           Battery parts having solventless acid barriers & associated                $2,251.95     N/A                          Undeterminded
           systems & methods
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  60.232
           Battery parts having solventless acid barriers & associated              $368.74      N/A                          Undeterminded
           systems & methods

  60.233
           Battery parts having solventless acid barriers & associated              $158.18      N/A                          Undeterminded
           systems & methods

  60.234
           Battery parts having solventless acid barriers & associated              $524.38      N/A                          Undeterminded
           systems & methods


  60.235
           Battery parts having solventless acid barriers & associated                $80.49     N/A                          Undeterminded
           systems & methods

  60.236
           Battery parts having solventless acid barriers & associated                $69.07     N/A                          Undeterminded
           systems & methods


  60.237
           Battery parts having solventless acid barriers & associated                $17.80     N/A                          Undeterminded
           systems & methods

  60.238
           Battery parts having solventless acid barriers & associated              $169.65      N/A                          Undeterminded
           systems & methods

  60.239
           Battery parts having solventless acid barriers & associated              $531.16      N/A                          Undeterminded
           systems & methods


  60.240
           Battery parts having solventless acid barriers & associated             $1,128.60     N/A                          Undeterminded
           systems & methods

  60.241
           Battery parts having solventless acid barriers & associated             $1,104.67     N/A                          Undeterminded
           systems & methods - Patent Ref No. 11283141


  60.242
           Battery parts having solventless acid barriers & associated                $73.89     N/A                          Undeterminded
           systems & methods - Patent Ref No. 11283141

  60.243
           Battery parts having solventless acid barriers & associated              $582.19      N/A                          Undeterminded
           systems & methods - Patent Ref No. 11283141

  60.244
           Battery parts having solventless acid barriers & associated                $17.77     N/A                          Undeterminded
           systems & methods - Patent Ref No. 11283141

  60.245
           Battery parts having solventless acid barriers & associated              $778.27      N/A                          Undeterminded
           systems & methods - Patent Ref No. 11283141

  60.246
           Battery parts having solventless acid barriers & associated                $23.78     N/A                          Undeterminded
           systems & methods - Patent Ref No. 11283141


  60.247
           Battery parts having solventless acid barriers & associated              $120.53      N/A                          Undeterminded
           systems & methods - Patent Ref No. 11283141
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  60.248
           Battery parts having solventless acid barriers & associated             $2,770.22     N/A                          Undeterminded
           systems & methods - Patent Ref No. 11283141

  60.249
           Battery parts having solventless acid barriers & associated                $62.53     N/A                          Undeterminded
           systems and methods - Patent Ref No. 11283141


  60.250
           Battery terminal with sealing feastures - Patent Ref No.                 $194.90      N/A                          Undeterminded
           10181595

  60.251
           Battery terminal with sealing features - Patent Ref No.                  $641.69      N/A                          Undeterminded
           10181595

  60.252
           Battery terminal with sealing features - Patent Ref No.                 $1,221.75     N/A                          Undeterminded
           10181595


  60.253
           Battery terminal with sealing features - Patent Ref No.                 $1,480.20     N/A                          Undeterminded
           10181595

  60.254
           Battery terminal with sealing features - Patent Ref No.                 $1,002.85     N/A                          Undeterminded
           10181595

  60.255
           Battery terminal with sealing features - Patent Ref No.                 $1,126.20     N/A                          Undeterminded
           10181595

  60.256
           Battery terminal with sealing features - Patent Ref No.                 $2,364.58     N/A                          Undeterminded
           10181595

  60.257
           Battery terminal with sealing features - Patent Ref No.                  $769.91      N/A                          Undeterminded
           10181595

  60.258
           Battery terminal with sealing features - Patent Ref No.                    $19.08     N/A                          Undeterminded
           10181595


  60.259
           Battery terminal with sealing features - Patent Ref No.                  $613.86      N/A                          Undeterminded
           10181595

  60.260
           Battery terminal with sealing features - Patent Ref No.                  $667.10      N/A                          Undeterminded
           10181595


  60.261
           Battery terminal with sealing features - Patent Ref No.                    $76.22     N/A                          Undeterminded
           10181595

  60.262
           Battery terminal with sealing features - Patent Ref No.                    $61.54     N/A                          Undeterminded
           10181595

  60.263
           Battery terminal with sealing features - Patent Ref No.                    $52.14     N/A                          Undeterminded
           10181595
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  60.264
           Battery terminal with sealing features - Patent Ref No.                    $35.63     N/A                          Undeterminded
           10181595

  60.265
           Battery terminal with sealing features - Patent Ref No.                $278.08        N/A                          Undeterminded
           10181595

  60.266
           Battery Terminal with Sealing Features - Patent Ref No.                $108.23        N/A                          Undeterminded
           9748551


  60.267
           Battery Terminal with Sealing Features - Patent Ref No.                    $42.20     N/A                          Undeterminded
           9748551

  60.268
           Battery Terminal with Sealing Features - Patent Ref No.                $280.12        N/A                          Undeterminded
           9748551


  60.269
           Battery Terminal with Sealing Features - Patent Ref No.                $237.66        N/A                          Undeterminded
           9748551

  60.270
           Battery Terminal with Sealing Features - Patent Ref No.                     $7.22     N/A                          Undeterminded
           9748551

  60.271
           Battery Terminal with Sealing Features - Patent Ref No.                $746.95        N/A                          Undeterminded
           9748551

  60.272
           Battery Terminal with Sealing Features - Patent Ref No.                $449.95        N/A                          Undeterminded
           9748551

  60.273
           Battery Terminal with Sealing Features - Patent Ref No.                $400.65        N/A                          Undeterminded
           9748551

  60.274
           Battery Terminal with Sealing Features - Patent Ref No.                $519.78        N/A                          Undeterminded
           9748551

  60.275
           Battery terminal with sealing features - Patent Ref No.               $3,712.78       N/A                          Undeterminded
           9748551

  60.276
           Battery Terminal with Sealing Features - Patent Ref No.               $1,176.83       N/A                          Undeterminded
           9748551


  60.277
           Battery Terminal with Sealing Features - Patent Ref No.                $223.40        N/A                          Undeterminded
           9748551

  60.278
           Battery Terminal with Sealing Features - Patent Ref No.                    $11.65     N/A                          Undeterminded
           9748551

  60.279
           Battery Terminal with Sealing Features - Patent Ref No.                $951.48        N/A                          Undeterminded
           9748551
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  60.280
           Battery Terminal with Sealing Features - Patent Ref No.                    $72.81     N/A                          Undeterminded
           9748551

  60.281
           Battery Terminal with Sealing Features - Patent Ref No.               $1,128.84       N/A                          Undeterminded
           9748551

  60.282
           Battery Terminal with Sealing Features - Patent Ref No.               $2,460.08       N/A                          Undeterminded
           9748551

  60.283
           Battery Terminal with Sealing Features - Patent Ref No.               $1,490.53       N/A                          Undeterminded
           9748551

  60.284
           Battery Terminal with Sealing Features - Patent Ref No.                    $17.42     N/A                          Undeterminded
           9748551


  60.285
           Battery terminal with sealing features - Patent Ref No.                    $16.98     N/A                          Undeterminded
           9748551

  60.286
           Battery terminal with sealing features - Patent Ref No.                $456.60        N/A                          Undeterminded
           9748551

  60.287
           Battery terminal with sealing features - Patent Ref No.               $3,571.77       N/A                          Undeterminded
           9748551


  60.288
           Battery terminal with sealing features - Patent Ref No.                    $90.95     N/A                          Undeterminded
           9748551

  60.289
           Battery terminal with sealing features - Patent Ref No.               $2,719.77       N/A                          Undeterminded
           9748551


  60.290
           Battery terminal with sealing features - Patent Ref No.               $1,583.41       N/A                          Undeterminded
           9748551

  60.291
           Battery terminal with sealing features - Patent Ref No.                $991.66        N/A                          Undeterminded
           9748551

  60.292
           Battery terminal with sealing features - Patent Ref No.                $471.89        N/A                          Undeterminded
           9748551

  60.293
           Battery terminal with sealing features - Patent Ref No.                $111.31        N/A                          Undeterminded
           9748551

  60.294
           Battery terminal with sealing features - Patent Ref No.                    $70.45     N/A                          Undeterminded
           9748551

  60.295
           Battery terminal with sealing features - Patent Ref No.                $148.69        N/A                          Undeterminded
           9748551
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  60.296
           Enhanced gravity casting - Patent Ref No. 6997234                            $0.00      N/A                          Undeterminded

  60.297
           Flared Battery Terminal Battery Part - Patent Ref No. 7338539             $2,434.31     N/A                          Undeterminded

  60.298
           Improved battery bushing with knurled service                              $465.75      N/A                          Undeterminded

  60.299
           Improved battery bushing with knurled service                               $46.65      N/A                          Undeterminded

  60.300
           Improved battery bushing with knurled service                              $117.20      N/A                          Undeterminded

  60.301
           Improved battery bushing with knurled service                              $216.33      N/A                          Undeterminded

  60.302
           Improved battery bushing with knurled service                               $69.32      N/A                          Undeterminded

  60.303
           Improved battery bushing with knurled service                             $3,307.05     N/A                          Undeterminded

  60.304
           Improved battery bushing with knurled service                              $234.18      N/A                          Undeterminded

  60.305
           Improved battery bushing with knurled service                              $182.44      N/A                          Undeterminded

  60.306
           IMPROVED BATTERY BUSHING WITH KNURLED SERVICE                             $1,381.30     N/A                          Undeterminded

  60.307
           Improved battery bushing with knurled service - Patent Ref                 $250.11      N/A                          Undeterminded
           No. 10910625

  60.308
           Improved battery bushing with knurled service - Patent Ref                $3,136.62     N/A                          Undeterminded
           No. 10910625

  60.309
           Improved battery bushing with knurled service - Patent Ref                 $580.99      N/A                          Undeterminded
           No. 10910625

  60.310
           IMPROVED BATTERY BUSHING WITH KNURLED SERVICE -                            $676.63      N/A                          Undeterminded
           Patent Ref No. 10910625

  60.311
           Improved battery bushing with knurled service - Patent Ref                $1,458.55     N/A                          Undeterminded
           No. 10910625


  60.312
           Improved battery bushing with knurled service - Patent Ref                $3,085.36     N/A                          Undeterminded
           No. 10910625

  60.313
           Improved battery bushing with knurled service - Patent Ref                 $177.44      N/A                          Undeterminded
           No. 10910625
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  60.314
           Improved battery bushing with knurled service - Patent Ref              $710.07       N/A                          Undeterminded
           No. 10910625

  60.315
           Improved battery bushing with knurled service - Patent Ref              $162.85       N/A                          Undeterminded
           No. 10910625

  60.316
           Improved battery bushing with knurled service - Patent Ref                  $7.62     N/A                          Undeterminded
           No. 10910625

  60.317
           Improved battery bushing with knurled service - Patent Ref                 $63.53     N/A                          Undeterminded
           No. 10910625

  60.318
           Improved Battery Bushing with Knurled Service - Patent Ref                 $66.54     N/A                          Undeterminded
           No. 2425478


  60.319
           Improved Battery Bushing with Knurled Service - Patent Ref                 $13.01     N/A                          Undeterminded
           No. 2425478

  60.320
           Improved Battery Bushing with Knurled Service - Patent Ref              $249.25       N/A                          Undeterminded
           No. 2425478

  60.321
           Improved Battery Bushing with Knurled Service - Patent Ref             $1,515.68      N/A                          Undeterminded
           No. 2425478

  60.322
           Improved Battery Bushing with Knurled Service - Patent Ref                 $82.38     N/A                          Undeterminded
           No. 2425478

  60.323
           Improved Battery Bushing with Knurled Service - Patent Ref                  $4.94     N/A                          Undeterminded
           No. 2425478

  60.324
           Improved battery bushing with knurled service - Patent Ref              $353.69       N/A                          Undeterminded
           No. 2425478

  60.325
           Improved battery bushing with knurled service - Patent Ref             $4,245.69      N/A                          Undeterminded
           No. 2425478

  60.326
           Improved battery bushing with knurled service - Patent Ref                 $31.70     N/A                          Undeterminded
           No. 2425478

  60.327
           Improved battery bushing with knurled service - Patent Ref             $1,562.39      N/A                          Undeterminded
           No. 2425478

  60.328
           Improved battery bushing with knurled service - Patent Ref              $552.36       N/A                          Undeterminded
           No. 2425478


  60.329
           Improved battery bushing with knurled service - Patent Ref             $1,028.99      N/A                          Undeterminded
           No. 2425478
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  60.330
           Improved battery bushing with knurled service - Patent Ref              $185.47       N/A                          Undeterminded
           No. 2425478

  60.331
           Improved battery bushing with knurled service - Patent Ref                 $64.25     N/A                          Undeterminded
           No. 2425478


  60.332
           Improved battery bushing with knurled service - Patent Ref                 $21.59     N/A                          Undeterminded
           No. 2425478

  60.333
           Improved battery bushing with knurled service - Patent Ref             $1,432.04      N/A                          Undeterminded
           No. 2425478

  60.334
           Improved battery bushing with knurled service - Patent Ref              $166.44       N/A                          Undeterminded
           No. 2425478


  60.335
           Improved battery bushing with knurled service - Patent Ref                 $17.33     N/A                          Undeterminded
           No. 2425478

  60.336
           Improved battery bushing with knurled service - Patent Ref                 $36.21     N/A                          Undeterminded
           No. 2425478

  60.337
           Improved battery bushing with knurled service - Patent Ref             $9,755.44      N/A                          Undeterminded
           No. 2425478

  60.338
           Improved battery bushing with knurled service - Patent Ref             $1,660.58      N/A                          Undeterminded
           No. 2425478

  60.339
           Improved battery bushing with knurled service - Patent Ref              $626.79       N/A                          Undeterminded
           No. 3059785

  60.340
           Improved battery bushing with knurled service - Patent Ref              $894.49       N/A                          Undeterminded
           No. 3059785

  60.341
           Improved battery bushing with knurled service - Patent Ref             $6,852.74      N/A                          Undeterminded
           No. 3059785


  60.342
           Improved battery bushing with knurled service - Patent Ref             $1,975.74      N/A                          Undeterminded
           No. 3059785


  60.343
           Improved battery bushing with knurled service - Patent Ref                 $95.19     N/A                          Undeterminded
           No. 3059785

  60.344
           Improved battery bushing with knurled service - Patent Ref             $2,041.70      N/A                          Undeterminded
           No. 3059785

  60.345
           Improved battery bushing with knurled service - Patent Ref             $1,324.37      N/A                          Undeterminded
           No. 3059785
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  60.346
           Improved battery bushing with knurled service - Patent Ref             $1,009.41      N/A                          Undeterminded
           No. 3059785

  60.347
           Improved battery bushing with knurled service - Patent Ref              $966.06       N/A                          Undeterminded
           No. 3059785

  60.348
           Improved battery bushing with knurled service - Patent Ref             $1,330.52      N/A                          Undeterminded
           No. 3059785

  60.349
           Improved battery bushing with knurled service - Patent Ref                 $72.44     N/A                          Undeterminded
           No. 3059785

  60.350
           Improved battery bushing with knurled service - Patent Ref             $2,620.57      N/A                          Undeterminded
           No. 3059785


  60.351
           Improved battery bushing with knurled service - Patent Ref              $376.47       N/A                          Undeterminded
           No. 3059785

  60.352
           Improved battery bushing with knurled service - Patent Ref                 $27.35     N/A                          Undeterminded
           No. 3059785

  60.353
           Improved battery bushing with knurled service - Patent Ref             $1,014.66      N/A                          Undeterminded
           No. 3059785

  60.354
           Improved battery bushing with knurled service - Patent Ref             $1,660.09      N/A                          Undeterminded
           No. 3059785

  60.355
           Improved battery bushing with knurled service - Patent Ref             $1,391.85      N/A                          Undeterminded
           No. 3059785


  60.356
           Improved battery bushing with knurled service - Patent Ref              $119.93       N/A                          Undeterminded
           No. 3059785

  60.357
           Improved battery bushing with knurled service - Patent Ref              $157.67       N/A                          Undeterminded
           No. 3059785

  60.358
           Improved battery bushing with knurled service - Patent Ref                 $75.94     N/A                          Undeterminded
           No. 3059785

  60.359
           Improved battery bushing with knurled service - Patent Ref              $381.62       N/A                          Undeterminded
           No. 3059785

  60.360
           Improved battery bushing with knurled service - Patent Ref             $1,432.44      N/A                          Undeterminded
           No. 3059785

  60.361
           Improved battery bushing with knurled service - Patent Ref              $145.28       N/A                          Undeterminded
           No. 3059785
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  60.362
           Improved battery bushing with knurled service - Patent Ref               $413.23      N/A                          Undeterminded
           No. 3059785

  60.363
           Improved battery bushing with knurled service - Patent Ref               $936.21      N/A                          Undeterminded
           No. 3059785

  60.364
           IMPROVED BATTERY BUSHING WITH KNURLED SERVICE -                        $11,515.39     N/A                          Undeterminded
           Patent Ref No. 3059785

  60.365
           Improved battery bushing with knurled service - Patent Ref               $199.84      N/A                          Undeterminded
           No. 3059785

  60.366
           Improved battery bushing with knurled service - Patent Ref               $667.64      N/A                          Undeterminded
           No. 3059785


  60.367
           Improved Battery Bushing with Knurled Service - Patent Ref                 $27.60     N/A                          Undeterminded
           No. 8497036

  60.368
           Improved Battery Bushing with Knurled Service - Patent Ref               $216.73      N/A                          Undeterminded
           No. 8497036


  60.369
           Improved Battery Bushing with Knurled Service - Patent Ref                 $88.86     N/A                          Undeterminded
           No. 8497036

  60.370
           Improved Battery Bushing with Knurled Service - Patent Ref               $438.28      N/A                          Undeterminded
           No. 8497036

  60.371
           Improved Battery Bushing with Knurled Service - Patent Ref                 $68.11     N/A                          Undeterminded
           No. 8497036

  60.372
           Improved Battery Bushing with Knurled Service - Patent Ref                 $94.17     N/A                          Undeterminded
           No. 8497036

  60.373
           Improved Battery Bushing with Knurled Service - Patent Ref               $547.17      N/A                          Undeterminded
           No. 8497036

  60.374
           Improved Battery Bushing with Knurled Service - Patent Ref              $6,168.45     N/A                          Undeterminded
           No. 8497036

  60.375
           Improved Battery Bushing with Knurled Service - Patent Ref                 $30.80     N/A                          Undeterminded
           No. 8497036

  60.376
           Improved Battery Bushing with Knurled Service - Patent Ref                  $6.88     N/A                          Undeterminded
           No. 8497036

  60.377
           Improved battery bushing with knurled service - Patent Ref                 $37.89     N/A                          Undeterminded
           No. 8497036
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  60.378
           Improved Battery Bushing with Knurled Service - Patent Ref              $632.50       N/A                          Undeterminded
           No. 8802282

  60.379
           Improved Battery Bushing with Knurled Service - Patent Ref              $168.11       N/A                          Undeterminded
           No. 8802282

  60.380
           Improved Battery Bushing with Knurled Service - Patent Ref                 $77.65     N/A                          Undeterminded
           No. 8802282

  60.381
           Improved Battery Bushing with Knurled Service - Patent Ref              $189.06       N/A                          Undeterminded
           No. 8802282


  60.382
           Improved Battery Bushing with Knurled Service - Patent Ref              $336.87       N/A                          Undeterminded
           No. 8802282


  60.383
           Improved battery bushing with knurled service - Patent Ref             $1,466.25      N/A                          Undeterminded
           No. 8802282

  60.384
           Improved battery bushing with knurled service - Patent Ref              $839.60       N/A                          Undeterminded
           No. 8802282

  60.385
           Improved Battery Bushing with Knurled Service - Patent Ref                  $8.57     N/A                          Undeterminded
           No. 8802282

  60.386
           Improved battery bushing with knurled service - Patent Ref             $2,063.99      N/A                          Undeterminded
           No. 9917293

  60.387
           Improved battery bushing with knurled service - Patent Ref             $1,213.73      N/A                          Undeterminded
           No. 9917293

  60.388
           Improved battery bushing with knurled service - Patent Ref                 $56.56     N/A                          Undeterminded
           No. 9917293

  60.389
           Improved battery bushing with knurled service - Patent Ref                 $87.53     N/A                          Undeterminded
           No. 9917293

  60.390
           Improved battery bushing with knurled service - Patent Ref              $907.88       N/A                          Undeterminded
           No. 9917293

  60.391
           Improved battery bushing with knurled service - Patent Ref             $2,261.48      N/A                          Undeterminded
           No. 9917293

  60.392
           Improved battery bushing with knurled service - Patent Ref              $574.77       N/A                          Undeterminded
           No. 9917293


  60.393
           Improved battery bushing with knurled service - Patent Ref              $150.18       N/A                          Undeterminded
           No. 9917293
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  60.394
           Improved battery bushing with knurled service - Patent Ref                 $41.75     N/A                          Undeterminded
           No. 9917293


  60.395
           Improved battery bushing with knurled service - Patent Ref              $188.18       N/A                          Undeterminded
           No. 9917293


  60.396
           Improved battery bushing with knurled service - Patent Ref              $644.53       N/A                          Undeterminded
           No. 9917293

  60.397
           Improved battery bushing with knurled service - Patent Ref              $112.92       N/A                          Undeterminded
           No. 9917293

  60.398
           Improved battery bushing with knurled service - Patent Ref                 $57.65     N/A                          Undeterminded
           No. 9917293


  60.399
           Improved battery bushing with knurled service - Patent Ref              $258.06       N/A                          Undeterminded
           No. 9917293

  60.400
           Improved battery bushing with knurled service - Patent Ref              $125.08       N/A                          Undeterminded
           No. 9917293

  60.401
           Improved battery bushing with knurled service - Patent Ref                 $33.30     N/A                          Undeterminded
           No. 9917293

  60.402
           Improved battery bushing with knurled service - Patent Ref              $946.36       N/A                          Undeterminded
           No. 9935306

  60.403
           Improved Battery Bushing with Knurled Service - Patent Ref              $972.91       N/A                          Undeterminded
           No. 9935306

  60.404
           Improved Battery Bushing with Knurled Service - Patent Ref             $1,238.98      N/A                          Undeterminded
           No. 9935306

  60.405
           Improved Battery Bushing with Knurled Service - Patent Ref                 $35.76     N/A                          Undeterminded
           No. 9935306


  60.406
           Improved Battery Bushing with Knurled Service - Patent Ref              $143.81       N/A                          Undeterminded
           No. 9935306


  60.407
           Improved Battery Bushing with Knurled Service - Patent Ref                 $80.16     N/A                          Undeterminded
           No. 9935306

  60.408
           Improved Battery Bushing with Knurled Service - Patent Ref              $191.76       N/A                          Undeterminded
           No. 9935306

  60.409
           Improved Battery Bushing with Knurled Service - Patent Ref                 $49.98     N/A                          Undeterminded
           No. 9935306
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  60.410
           Improved battery bushing with knurled service - Patent Ref                 $51.14     N/A                          Undeterminded
           No. 9935306

  60.411
           Improved battery bushing with knurled service - Patent Ref                 $75.60     N/A                          Undeterminded
           No. 9935306

  60.412
           Improved battery bushing with knurled service - Patent Ref               $540.43      N/A                          Undeterminded
           No. 9935306

  60.413
           Improved battery bushing with knurled service - Patent Ref                 $40.37     N/A                          Undeterminded
           No. 9935306

  60.414
           Improved battery bushing with knurled service - Patent Ref               $470.25      N/A                          Undeterminded
           No. 9935306


  60.415
           Improved battery bushing with knurled service - Patent Ref              $2,545.63     N/A                          Undeterminded
           No. 9935306

  60.416
           Improved battery bushing with knurled service - Patent Ref               $408.02      N/A                          Undeterminded
           No. 9935306

  60.417
           Improved battery bushing with knurled service - Patent Ref               $963.66      N/A                          Undeterminded
           No. 9935306

  60.418
           Improved battery bushing with knurled service - Patent Ref               $248.59      N/A                          Undeterminded
           No. 9935306

  60.419
           Improved battery bushing with knurled service - Patent Ref               $577.61      N/A                          Undeterminded
           No. 9935306


  60.420
           Improved battery bushing with knurled service - Patent Ref               $120.02      N/A                          Undeterminded
           No. 9935306

  60.421
           Improved battery bushing with knurled service - Patent Ref                 $69.21     N/A                          Undeterminded
           No. 9935306

  60.422
           Improved battery bushing with knurled service - Patent Ref                 $42.91     N/A                          Undeterminded
           No. 9935306

  60.423
           Improved battery bushing with knurled service - Patent Ref               $342.31      N/A                          Undeterminded
           No. 9935306

  60.424
           Improved battery bushinig with knurled service - Patent Ref              $512.75      N/A                          Undeterminded
           No. 10910625

  60.425
           Improved battery terminal with knurled service - Patent Ref              $155.54      N/A                          Undeterminded
           No. 10910625
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  60.426
           Intensified Mult Casting Expansion USA                                      $0.00     N/A                          Undeterminded

  60.427
           Intensified Multiple Casting - Patent Ref No. 8512891                 $1,355.92       N/A                          Undeterminded

  60.428
           Intensified Multiple Casting - Patent Ref No. 8512891                  $334.02        N/A                          Undeterminded

  60.429
           MarchTech Patents                                                           $0.00     N/A                          Undeterminded

  60.430
           Materials Method Making USA - Patent Ref No. 6926065                        $0.00     N/A                          Undeterminded

  60.431
           Meth of Mold Art to Min Shrinkage                                           $0.00     N/A                          Undeterminded

  60.432
           Meth of Mold Art to Min Shrink-CAN                                          $0.00     N/A                          Undeterminded

  60.433
           Meth of Mold Art to Min Shrink-CAN                                          $0.00     N/A                          Undeterminded


  60.434
           Meth of Mold Art to Min Shrink-CAN                                          $0.00     N/A                          Undeterminded


  60.435
           Meth of Reproc Bat Term Pat                                                 $0.00     N/A                          Undeterminded


  60.436
           Meth of Reproc Batt Term                                                    $0.00     N/A                          Undeterminded


  60.437
           Method Forming Battery Parts USA - Patent Ref No. 6202733                   $0.00     N/A                          Undeterminded


  60.438
           Mold for a battery cast on strap                                       $469.17        N/A                          Undeterminded


  60.439
           Mold for a battery cast on strap                                       $301.71        N/A                          Undeterminded

  60.440
           Mold for a battery cast on strap                                           $23.15     N/A                          Undeterminded

  60.441
           Mold for a battery cast on strap                                           $12.99     N/A                          Undeterminded

  60.442
           Mold for a battery cast on strap                                           $99.48     N/A                          Undeterminded

  60.443
           Mold for a battery cast on strap                                       $475.25        N/A                          Undeterminded

  60.444
           Mold for a battery cast on strap                                       $122.74        N/A                          Undeterminded

  60.445
           Mold for a battery cast on strap                                       $465.38        N/A                          Undeterminded
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  60.446
           Mold for a battery cast on strap                                        $1,169.49     N/A                          Undeterminded

  60.447
           Mold for a battery cast on strap - Patent Ref No. 102712033                $46.30     N/A                          Undeterminded

  60.448
           Mold for a battery cast on strap - Patent Ref No. 8061404                $101.05      N/A                          Undeterminded

  60.449
           Mold for a battery cast on strap - Patent Ref No. EP2512707                $36.69     N/A                          Undeterminded

  60.450
           Mold for a battery cast on strap - Patent Ref No. EP2512707             $2,406.48     N/A                          Undeterminded

  60.451
           Mold for a battery cast on strap - Patent Ref No. EP2512707              $470.20      N/A                          Undeterminded

  60.452
           Mold for a battery cast on strap - Patent Ref No. EP2512707                $15.66     N/A                          Undeterminded

  60.453
           Mold for a battery cast on strap - Patent Ref No. MX341831                 $28.95     N/A                          Undeterminded

  60.454
           Mold for battery cast on strap                                             $22.26     N/A                          Undeterminded

  60.455
           Mold for battery cast on strap                                             $22.26     N/A                          Undeterminded

  60.456
           Mold for battery cast on strap                                             $22.42     N/A                          Undeterminded

  60.457
           Mold for battery cast on strap - Patent Ref No. XX-XXXXXXX                 $22.26     N/A                          Undeterminded

  60.458
           Mold for battery cast on strap - Patent Ref No. 12102317                   $22.42     N/A                          Undeterminded


  60.459
           Mold for battery cast on strap - Patent Ref No. MX341831                   $22.42     N/A                          Undeterminded

  60.460
           Multiple Casting                                                            $0.00     N/A                          Undeterminded

  60.461
           Multiple Casting Apparatus - Patent Ref No. 9034508                      $882.74      N/A                          Undeterminded

  60.462
           Multiple Casting Apparatus - Patent Ref No. 9034508                        $63.19     N/A                          Undeterminded

  60.463
           Multiple casting apparatus & method - Patent Ref No.                        $0.00     N/A                          Undeterminded
           6866087


  60.464
           Multiple Casting Apparatus & Method - Patent Ref No.                    $1,443.66     N/A                          Undeterminded
           8512891
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  60.465
           Multiple Casting Apparatus & Method - Patent Ref No.                   $271.86        N/A                          Undeterminded
           8512891


  60.466
           Multiple Casting Apparatus & Method - Patent Ref No.                       $77.01     N/A                          Undeterminded
           8512891


  60.467
           Multiple Casting Apparatus & Method - Patent Ref No.                   $498.68        N/A                          Undeterminded
           8512891

  60.468
           Multiple Casting Apparatus & Method - Patent Ref No.                       $48.38     N/A                          Undeterminded
           9034508

  60.469
           Multiple casting apparatus & method - Patent Ref No.                  $1,881.68       N/A                          Undeterminded
           9034508


  60.470
           Multiple Casting Apparatus and Method - Patent Ref No.                 $139.37        N/A                          Undeterminded
           8512891

  60.471
           Multiple Casting Apparatus and Method - Patent Ref No.                     $45.29     N/A                          Undeterminded
           8512891

  60.472
           Multiple Casting Apparatus and Method - Patent Ref No.                 $191.58        N/A                          Undeterminded
           8512891

  60.473
           Multiple Casting Apparatus and Method - Patent Ref No.                 $122.06        N/A                          Undeterminded
           8512891

  60.474
           Multiple Casting Apparatus and Method - Patent Ref No.                     $34.81     N/A                          Undeterminded
           9034508

  60.475
           Multiple casting apparatus and method - Patent Ref No.                 $473.37        N/A                          Undeterminded
           9034508

  60.476
           Multiple casting apparatus and method - Patent Ref No.                     $60.28     N/A                          Undeterminded
           9034508


  60.477
           Multiple Castings Apparatus & Method - Patent Ref No.                      $68.49     N/A                          Undeterminded
           9034508

  60.478
           Multiple castings apparatus and method - Patent Ref No.                    $29.83     N/A                          Undeterminded
           8512891


  60.479
           Multiple castings apparatus and method - Patent Ref No.                    $90.03     N/A                          Undeterminded
           8512891

  60.480
           Multiple Castings Apparatus and Method - Patent Ref No.                    $48.30     N/A                          Undeterminded
           8512891
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  60.481
           Multiple Castings Apparatus and Method - Patent Ref No.                $586.00        N/A                          Undeterminded
           9034508

  60.482
           Multiple Castings Apparatus and Method - Patent Ref No.                    $12.38     N/A                          Undeterminded
           9034508

  60.483
           Multiple Castings Apparatus and Method - Patent Ref No.                $120.13        N/A                          Undeterminded
           9034508

  60.484
           Multiple Castings Apparatus and Method - Patent Ref No.                $904.16        N/A                          Undeterminded
           9034508

  60.485
           Multiple Castings Apparatus and Method - Patent Ref No.                $615.13        N/A                          Undeterminded
           9034508


  60.486
           Multiple Castings Apparatus and Method - Patent Ref No.                $234.81        N/A                          Undeterminded
           9034508

  60.487
           Multiple Castings Apparatus and Method - Patent Ref No.               $1,201.93       N/A                          Undeterminded
           9034508

  60.488
           Multiple Castings Apparatus and Method - Patent Ref No.                    $74.81     N/A                          Undeterminded
           9034508

  60.489
           Multiple castings apparatus and method - Patent Ref No.                    $21.84     N/A                          Undeterminded
           9034508

  60.490
           Multiple castings apparatus and method - Patent Ref No.                $159.28        N/A                          Undeterminded
           9034508


  60.491
           Multiple Castings Apparatus and Method - Patent Ref No.                    $65.09     N/A                          Undeterminded
           9034508

  60.492
           Multiple Castings Apparatus and Method - Patent Ref No.                    $14.58     N/A                          Undeterminded
           9034508

  60.493
           New Method Intensification - Patent Ref No. 230220                          $0.00     N/A                          Undeterminded


  60.494
           New Method Intensification USA - Patent Ref No. 6684935                     $0.00     N/A                          Undeterminded


  60.495
           Pitted Mold Taiwan                                                          $0.00     N/A                          Undeterminded


  60.496
           Pressure Csting Battery Denmark - Patent Ref No. 1640088                    $0.00     N/A                          Undeterminded


  60.497
           Pressure Csting Battery Europe - Patent Ref No. 1640088                     $0.00     N/A                          Undeterminded
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  60.498
           Pressure Csting Battery France - Patent Ref No. 1640088                     $0.00     N/A                          Undeterminded

  60.499
           Pressure Csting Battery Great Britain - Patent Ref No.                      $0.00     N/A                          Undeterminded
           1640088


  60.500
           Pressure Csting Battery Luxemburg - Patent Ref No. 1640088                  $0.00     N/A                          Undeterminded

  60.501
           Pressure Csting Battery Netherlands - Patent Ref No.                        $0.00     N/A                          Undeterminded
           1640088

  60.502
           Pressure Csting Battery Portugal - Patent Ref No. 1640088                   $0.00     N/A                          Undeterminded

  60.503
           Pressure Csting Battery Spain - Patent Ref No. 1640088                      $0.00     N/A                          Undeterminded

  60.504
           Tooling system for manufacturing battery terminals - Patent              $865.23      N/A                          Undeterminded
           Ref No. 10217987

  60.505
           Tooling system for manufacturing battery terminals - Patent              $979.04      N/A                          Undeterminded
           Ref No. 10217987

  60.506
           Tooling system for manufacturing battery terminals - Patent             $1,419.71     N/A                          Undeterminded
           Ref No. 10217987

  60.507
           Tooling system for manufacturing battery terminals - Patent             $2,082.68     N/A                          Undeterminded
           Ref No. 10217987


  60.508
           Tooling system for manufacturing battery terminals - Patent              $372.07      N/A                          Undeterminded
           Ref No. 10217987

  60.509
           Tooling system for manufacturing battery terminals - Patent                $48.64     N/A                          Undeterminded
           Ref No. 10217987

  60.510
           Tooling system for manufacturing battery terminals - Patent              $563.89      N/A                          Undeterminded
           Ref No. 10217987


  60.511
           Tooling system for manufacturing battery terminals - Patent              $275.32      N/A                          Undeterminded
           Ref No. 10217987


  60.512
           Tooling system for manufacturing battery terminals - Patent                $62.17     N/A                          Undeterminded
           Ref No. 10217987

  60.513
           Tooling system for manufacturing battery terminals - Patent                $52.66     N/A                          Undeterminded
           Ref No. 10217987

  60.514
           Tooling system for manufacturing battery terminals - Patent                $46.46     N/A                          Undeterminded
           Ref No. 10217987
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  60.515
           Tooling system for manufacturing battery terminals - Patent              $237.45      N/A                          Undeterminded
           Ref No. 10217987

  60.516
           Tooling system for manufacturing battery terminals - Patent                $49.20     N/A                          Undeterminded
           Ref No. 9954214

  60.517
           Tooling system for manufacturing battery terminals - Patent             $3,541.24     N/A                          Undeterminded
           Ref No. 9954214

  60.518
           Tooling System for Manufacturing Battery Terminals - Patent              $518.82      N/A                          Undeterminded
           Ref No. 9954214


  60.519
           Tooling System for Manufacturing Battery Terminals - Patent                $25.01     N/A                          Undeterminded
           Ref No. 9954214


  60.520
           Tooling System for Manufacturing Battery Terminals - Patent                $60.17     N/A                          Undeterminded
           Ref No. 9954214


  60.521
           Tooling System for Manufacturing Battery Terminals - Patent              $203.67      N/A                          Undeterminded
           Ref No. 9954214

  60.522
           Tooling System for Manufacturing Battery Terminals - Patent              $269.54      N/A                          Undeterminded
           Ref No. 9954214

  60.523
           Tooling System for Manufacturing Battery Terminals - Patent              $501.13      N/A                          Undeterminded
           Ref No. 9954214

  60.524
           Tooling System for Manufacturing Battery Terminals - Patent              $151.04      N/A                          Undeterminded
           Ref No. 9954214

  60.525
           Tooling system for manufacturing battery terminals - Patent                $45.89     N/A                          Undeterminded
           Ref No. 9954214

  60.526
           Tooling system for manufacturing battery terminals - Patent              $523.54      N/A                          Undeterminded
           Ref No. 9954214

  60.527
           Tooling system for manufacturing battery terminals - Patent                $21.74     N/A                          Undeterminded
           Ref No. 9954214

  60.528
           Tooling system for manufacturing battery terminals - Patent                $23.59     N/A                          Undeterminded
           Ref No. 9954214

  60.529
           Tooling system for manufacturing battery terminals - Patent             $1,022.70     N/A                          Undeterminded
           Ref No. 9954214


  60.530
           Tooling system for manufacturing battery terminals - Patent              $155.37      N/A                          Undeterminded
           Ref No. 9954214
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  60.531
           Tooling system for manufacturing battery terminals - Patent             $3,548.93     N/A                          Undeterminded
           Ref No. 9954214


  60.532
           Tooling system for manufacturing battery terminals - Patent              $238.64      N/A                          Undeterminded
           Ref No. 9954214


  60.533
           Tooling system for manufacturing battery terminals - Patent              $949.61      N/A                          Undeterminded
           Ref No. 9954214

  60.534
           Tooling system for manufacturing battery terminals - Patent              $169.32      N/A                          Undeterminded
           Ref No. 9954214

  60.535
           Tooling system for manufacturing battery terminals - Patent                $70.84     N/A                          Undeterminded
           Ref No. 9954214


  60.536
           Tooling system for manufacturing battery terminals - Patent                $48.88     N/A                          Undeterminded
           Ref No. 9954214

  60.537
           Tooling system for manufacturing battery terminals - Patent              $120.02      N/A                          Undeterminded
           Ref No. 9954214

  60.538
           Tooling system for manufacturing battery terminals - Patent                $32.13     N/A                          Undeterminded
           Ref No. 9954214

  60.539
           Troll Design Trmk CAN                                                       $0.00     N/A                          Undeterminded


  60.540
           UV-curable compound for inhibiting oxidation of a battery                  $84.08     N/A                          Undeterminded
           terminal

  60.541
           UV-curable compound for inhibiting oxidation of a battery                $680.30      N/A                          Undeterminded
           terminal

  60.542
           UV-curable compound for inhibiting oxidation of a battery               $5,424.75     N/A                          Undeterminded
           terminal

  60.543
           UV-Curable compound for sealing a battery                                  $71.50     N/A                          Undeterminded


  60.544
           UV-Curable compound for sealing a battery                                  $71.50     N/A                          Undeterminded

  60.545
           UV-curable compound for sealing a battery                                $130.82      N/A                          Undeterminded

  60.546
           UV-curable compound for sealing a battery                                $144.43      N/A                          Undeterminded

  60.547
           UV-curable compound for sealing a battery                                  $18.01     N/A                          Undeterminded

  60.548
           UV-curable compound for sealing a battery                                $144.43      N/A                          Undeterminded
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  60.549
           UV-curable compound for sealing a battery                                  $36.06     N/A                          Undeterminded

  60.550
           UV-curable compound for sealing a battery                                  $54.61     N/A                          Undeterminded

  60.551
           UV-curable compound for sealing a battery                                  $72.71     N/A                          Undeterminded

  60.552
           UV-curable compound for sealing a battery                                  $54.61     N/A                          Undeterminded

  60.553
           UV-Curable compound for sealing a battery                             $1,878.14       N/A                          Undeterminded

  60.554
           UV-Curable compound for sealing a battery                             $1,083.17       N/A                          Undeterminded

  60.555
           UV-Curable compound for sealing a battery                             $1,454.75       N/A                          Undeterminded

  60.556
           UV-Curable compound for sealing a battery                                  $18.25     N/A                          Undeterminded

  60.557
           UV-curable compound for sealing a battery                                  $24.07     N/A                          Undeterminded

  60.558
           UV-curable compound for sealing a battery                                  $24.05     N/A                          Undeterminded

  60.559
           UV-curable compound for sealing a battery                                  $72.24     N/A                          Undeterminded

  60.560
           UV-curable compound for sealing a battery                              $120.23        N/A                          Undeterminded

  60.561
           UV-curable compound for sealing a battery                              $783.80        N/A                          Undeterminded


  60.562
           UV-curable compound for sealing a battery                              $142.72        N/A                          Undeterminded

  60.563
           UV-curable compound for sealing a battery                             $1,994.58       N/A                          Undeterminded

  60.564
           UV-curable compound for sealing a battery                             $6,525.97       N/A                          Undeterminded

  60.565
           UV-curable compound for sealing a battery                             $1,046.54       N/A                          Undeterminded

  60.566
           UV-curable compound for sealing a battery                                  $97.46     N/A                          Undeterminded

  60.567
           UV-curable compound for sealing a battery                                  $98.58     N/A                          Undeterminded

  60.568
           UV-curable compound for sealing a battery                              $281.67        N/A                          Undeterminded
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  60.569
           UV-curable compound for sealing a battery                                  $98.60     N/A                          Undeterminded

  60.570
           UV-curable compound for sealing a battery                                  $75.17     N/A                          Undeterminded

  60.571
           UV-curable compound for sealing a battery                              $250.57        N/A                          Undeterminded

  60.572
           UV-curable compound for sealing a battery                                  $49.84     N/A                          Undeterminded

  60.573
           UV-curable compound for sealing a battery                              $183.61        N/A                          Undeterminded

  60.574
           UV-curable compound for sealing a battery                                  $26.48     N/A                          Undeterminded

  60.575
           UV-curable compound for sealing a battery                              $221.22        N/A                          Undeterminded

  60.576
           UV-curable compound for sealing a battery                              $108.69        N/A                          Undeterminded


  60.577
           UV-curable compound for sealing a battery                              $505.48        N/A                          Undeterminded


  60.578
           UV-curable compound for sealing a battery                             $2,676.98       N/A                          Undeterminded


  60.579
           UV-curable compound for sealing a battery                              $307.96        N/A                          Undeterminded


  60.580
           UV-curable compound for sealing a battery                              $396.37        N/A                          Undeterminded


  60.581
           UV-curable compound for sealing a battery                                  $55.58     N/A                          Undeterminded


  60.582
           UV-curable compound for sealing a battery                              $278.81        N/A                          Undeterminded

  60.583
           UV-curable compound for sealing a battery                             $1,405.59       N/A                          Undeterminded

  60.584
           UV-curable compound for sealing a battery                             $3,180.05       N/A                          Undeterminded

  60.585
           UV-curable compound for sealing a battery                              $436.83        N/A                          Undeterminded

  60.586
           UV-curable compound for sealing a battery                              $149.40        N/A                          Undeterminded

  60.587
           UV-curable compound for sealing a battery                             $1,889.47       N/A                          Undeterminded

  60.588
           UV-curable compound for sealing a battery                             $2,391.69       N/A                          Undeterminded
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  60.589
           UV-curable compound for sealing a battery                               $330.64       N/A                          Undeterminded

  60.590
           UV-curable compound for sealing a battery                              $3,357.61      N/A                          Undeterminded

  60.591
           UV-curable compound for sealing a battery                               $685.32       N/A                          Undeterminded

  60.592
           UV-curable compound for sealing a battery                                  $98.36     N/A                          Undeterminded

  60.593
           UV-curable compound for sealing a battery                               $369.77       N/A                          Undeterminded

  60.594
           UV-Curable compound for sealing a battery                              $1,165.46      N/A                          Undeterminded

  60.595
           UV-Curable compound for sealing a battery                              $1,009.15      N/A                          Undeterminded

  60.596
           UV-Curable compound for sealing a battery                              $1,775.82      N/A                          Undeterminded

  60.597
           UV-curable compound for sealing a battery                              $1,013.70      N/A                          Undeterminded

  60.598
           UV-curable compound for sealing a battery                              $1,786.58      N/A                          Undeterminded

  60.599
           UV-curable compound for sealing a battery - Patent Ref No.              $214.15       N/A                          Undeterminded
           11038156

  60.600
           UV-curable compound for sealing a battery - Patent Ref No.              $120.97       N/A                          Undeterminded
           11038156


  60.601
           UV-curable compound for sealing a battery - Patent Ref No.              $196.63       N/A                          Undeterminded
           11283141

  60.602
           UV-curable compound for sealing a battery - Patent Ref No.                 $24.70     N/A                          Undeterminded
           11283141

  60.603
           UV-curable compound for sealing a battery - Patent Ref No.              $241.50       N/A                          Undeterminded
           11283141

  60.604
           UV-curable compound for sealing a battery - Patent Ref No.              $832.31       N/A                          Undeterminded
           11283141

  60.605
           UV-curable compound for sealing a battery - Patent Ref No.              $247.37       N/A                          Undeterminded
           11283141

  60.606
           UV-curable compound for sealing a battery - Patent Ref No.              $108.21       N/A                          Undeterminded
           11283141
Debtor     Water Gremlin Company___________________________________________________        Case number (if known) 23-11775________________________________________
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  60.607
           UV-curable compound for sealing a battery - Patent Ref No.              $108.63       N/A                          Undeterminded
           11283141


  60.608
           UV-curable compound for sealing a battery - Patent Ref No.              $656.50       N/A                          Undeterminded
           11804640

  60.609
           UV-curable compound for sealing a battery - Patent Ref No.                 $53.78     N/A                          Undeterminded
           11804640


  60.610
           UV-curable compound for sealing a battery - Patent Ref No.             $3,912.67      N/A                          Undeterminded
           11804640

  60.611
           UV-curable compound for sealing a battery - Patent Ref No.             $1,178.27      N/A                          Undeterminded
           11804640


  60.612
           UV-curable compound for sealing a battery - Patent Ref No.             $2,665.24      N/A                          Undeterminded
           11804640

  60.613
           UV-curable compound for sealing a battery - Patent Ref No.             $3,443.02      N/A                          Undeterminded
           11804640

  60.614
           UV-curable compound for sealing a battery - Patent Ref No.              $571.67       N/A                          Undeterminded
           11804640

  60.615
           UV-curable compound for sealing a battery - Patent Ref No.              $153.20       N/A                          Undeterminded
           11804640

  60.616
           UV-Curable compound for sealing a battery - Patent Ref No.              $899.90       N/A                          Undeterminded
           11804640

  60.617
           UV-curable compound for sealing a battery - Patent Ref No.             $1,749.21      N/A                          Undeterminded
           2021/04711

  60.618
           UV-curable compound for sealing a battery - Patent Ref No.              $276.54       N/A                          Undeterminded
           2021/04711

  60.619
           UV-curable compound for sealing a battery - Patent Ref No.              $199.60       N/A                          Undeterminded
           2021/04711

  60.620
           UV-curable compound for sealing a battery - Patent Ref No.                 $75.17     N/A                          Undeterminded
           2021/04711


  60.621
           UV-curable compound for sealing a battery - Patent Ref No.              $990.14       N/A                          Undeterminded
           2021/04711

  60.622
           UV-curable compound for sealing a battery - Patent Ref No.              $671.45       N/A                          Undeterminded
           2021/04711
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  60.623
           UV-curable compound for sealing a battery - Patent Ref No.                $307.44      N/A                          Undeterminded
           2021/04711

  60.624
           UV-curable compound for sealing a battery - Patent Ref No.                $352.45      N/A                          Undeterminded
           2021/04711

  60.625
           UV-curable compound for sealing a battery - Patent Ref No.                $222.65      N/A                          Undeterminded
           2021/04711

  60.626
           UV-curable compound for sealing a battery - Patent Ref No.                 $32.34      N/A                          Undeterminded
           2021/04711

  60.627
           UV-curable compound for sealing a battery & a molded plastic               $88.41      N/A                          Undeterminded
           lid - Patent Ref No. 11038156


  60.628
           UV-curable compound for sealing a battery and a molded                    $848.64      N/A                          Undeterminded
           plastic lid - Patent Ref No. 11038156

  60.629
           UV-curable compound for sealing a battery terminal & a                     $63.43      N/A                          Undeterminded
           molded plastic lid

  60.630
           UV-curable compound for sealing a battery terminal & a                     $95.97      N/A                          Undeterminded
           molded plastic lid

  60.631
           UV-curable compound for sealing a battery terminal & a                   $4,124.79     N/A                          Undeterminded
           molded plastic lid - Patent Ref No. 11038156

  60.632
           UV-curable compound for sealing a battery terminal & a                     $46.89      N/A                          Undeterminded
           molded plastic lid - Patent Ref No. 11038156

  60.633
           UV-curable compound for sealing a battery terminal & a                    $492.21      N/A                          Undeterminded
           molded plastic lid - Patent Ref No. 11038156


  60.634
           UV-curable compound for sealing a battery terminal & a                   $1,280.47     N/A                          Undeterminded
           molded plastic lid - Patent Ref No. 11038156

  60.635
           UV-curable compound for sealing a battery terminal & a                    $166.08      N/A                          Undeterminded
           molded plastic lid - Patent Ref No. 11038156

  60.636
           UV-curable compound for sealing a battery terminal & a                   $2,109.38     N/A                          Undeterminded
           molded plastic lid - Patent Ref No. 11283141

  60.637
           UV-curable compound for sealing a battery terminal & a                     $31.93      N/A                          Undeterminded
           molded plastic lid - Patent Ref No. 11283141

  60.638
           UV-curable compound for sealing a battery terminal and a                  $148.86      N/A                          Undeterminded
           molded plastic - Patent Ref No. 11283141
Debtor     Water Gremlin Company___________________________________________________         Case number (if known) 23-11775________________________________________
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  60.639
           UV-Curable compound for sealing a battery terminal and a                    $35.19     N/A                          Undeterminded
           molded plastic lid - Patent Ref No. 11038156

  60.640
           UV-curable compound for sealing a battery terminal and a                   $185.47     N/A                          Undeterminded
           molded plastic lid - Patent Ref No. 11038156

  60.641
           UV-curable compound for sealing a battery terminal and                 $2,304.86       N/A                          Undeterminded
           molded plastic lid - Patent Ref No. 11038156

  60.642
           UV-curable compound for sealing battery terminal and a                      $15.66     N/A                          Undeterminded
           molded plastic lid

  60.643
           UV-curable compound for sealing battery terminal and a                      $67.01     N/A                          Undeterminded
           molded plastic lid - Patent Ref No. 11283141


  60.644
           UV-curable compound for sealing battery terminals                          $112.58     N/A                          Undeterminded

  60.645
           Vehicle Reclaim Sys-Triclor USA - Patent Ref No. 7390364               $1,427.19       N/A                          Undeterminded

  60.646
           WG World Mark Design                                                         $0.00     N/A                          Undeterminded

  61. Internet domain names and websites
  61.1
           https://www.linkedin.com/company/water-gremlin-co.          Undetermined               N/A                          Undetermined

  61.2
           https://www.watergremlin.com/                               Undetermined               N/A                          Undetermined


  61.3
           https://www.youtube.com/channel/UCUVlBp3k8I5BCG_B9aXiIuQUndetermined                   N/A                          Undetermined

  62. Licenses, franchises, and royalties
  62.1
           None                                                                                                                                              $0.00

  63. Customer lists, mailing lists, or other compilations
  63.1
           Customer List                                               Undetermined               N/A                          Undetermined

  64. Other intangibles, or intellectual property
  64.1
           None                                                                                                                                              $0.00

  65. Goodwill
  65.1
           None                                                                                                                                              $0.00
Debtor     Water Gremlin Company___________________________________________________                   Case number (if known) 23-11775________________________________________
          Name
                                     Case 23-11775-LSS                    Doc 195            Filed 12/20/23              Page 57 of 189
  66. Total of Part 10.
  Add lines 60 through 65. Copy the total to line 89.
                                                                                                                                                                        $0.00


  67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?

     No

     Yes

  68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?

     No

     Yes

  69. Has any of the property listed in Part 10 been appraised by a professional within the last year?

     No

     Yes

  Part 11:       All other assets

  70. Does the debtor own any other assets that have not yet been reported on this form?
  Include all interests in executory contracts and unexpired leases not previously reported on this form.

     No. Go to Part 12.

     Yes. Fill in the information below.

                                                                                                                                          Current value of debtor’s interest
  71. Notes receivable
  Description (include name of obligor)
  71.1
             None                                                                                                          =                                            $0.00
                                                                                         -
                                               total face amount                             doubtful or uncollectible
                                                                                             amount

  72. Tax refunds and unused net operating losses (NOLs)
  Description (for example, federal, state, local)
  72.1
             None                                                                                     Tax year                                                           $0.00

  73. Interests in insurance policies or annuities
  73.1
             None                                                                                                                                                        $0.00

  74. Causes of action against third parties (whether or not a lawsuit has been filed)
  74.1
             Westfield Insurance Company v. Water Gremlin Company, U.S. District Court for the                                           Undetermined
             District of Minnesota Case File No.: 0:23-cv-02178
  Nature of Claim                     insurance Coverage Claim
  Amount requested                    Undetermined

  74.2
             Westfield Insurance Company v. Water Gremlin Company, U.S. District Court for the                                           Undetermined
             District of Minnesota Case File No.: 0:23-cv-02598
  Nature of Claim                     insurance Coverage Claim
  Amount requested                    Undetermined
Debtor      Water Gremlin Company___________________________________________________               Case number (if known) 23-11775________________________________________
           Name
                                         Case 23-11775-LSS                  Doc 195         Filed 12/20/23             Page 58 of 189
  75. Other contingent and unliquidated claims or causes of action of every nature, including counterclaims of the debtor and rights to set off claims
  75.1
             Water Gremlin’s claim for insurance coverage against State Automobile Mutual Insurance                                   Undetermined
             Company (“State Auto”) and State Auto’s denial thereof as described in its August 3, 2023
             correspondence to counsel for Water Gremlin Company.

  Nature of Claim                        insurance Coverage Claim
  Amount requested                       Undetermined

  76. Trusts, equitable or future interests in property
  76.1
             None                                                                                                                                                    $0.00

  77. Other property of any kind not already listed Examples: Season tickets, country club membership
  77.1
             Judgment against Robert W. Neal                                                                                          $5,776,502.00 plus Costs and
                                                                                                                                      Disbursements

  78. Total of Part 11.
  Add lines 71 through 77. Copy the total to line 90.
                                                                                                                                                           $5,776,502.00


  79. Has any of the property listed in Part 11 been appraised by a professional within the last year?

      No

      Yes

  Part 12:        Summary

    In Part 12 copy all of the totals from the earlier parts of the form.

   Type of property                                                           Current value of              Current value of real
                                                                              personal property             property

  80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.              $1,925,819.01

  81. Deposits and prepayments. Copy line 9, Part 2.                                  $1,773,468.86

  82. Accounts receivable. Copy line 12, Part 3.                                      $5,237,222.17


  83. Investments. Copy line 17, Part 4.                                                      $0.00

  84. Inventory. Copy line 23, Part 5.                                               $10,248,441.00

  85. Farming and fishing-related assets. Copy line 33, Part 6.                               $0.00

  86. Office furniture, fixtures, and equipment; and collectibles. Copy                       $0.00
  line 43, Part 7.

  87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                       $7,322,955.49

  88. Real property. Copy line 56, Part 9.                                                                                  $0.00
                                                                                                        

  89. Intangibles and intellectual property.. Copy line 66, Part 10.                          $0.00
Debtor   Water Gremlin Company___________________________________________________                Case number (if known) 23-11775________________________________________
         Name
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  90. All other assets. Copy line 78, Part 11.                                    $5,776,502.00

  91. Total. Add lines 80 through 90 for each column                 91a.                                           91b.
                                                                                $32,284,408.53                                                         $0.00


  92. Total of all property on Schedule A/B. Lines 91a + 91b = 92.
                                                                                                                                                        $32,284,408.53
                                       Case 23-11775-LSS                        Doc 195        Filed 12/20/23          Page 60 of 189

  Fill in this information to identify the case:

  Debtor name: Water Gremlin Company

  United States Bankruptcy Court for the: District of Delaware
                                                                                                                                                           Check if this is an
  Case number: 23-11775
                                                                                                                                                           amended filing


Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property

Be as complete and accurate as possible.

Part 1:     List Creditors Who Have Claims Secured by Property

1. Do any creditors have claims secured by debtor's property?

      No. Check this box and submit page 1 of this form to the court with debtor`s other schedules. Debtor has nothing else to report on this form.

      Yes. Fill in the information below.

2. List creditors who have secured claims.If a creditor has more than one secured claim, list the creditor   Column A                             Column B
separately for each claim.
                                                                                                             Amount of Claim                      Value of collateral that
                                                                                                             Do not deduct the value of           supports this claim
                                                                                                             collateral.

2.1
                                                        Describe debtor's property that is subject to        Undetermined                     Undetermined
            U.S. Bank Equipment Company                 the lien:
            1310 Madrid Street                          8 copiers together with all replacements,
            Marshall, MN 56258                          parts, repairs, additions, accessions and
                                                        accessories incorporated therein or affixed or
           Date debt was incurred?
                                                        attached thereto and any and all proceeds of
           9/13/2019
                                                        the foregoing, including, without limitation,
           Last 4 digits of account number              insurance recoveries

                                                        Describe the lien
           Do multiple creditors have an interest       UCC Lien
           in the same property?                        Is the creditor an insider or related party?
               No                                          No
               Yes. Specify each creditor, including       Yes
          this creditor, and its relative priority.     Is anyone else liable on this claim?
                                                           No

                                                           Yes. Fill out Schedule H: Codebtors(Official

                                                       Form 206H)
                                                        As of the petition filing date, the claim is:
                                                        Check all that apply.
                                                             Contingent

                                                             Unliquidated

                                                             Disputed


3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional                                           $0.00
Page, if any.
Debtor      Water Gremlin Company___________________________________________________              Case number (if known) 23-11775________________________________________
         Name
                                   Case 23-11775-LSS                     Doc 195          Filed 12/20/23              Page 61 of 189
  Part 2:     List Others to Be Notified for a Debt That You Already Listed

  List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies, assignees of
  claims listed above, and attorneys for secured creditors.
  If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
   Name and address                                                                         On which line in Part 1 did you enter       Last 4 digits of account number for
                                                                                            the related creditor?                       this entity

  3.1
                                      Case 23-11775-LSS                    Doc 195           Filed 12/20/23               Page 62 of 189

  Fill in this information to identify the case:

  Debtor name: Water Gremlin Company

  United States Bankruptcy Court for the: District of Delaware
                                                                                                                                                               Check if this is an
  Case number: 23-11775
                                                                                                                                                               amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims. List
the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and Personal
Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes
on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:     List All Creditors with PRIORITY Unsecured Claims

1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

      No. Go to Part 2.

      Yes. Go to line 2.

2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors with priority unsecured
claims, fill out and attach the Additional Page of Part 1.

                                                                                                                              Total claim                    Priority amount

2.1
                                                                         As of the petition filing date, the claim is:                      $1,786.54                     $1,786.54
           Adebola Adenusi                                               Check all that apply.
           2225 Orleans Street West
                                                                              Contingent
           Apt 229
           Stillwater, MN 55082                                               Unliquidated

           Date or dates debt was incurred                                    Disputed
           Various                                                       Basis for the claim:
           Last 4 digits of account number                               Employee PTO
                                                                         Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured                     No
           claim:
           11 U.S.C. § 507(a) ( 4 )                                          Yes


2.2
                                                                         As of the petition filing date, the claim is:                      $2,140.21                     $2,140.21
           Aeh Soe                                                       Check all that apply.
           1269 McLean Ave
                                                                              Contingent
           Apt #305
           Saint Paul, MN 55106                                               Unliquidated

           Date or dates debt was incurred                                    Disputed
           Various                                                       Basis for the claim:
           Last 4 digits of account number                               Employee PTO
                                                                         Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured                     No
           claim:
                                                                             Yes
           11 U.S.C. § 507(a) ( 4 )
Debtor   Water Gremlin Company___________________________________________________          Case number (if known) 23-11775________________________________________
         Name
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  2.3
                                                               As of the petition filing date, the claim is:                $5,628.00                   $5,628.00
           Allan Stiever                                       Check all that apply.
           1501 Park Street
                                                                   Contingent
           Apt 128
           White Bear Lake, MN 55110                               Unliquidated

           Date or dates debt was incurred                         Disputed
           Various                                             Basis for the claim:
           Last 4 digits of account number                     Employee PTO

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured          No
           claim:
                                                                  Yes
           11 U.S.C. § 507(a) ( 4 )

  2.4
                                                               As of the petition filing date, the claim is:                $9,513.03                   $9,513.03
           Andrew Peterson                                     Check all that apply.
           16785 2nd Street North
                                                                   Contingent
           Lakeland, MN 55043
                                                                   Unliquidated
           Date or dates debt was incurred
           Various                                                 Disputed

           Last 4 digits of account number                     Basis for the claim:
                                                               Employee PTO

           Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
           claim:                                                 No
           11 U.S.C. § 507(a) ( 4 )
                                                                  Yes

  2.5
                                                               As of the petition filing date, the claim is:               $12,115.40                  $12,115.40
           Barbara White                                       Check all that apply.
           1444 8th Avenue Southeast
                                                                   Contingent
           Forest Lake, MN 55025
                                                                   Unliquidated
           Date or dates debt was incurred
           Various                                                 Disputed

           Last 4 digits of account number                     Basis for the claim:
                                                               Employee PTO

           Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
           claim:                                                 No
           11 U.S.C. § 507(a) ( 4 )
                                                                  Yes
Debtor   Water Gremlin Company___________________________________________________          Case number (if known) 23-11775________________________________________
         Name
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  2.6
                                                               As of the petition filing date, the claim is:                $2,438.88                   $2,438.88
           Barry Ly                                            Check all that apply.
           1192 Bradley Street
                                                                   Contingent
           Saint Paul, MN 55130
                                                                   Unliquidated
           Date or dates debt was incurred
           Various                                                 Disputed

           Last 4 digits of account number                     Basis for the claim:
                                                               Employee PTO

           Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
           claim:                                                 No
           11 U.S.C. § 507(a) ( 4 )
                                                                  Yes

  2.7
                                                               As of the petition filing date, the claim is:                   $29.52                      $29.52
           Bee Yang                                            Check all that apply.
           424 North English Street
                                                                   Contingent
           Apt 206
           Saint Paul, MN 55106                                    Unliquidated

           Date or dates debt was incurred                         Disputed
           Various                                             Basis for the claim:
           Last 4 digits of account number                     Employee PTO
                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured          No
           claim:
                                                                  Yes
           11 U.S.C. § 507(a) ( 4 )

  2.8
                                                               As of the petition filing date, the claim is:                $1,077.10                   $1,077.10
           Beng Thao                                           Check all that apply.
           1539 Clarence Street
                                                                   Contingent
           Saint Paul, MN 55106
                                                                   Unliquidated
           Date or dates debt was incurred
           Various                                                 Disputed

           Last 4 digits of account number                     Basis for the claim:
                                                               Employee PTO

           Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
           claim:                                                 No
           11 U.S.C. § 507(a) ( 4 )
                                                                  Yes
Debtor   Water Gremlin Company___________________________________________________          Case number (if known) 23-11775________________________________________
         Name
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  2.9
                                                               As of the petition filing date, the claim is:               $50,480.78                  $15,150.00
           Bradley J. Hartsell                                 Check all that apply.
           3080 Hazelwood St
                                                                   Contingent
           Apartment 106
           Maplewood, MN 55109                                     Unliquidated

           Date or dates debt was incurred                         Disputed
           Various                                             Basis for the claim:
           Last 4 digits of account number                     Employee PTO

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured          No
           claim:
                                                                  Yes
           11 U.S.C. § 507(a) ( 4 )

  2.10
                                                               As of the petition filing date, the claim is:                $3,863.29                   $3,863.29
           Brett Malone                                        Check all that apply.
           1880 Birch Street
                                                                   Contingent
           Apt 106
           White Bear Lake, MN 55110                               Unliquidated

           Date or dates debt was incurred                         Disputed
           Various                                             Basis for the claim:
           Last 4 digits of account number                     Employee PTO

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured          No
           claim:
                                                                  Yes
           11 U.S.C. § 507(a) ( 4 )

  2.11
                                                               As of the petition filing date, the claim is:                $1,189.43                   $1,189.43
           Brian Giller                                        Check all that apply.
           528 78th Ave NE
                                                                   Contingent
           Spring Lake Park, MN 55432
                                                                   Unliquidated
           Date or dates debt was incurred
           Various                                                 Disputed

           Last 4 digits of account number                     Basis for the claim:
                                                               Employee PTO

           Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
           claim:                                                 No
           11 U.S.C. § 507(a) ( 4 )
                                                                  Yes
Debtor   Water Gremlin Company___________________________________________________          Case number (if known) 23-11775________________________________________
         Name
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  2.12
                                                               As of the petition filing date, the claim is:                $4,899.72                   $4,899.72
           Brian Polski                                        Check all that apply.
           2072 121st Lane Northwest
                                                                   Contingent
           Coon Rapids, MN 55448
                                                                   Unliquidated
           Date or dates debt was incurred
           Various                                                 Disputed

           Last 4 digits of account number                     Basis for the claim:
                                                               Employee PTO

           Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
           claim:                                                 No
           11 U.S.C. § 507(a) ( 4 )
                                                                  Yes

  2.13
                                                               As of the petition filing date, the claim is:                  $163.19                     $163.19
           Buay Say                                            Check all that apply.
           2733 6th Avenue East
                                                                   Contingent
           North Saint Paul, MN 55109
                                                                   Unliquidated
           Date or dates debt was incurred
           Various                                                 Disputed

           Last 4 digits of account number                     Basis for the claim:
                                                               Employee PTO

           Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
           claim:                                                 No
           11 U.S.C. § 507(a) ( 4 )
                                                                  Yes

  2.14
                                                               As of the petition filing date, the claim is:                $1,372.87                   $1,372.87
           Calvin Parenteau                                    Check all that apply.
           6366 Buckridge Lane
                                                                   Contingent
           Danbury, WI 54830
                                                                   Unliquidated
           Date or dates debt was incurred
           Various                                                 Disputed

           Last 4 digits of account number                     Basis for the claim:
                                                               Employee PTO

           Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
           claim:                                                 No
           11 U.S.C. § 507(a) ( 4 )
                                                                  Yes
Debtor   Water Gremlin Company___________________________________________________          Case number (if known) 23-11775________________________________________
         Name
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  2.15
                                                               As of the petition filing date, the claim is:                $1,954.19                   $1,954.19
           Chan Vue                                            Check all that apply.
           2158 Mitchell Avenue
                                                                   Contingent
           Saint Paul, MN 55119
                                                                   Unliquidated
           Date or dates debt was incurred
           Various                                                 Disputed

           Last 4 digits of account number                     Basis for the claim:
                                                               Employee PTO

           Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
           claim:                                                 No
           11 U.S.C. § 507(a) ( 4 )
                                                                  Yes


  2.16
                                                               As of the petition filing date, the claim is:                $3,552.07                   $3,552.07
           Chao Lee                                            Check all that apply.
           360 Wheelock Avenue East
                                                                   Contingent
           Apt #1
           Saint Paul, MN 55130                                    Unliquidated

           Date or dates debt was incurred                         Disputed
           Various                                             Basis for the claim:
           Last 4 digits of account number                     Employee PTO
                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured          No
           claim:
                                                                  Yes
           11 U.S.C. § 507(a) ( 4 )

  2.17
                                                               As of the petition filing date, the claim is:                $1,665.22                   $1,665.22
           Chaxiong Xiong                                      Check all that apply.
           112 Skyline Drive
                                                                   Contingent
           Vadnais Heights, MN 55127
                                                                   Unliquidated
           Date or dates debt was incurred
           Various                                                 Disputed

           Last 4 digits of account number                     Basis for the claim:
                                                               Employee PTO

           Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
           claim:                                                 No
           11 U.S.C. § 507(a) ( 4 )
                                                                  Yes
Debtor   Water Gremlin Company___________________________________________________          Case number (if known) 23-11775________________________________________
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  2.18
                                                               As of the petition filing date, the claim is:                  $323.38                     $323.38
           Chee Thao                                           Check all that apply.
           9017 Jensen Ave S
                                                                   Contingent
           Cottage Grove, MN 55016
                                                                   Unliquidated
           Date or dates debt was incurred
           Various                                                 Disputed

           Last 4 digits of account number                     Basis for the claim:
                                                               Employee PTO

           Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
           claim:                                                 No
           11 U.S.C. § 507(a) ( 4 )
                                                                  Yes


  2.19
                                                               As of the petition filing date, the claim is:                $2,058.00                   $2,058.00
           Chee Yang                                           Check all that apply.
           7501 Iris Dr North
                                                                   Contingent
           Brooklyn Park, MN 55428
                                                                   Unliquidated
           Date or dates debt was incurred
           Various                                                 Disputed

           Last 4 digits of account number                     Basis for the claim:
                                                               Employee PTO

           Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
           claim:                                                 No
           11 U.S.C. § 507(a) ( 4 )
                                                                  Yes


  2.20
                                                               As of the petition filing date, the claim is:                    $5.23                       $5.23
           Chee Yang                                           Check all that apply.
           7501 Iris Dr North
                                                                   Contingent
           Brooklyn Park, MN 55428
                                                                   Unliquidated
           Date or dates debt was incurred
           Various                                                 Disputed

           Last 4 digits of account number                     Basis for the claim:
                                                               Employee PTO

           Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
           claim:                                                 No
           11 U.S.C. § 507(a) ( 4 )
                                                                  Yes
Debtor   Water Gremlin Company___________________________________________________          Case number (if known) 23-11775________________________________________
         Name
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  2.21
                                                               As of the petition filing date, the claim is:                $3,417.96                   $3,417.96
           Cher Thao                                           Check all that apply.
           557 Westby Drive Northeast
                                                                   Contingent
           Minneapolis, MN 55432
                                                                   Unliquidated
           Date or dates debt was incurred
           Various                                                 Disputed

           Last 4 digits of account number                     Basis for the claim:
                                                               Employee PTO

           Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
           claim:                                                 No
           11 U.S.C. § 507(a) ( 4 )
                                                                  Yes


  2.22
                                                               As of the petition filing date, the claim is:                  $728.28                     $728.28
           Cher Thao                                           Check all that apply.
           557 Westby Drive Northeast
                                                                   Contingent
           Minneapolis, MN 55432
                                                                   Unliquidated
           Date or dates debt was incurred
           Various                                                 Disputed

           Last 4 digits of account number                     Basis for the claim:
                                                               Employee PTO

           Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
           claim:                                                 No
           11 U.S.C. § 507(a) ( 4 )
                                                                  Yes


  2.23
                                                               As of the petition filing date, the claim is:                $2,470.34                   $2,470.34
           Chia Thao                                           Check all that apply.
           44 Arlington Avenue West
                                                                   Contingent
           Apt #110
           Saint Paul, MN 55117                                    Unliquidated

           Date or dates debt was incurred                         Disputed
           Various                                             Basis for the claim:
           Last 4 digits of account number                     Employee PTO

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured          No
           claim:
                                                                  Yes
           11 U.S.C. § 507(a) ( 4 )
Debtor   Water Gremlin Company___________________________________________________          Case number (if known) 23-11775________________________________________
         Name
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  2.24
                                                               As of the petition filing date, the claim is:                $4,010.00                   $4,010.00
           Chong Lor                                           Check all that apply.
           57 West Montana Avenue
                                                                   Contingent
           Saint Paul, MN 55117
                                                                   Unliquidated
           Date or dates debt was incurred
           Various                                                 Disputed

           Last 4 digits of account number                     Basis for the claim:
                                                               Employee PTO

           Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
           claim:                                                 No
           11 U.S.C. § 507(a) ( 4 )
                                                                  Yes


  2.25
                                                               As of the petition filing date, the claim is:               $11,580.30                  $11,580.30
           Christophe Chandler                                 Check all that apply.
           3122 Copper Oaks Trail
                                                                   Contingent
           Woodbury, MN 55125
                                                                   Unliquidated
           Date or dates debt was incurred
           Various                                                 Disputed

           Last 4 digits of account number                     Basis for the claim:
                                                               Employee PTO

           Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
           claim:                                                 No
           11 U.S.C. § 507(a) ( 4 )
                                                                  Yes


  2.26
                                                               As of the petition filing date, the claim is:                $5,210.14                   $5,210.14
           Chue Yang                                           Check all that apply.
           699 Labore Road
                                                                   Contingent
           Little Canada, MN 55117
                                                                   Unliquidated
           Date or dates debt was incurred
           Various                                                 Disputed

           Last 4 digits of account number                     Basis for the claim:
                                                               Employee PTO

           Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
           claim:                                                 No
           11 U.S.C. § 507(a) ( 4 )
                                                                  Yes
Debtor   Water Gremlin Company___________________________________________________          Case number (if known) 23-11775________________________________________
         Name
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  2.27
                                                               As of the petition filing date, the claim is:                   $95.89                      $95.89
           Dah Kee                                             Check all that apply.
           550 YORK AVE
                                                                   Contingent
           SAINT PAUL, MN 55130-4048
                                                                   Unliquidated
           Date or dates debt was incurred
           Various                                                 Disputed

           Last 4 digits of account number                     Basis for the claim:
                                                               Employee PTO

           Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
           claim:                                                 No
           11 U.S.C. § 507(a) ( 4 )
                                                                  Yes


  2.28
                                                               As of the petition filing date, the claim is:                $8,386.06                   $8,386.06
           Daniel Grundhofer                                   Check all that apply.
           6067 165th Street North
                                                                   Contingent
           Hugo, MN 55038
                                                                   Unliquidated
           Date or dates debt was incurred
           Various                                                 Disputed

           Last 4 digits of account number                     Basis for the claim:
                                                               Employee PTO

           Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
           claim:                                                 No
           11 U.S.C. § 507(a) ( 4 )
                                                                  Yes


  2.29
                                                               As of the petition filing date, the claim is:                $7,590.04                   $7,590.04
           Daniel Krautkramer                                  Check all that apply.
           1849 Park Street
                                                                   Contingent
           White Bear Lake, MN 55110
                                                                   Unliquidated
           Date or dates debt was incurred
           Various                                                 Disputed

           Last 4 digits of account number                     Basis for the claim:
                                                               Employee PTO

           Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
           claim:                                                 No
           11 U.S.C. § 507(a) ( 4 )
                                                                  Yes
Debtor   Water Gremlin Company___________________________________________________          Case number (if known) 23-11775________________________________________
         Name
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  2.30
                                                               As of the petition filing date, the claim is:                $7,067.31                   $7,067.31
           Darren Johnson                                      Check all that apply.
           13639 Ghia St. NE
                                                                   Contingent
           Ham Lake, MN 55304
                                                                   Unliquidated
           Date or dates debt was incurred
           Various                                                 Disputed

           Last 4 digits of account number                     Basis for the claim:
                                                               Employee PTO

           Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
           claim:                                                 No
           11 U.S.C. § 507(a) ( 4 )
                                                                  Yes


  2.31
                                                               As of the petition filing date, the claim is:               $10,839.36                  $10,839.36
           David Letourneau                                    Check all that apply.
           1760 2nd Street
                                                                   Contingent
           White Bear Lake, MN 55110
                                                                   Unliquidated
           Date or dates debt was incurred
           Various                                                 Disputed

           Last 4 digits of account number                     Basis for the claim:
                                                               Employee PTO

           Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
           claim:                                                 No
           11 U.S.C. § 507(a) ( 4 )
                                                                  Yes


  2.32
                                                               As of the petition filing date, the claim is:               $10,984.65                  $10,984.65
           Dawn Svendsen                                       Check all that apply.
           7337 Eden Circle
                                                                   Contingent
           Lino Lakes, MN 55038
                                                                   Unliquidated
           Date or dates debt was incurred
           Various                                                 Disputed

           Last 4 digits of account number                     Basis for the claim:
                                                               Employee PTO

           Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
           claim:                                                 No
           11 U.S.C. § 507(a) ( 4 )
                                                                  Yes
Debtor   Water Gremlin Company___________________________________________________          Case number (if known) 23-11775________________________________________
         Name
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  2.33
                                                               As of the petition filing date, the claim is:                $6,309.70                   $6,309.70
           Desirae Rajdl                                       Check all that apply.
           15684 Emerald Dr N
                                                                   Contingent
           Unit 10
           Hugo, MN 55038                                          Unliquidated

           Date or dates debt was incurred                         Disputed
           Various                                             Basis for the claim:
           Last 4 digits of account number                     Employee PTO
                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured          No
           claim:
           11 U.S.C. § 507(a) ( 4 )                               Yes

  2.34
                                                               As of the petition filing date, the claim is:                $3,628.71                   $3,628.71
           Dillon Gibbs                                        Check all that apply.
           510 Landing Circle
                                                                   Contingent
           Hudson, WI 54016
                                                                   Unliquidated
           Date or dates debt was incurred
           Various                                                 Disputed

           Last 4 digits of account number                     Basis for the claim:
                                                               Employee PTO

           Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
           claim:                                                 No
           11 U.S.C. § 507(a) ( 4 )
                                                                  Yes

  2.35
                                                               As of the petition filing date, the claim is:               $12,539.42                  $12,539.42
           Dominick Hermanson                                  Check all that apply.
           1085 South Harte Avenue
                                                                   Contingent
           Rush City, MN 55069
                                                                   Unliquidated
           Date or dates debt was incurred
           Various                                                 Disputed

           Last 4 digits of account number                     Basis for the claim:
                                                               Employee PTO

           Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
           claim:                                                 No
           11 U.S.C. § 507(a) ( 4 )
                                                                  Yes
Debtor   Water Gremlin Company___________________________________________________          Case number (if known) 23-11775________________________________________
         Name
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  2.36
                                                               As of the petition filing date, the claim is:                $6,239.52                   $6,239.52
           Doua Hang                                           Check all that apply.
           12744 ERSKIN ST NE
                                                                   Contingent
           MINNEAPOLIS, MN 55449-7495
                                                                   Unliquidated
           Date or dates debt was incurred
           Various                                                 Disputed

           Last 4 digits of account number                     Basis for the claim:
                                                               Employee PTO

           Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
           claim:                                                 No
           11 U.S.C. § 507(a) ( 4 )
                                                                  Yes

  2.37
                                                               As of the petition filing date, the claim is:                $7,305.23                   $7,305.23
           Dowell Vang                                         Check all that apply.
           7417 Humboldt Avenue North
                                                                   Contingent
           Brooklyn Park, MN 55444
                                                                   Unliquidated
           Date or dates debt was incurred
           Various                                                 Disputed

           Last 4 digits of account number                     Basis for the claim:
                                                               Employee PTO

           Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
           claim:                                                 No
           11 U.S.C. § 507(a) ( 4 )
                                                                  Yes


  2.38
                                                               As of the petition filing date, the claim is:                $3,480.00                   $3,480.00
           Dylan Garski                                        Check all that apply.
           11565 Elmwood Avenue North
                                                                   Contingent
           Champlin, MN 55316
                                                                   Unliquidated
           Date or dates debt was incurred
           Various                                                 Disputed

           Last 4 digits of account number                     Basis for the claim:
                                                               Employee PTO

           Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
           claim:                                                 No
           11 U.S.C. § 507(a) ( 4 )
                                                                  Yes
Debtor   Water Gremlin Company___________________________________________________          Case number (if known) 23-11775________________________________________
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  2.39
                                                               As of the petition filing date, the claim is:                $6,846.44                   $6,846.44
           Edwin Shaughnessy                                   Check all that apply.
           2387 County Rd F East
                                                                   Contingent
           White Bear Lake, MN 55110
                                                                   Unliquidated
           Date or dates debt was incurred
           Various                                                 Disputed

           Last 4 digits of account number                     Basis for the claim:
                                                               Employee PTO

           Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
           claim:                                                 No
           11 U.S.C. § 507(a) ( 4 )
                                                                  Yes


  2.40
                                                               As of the petition filing date, the claim is:                   $75.12                      $75.12
           Eh Taw                                              Check all that apply.
           120 Iowa Ave W
                                                                   Contingent
           Apt # 15
           St Paul, MN 55117                                       Unliquidated

           Date or dates debt was incurred                         Disputed
           Various                                             Basis for the claim:
           Last 4 digits of account number                     Employee PTO
                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured          No
           claim:
                                                                  Yes
           11 U.S.C. § 507(a) ( 4 )

  2.41
                                                               As of the petition filing date, the claim is:                $3,736.32                   $3,736.32
           Eric Hoff                                           Check all that apply.
           2142 Barclay Street
                                                                   Contingent
           Apt 110
           Maplewood, MN 55109                                     Unliquidated

           Date or dates debt was incurred                         Disputed
           Various                                             Basis for the claim:
           Last 4 digits of account number                     Employee PTO
                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured          No
           claim:
                                                                  Yes
           11 U.S.C. § 507(a) ( 4 )
Debtor   Water Gremlin Company___________________________________________________          Case number (if known) 23-11775________________________________________
         Name
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  2.42
                                                               As of the petition filing date, the claim is:                   $10.24                      $10.24
           Gay Moo                                             Check all that apply.
           461 Maryland Ave W
                                                                   Contingent
           St Paul, MN 55117
                                                                   Unliquidated
           Date or dates debt was incurred
           Various                                                 Disputed

           Last 4 digits of account number                     Basis for the claim:
                                                               Employee PTO

           Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
           claim:                                                 No
           11 U.S.C. § 507(a) ( 4 )
                                                                  Yes

  2.43
                                                               As of the petition filing date, the claim is:                $5,467.49                   $5,467.49
           Gregory Levesseur                                   Check all that apply.
           698 77th Street West
                                                                   Contingent
           Lino Lakes, MN 55014
                                                                   Unliquidated
           Date or dates debt was incurred
           Various                                                 Disputed

           Last 4 digits of account number                     Basis for the claim:
                                                               Employee PTO

           Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
           claim:                                                 No
           11 U.S.C. § 507(a) ( 4 )
                                                                  Yes


  2.44
                                                               As of the petition filing date, the claim is:                  $369.60                     $369.60
           Hay Blut                                            Check all that apply.
           378 Lawson Avenue East
                                                                   Contingent
           Saint Paul, MN 55130
                                                                   Unliquidated
           Date or dates debt was incurred
           Various                                                 Disputed

           Last 4 digits of account number                     Basis for the claim:
                                                               Employee PTO

           Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
           claim:                                                 No
           11 U.S.C. § 507(a) ( 4 )
                                                                  Yes
Debtor   Water Gremlin Company___________________________________________________          Case number (if known) 23-11775________________________________________
         Name
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  2.45
                                                               As of the petition filing date, the claim is:                $1,382.06                   $1,382.06
           Heh Moo                                             Check all that apply.
           1642 Conway Street
                                                                   Contingent
           Saint Paul, MN 55106
                                                                   Unliquidated
           Date or dates debt was incurred
           Various                                                 Disputed

           Last 4 digits of account number                     Basis for the claim:
                                                               Employee PTO

           Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
           claim:                                                 No
           11 U.S.C. § 507(a) ( 4 )
                                                                  Yes


  2.46
                                                               As of the petition filing date, the claim is:                  $866.94                     $866.94
           Hsa Moo                                             Check all that apply.
           864 Hawthorne Avenue East
                                                                   Contingent
           Saint Paul, MN 55106
                                                                   Unliquidated
           Date or dates debt was incurred
           Various                                                 Disputed

           Last 4 digits of account number                     Basis for the claim:
                                                               Employee PTO

           Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
           claim:                                                 No
           11 U.S.C. § 507(a) ( 4 )
                                                                  Yes

  2.47
                                                               As of the petition filing date, the claim is:                   $23.81                      $23.81
           Htaw Poe                                            Check all that apply.
           2136 Cottage Avenue East
                                                                   Contingent
           Saint Paul, MN 55119
                                                                   Unliquidated
           Date or dates debt was incurred
           Various                                                 Disputed

           Last 4 digits of account number                     Basis for the claim:
                                                               Employee PTO

           Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
           claim:                                                 No
           11 U.S.C. § 507(a) ( 4 )
                                                                  Yes
Debtor   Water Gremlin Company___________________________________________________          Case number (if known) 23-11775________________________________________
         Name
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  2.48
                                                               As of the petition filing date, the claim is:                $2,134.52                   $2,134.52
           Htoo Htoo                                           Check all that apply.
           1259 McLean Ave
                                                                   Contingent
           Apt 202
           St Paul, MN 55106                                       Unliquidated

           Date or dates debt was incurred                         Disputed
           Various                                             Basis for the claim:
           Last 4 digits of account number                     Employee PTO
                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured          No
           claim:
           11 U.S.C. § 507(a) ( 4 )                               Yes

  2.49
                                                               As of the petition filing date, the claim is:                    $0.85                       $0.85
           Htoo Nay Say                                        Check all that apply.
           1446 Burke Ave West
                                                                   Contingent
           Saint Paul, MN 55113
                                                                   Unliquidated
           Date or dates debt was incurred
           Various                                                 Disputed

           Last 4 digits of account number                     Basis for the claim:
                                                               Employee PTO

           Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
           claim:                                                 No
           11 U.S.C. § 507(a) ( 4 )
                                                                  Yes


  2.50
                                                               As of the petition filing date, the claim is:                   $48.73                      $48.73
           Htoo Poe                                            Check all that apply.
           121 Hoyt Avenue West
                                                                   Contingent
           Apt 11
           Saint Paul, MN 55117                                    Unliquidated

           Date or dates debt was incurred                         Disputed
           Various                                             Basis for the claim:
           Last 4 digits of account number                     Employee PTO
                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured          No
           claim:
                                                                  Yes
           11 U.S.C. § 507(a) ( 4 )
Debtor   Water Gremlin Company___________________________________________________          Case number (if known) 23-11775________________________________________
         Name
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  2.51
                                                               As of the petition filing date, the claim is:                $1,638.00                   $1,638.00
           Htoo Thein                                          Check all that apply.
           1278 4th Street East
                                                                   Contingent
           Saint Paul, MN 55106
                                                                   Unliquidated
           Date or dates debt was incurred
           Various                                                 Disputed

           Last 4 digits of account number                     Basis for the claim:
                                                               Employee PTO

           Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
           claim:                                                 No
           11 U.S.C. § 507(a) ( 4 )
                                                                  Yes


  2.52
                                                               As of the petition filing date, the claim is:                $2,841.97                   $2,841.97
           Jack Mong                                           Check all that apply.
           860 Hawthorne Ave E
                                                                   Contingent
           Saint Paul, MN 55106
                                                                   Unliquidated
           Date or dates debt was incurred
           Various                                                 Disputed

           Last 4 digits of account number                     Basis for the claim:
                                                               Employee PTO

           Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
           claim:                                                 No
           11 U.S.C. § 507(a) ( 4 )
                                                                  Yes

  2.53
                                                               As of the petition filing date, the claim is:                $2,047.00                   $2,047.00
           Jacob Spencer                                       Check all that apply.
           1211 Deer Haven Drive SE
                                                                   Contingent
           Isanti, MN 55040
                                                                   Unliquidated
           Date or dates debt was incurred
           Various                                                 Disputed

           Last 4 digits of account number                     Basis for the claim:
                                                               Employee PTO

           Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
           claim:                                                 No
           11 U.S.C. § 507(a) ( 4 )
                                                                  Yes
Debtor   Water Gremlin Company___________________________________________________          Case number (if known) 23-11775________________________________________
         Name
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  2.54
                                                               As of the petition filing date, the claim is:               $12,951.79                  $12,951.79
           James Foster                                        Check all that apply.
           1350 Madison Street
                                                                   Contingent
           Hastings, MN 55033
                                                                   Unliquidated
           Date or dates debt was incurred
           Various                                                 Disputed

           Last 4 digits of account number                     Basis for the claim:
                                                               Employee PTO

           Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
           claim:                                                 No
           11 U.S.C. § 507(a) ( 4 )
                                                                  Yes

  2.55
                                                               As of the petition filing date, the claim is:                $1,119.96                   $1,119.96
           James Joyce                                         Check all that apply.
           368 2nd Avenue Southwest
                                                                   Contingent
           Forest Lake, MN 55025
                                                                   Unliquidated
           Date or dates debt was incurred
           Various                                                 Disputed

           Last 4 digits of account number                     Basis for the claim:
                                                               Employee PTO

           Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
           claim:                                                 No
           11 U.S.C. § 507(a) ( 4 )
                                                                  Yes


  2.56
                                                               As of the petition filing date, the claim is:                $3,980.77                   $3,980.77
           Jason Kromrey                                       Check all that apply.
           409 North Main Street
                                                                   Contingent
           Center City, MN 55012
                                                                   Unliquidated
           Date or dates debt was incurred
           Various                                                 Disputed

           Last 4 digits of account number                     Basis for the claim:
                                                               Employee PTO

           Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
           claim:                                                 No
           11 U.S.C. § 507(a) ( 4 )
                                                                  Yes
Debtor   Water Gremlin Company___________________________________________________          Case number (if known) 23-11775________________________________________
         Name
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  2.57
                                                               As of the petition filing date, the claim is:                $4,143.46                   $4,143.46
           Jeffrey Somers                                      Check all that apply.
           4525 Xenia Avenue North
                                                                   Contingent
           Crystal, MN 55422
                                                                   Unliquidated
           Date or dates debt was incurred
           Various                                                 Disputed

           Last 4 digits of account number                     Basis for the claim:
                                                               Employee PTO

           Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
           claim:                                                 No
           11 U.S.C. § 507(a) ( 4 )
                                                                  Yes


  2.58
                                                               As of the petition filing date, the claim is:                  $541.78                     $541.78
           Jerry Hoppe                                         Check all that apply.
           2623 Spruce Street
                                                                   Contingent
           Little Canada, MN 55117
                                                                   Unliquidated
           Date or dates debt was incurred
           Various                                                 Disputed

           Last 4 digits of account number                     Basis for the claim:
                                                               Employee PTO

           Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
           claim:                                                 No
           11 U.S.C. § 507(a) ( 4 )
                                                                  Yes

  2.59
                                                               As of the petition filing date, the claim is:                $7,026.26                   $7,026.26
           Joel Stein                                          Check all that apply.
           21020 Floral Bay Drive North
                                                                   Contingent
           Forest Lake, MN 55025
                                                                   Unliquidated
           Date or dates debt was incurred
           Various                                                 Disputed

           Last 4 digits of account number                     Basis for the claim:
                                                               Employee PTO

           Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
           claim:                                                 No
           11 U.S.C. § 507(a) ( 4 )
                                                                  Yes
Debtor   Water Gremlin Company___________________________________________________          Case number (if known) 23-11775________________________________________
         Name
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  2.60
                                                               As of the petition filing date, the claim is:                $4,407.71                   $4,407.71
           Jonathan Nold                                       Check all that apply.
           2319 Emerson Ave N
                                                                   Contingent
           Minneapolis, MN 55411
                                                                   Unliquidated
           Date or dates debt was incurred
           Various                                                 Disputed

           Last 4 digits of account number                     Basis for the claim:
                                                               Employee PTO

           Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
           claim:                                                 No
           11 U.S.C. § 507(a) ( 4 )
                                                                  Yes

  2.61
                                                               As of the petition filing date, the claim is:                $6,426.88                   $6,426.88
           Jorn Nelsen                                         Check all that apply.
           2628 South Avenue East
                                                                   Contingent
           North Saint Paul, MN 55109
                                                                   Unliquidated
           Date or dates debt was incurred
           Various                                                 Disputed

           Last 4 digits of account number                     Basis for the claim:
                                                               Employee PTO

           Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
           claim:                                                 No
           11 U.S.C. § 507(a) ( 4 )
                                                                  Yes


  2.62
                                                               As of the petition filing date, the claim is:                $3,543.32                   $3,543.32
           Jose Mendez Lopez                                   Check all that apply.
           517 1st Avenue South
                                                                   Contingent
           South Saint Paul, MN 55075
                                                                   Unliquidated
           Date or dates debt was incurred
           Various                                                 Disputed

           Last 4 digits of account number                     Basis for the claim:
                                                               Employee PTO

           Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
           claim:                                                 No
           11 U.S.C. § 507(a) ( 4 )
                                                                  Yes
Debtor   Water Gremlin Company___________________________________________________          Case number (if known) 23-11775________________________________________
         Name
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  2.63
                                                               As of the petition filing date, the claim is:                    $6.58                       $6.58
           Joseph Drake II                                     Check all that apply.
           757 Bradley Street
                                                                   Contingent
           Saint Paul, MN 55130
                                                                   Unliquidated
           Date or dates debt was incurred
           Various                                                 Disputed

           Last 4 digits of account number                     Basis for the claim:
                                                               Employee PTO

           Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
           claim:                                                 No
           11 U.S.C. § 507(a) ( 4 )
                                                                  Yes


  2.64
                                                               As of the petition filing date, the claim is:                $9,611.55                   $9,611.55
           Joshua Miller                                       Check all that apply.
           114 Dunberry Pass
                                                                   Contingent
           Hudson, WI 54016
                                                                   Unliquidated
           Date or dates debt was incurred
           Various                                                 Disputed

           Last 4 digits of account number                     Basis for the claim:
                                                               Employee PTO

           Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
           claim:                                                 No
           11 U.S.C. § 507(a) ( 4 )
                                                                  Yes

  2.65
                                                               As of the petition filing date, the claim is:                $5,690.79                   $5,690.79
           Kao Her                                             Check all that apply.
           810 North Hazel Street
                                                                   Contingent
           Apt #309
           Saint Paul, MN 55119                                    Unliquidated

           Date or dates debt was incurred                         Disputed
           Various                                             Basis for the claim:
           Last 4 digits of account number                     Employee PTO
                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured          No
           claim:
                                                                  Yes
           11 U.S.C. § 507(a) ( 4 )
Debtor   Water Gremlin Company___________________________________________________          Case number (if known) 23-11775________________________________________
         Name
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  2.66
                                                               As of the petition filing date, the claim is:                    $5.51                       $5.51
           Kao Thao                                            Check all that apply.
           7016 92nd Street South
                                                                   Contingent
           Cottage Grove, MN 55016
                                                                   Unliquidated
           Date or dates debt was incurred
           Various                                                 Disputed

           Last 4 digits of account number                     Basis for the claim:
                                                               Employee PTO

           Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
           claim:                                                 No
           11 U.S.C. § 507(a) ( 4 )
                                                                  Yes


  2.67
                                                               As of the petition filing date, the claim is:                  $104.18                     $104.18
           Kate Larsen                                         Check all that apply.
           1480 Park Street
                                                                   Contingent
           Apt 206
           White Bear Lake, MN 55110                               Unliquidated

           Date or dates debt was incurred                         Disputed
           Various                                             Basis for the claim:
           Last 4 digits of account number                     Employee PTO
                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured          No
           claim:
                                                                  Yes
           11 U.S.C. § 507(a) ( 4 )

  2.68
                                                               As of the petition filing date, the claim is:               $10,167.70                  $10,167.70
           Kenneth Alton                                       Check all that apply.
           7146 330th Trail
                                                                   Contingent
           Stacy, MN 55079
                                                                   Unliquidated
           Date or dates debt was incurred
           Various                                                 Disputed

           Last 4 digits of account number                     Basis for the claim:
                                                               Employee PTO

           Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
           claim:                                                 No
           11 U.S.C. § 507(a) ( 4 )
                                                                  Yes
Debtor   Water Gremlin Company___________________________________________________          Case number (if known) 23-11775________________________________________
         Name
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  2.69
                                                               As of the petition filing date, the claim is:               $15,830.26                  $15,150.00
           Kevin Hanson                                        Check all that apply.
           368 Rice Lake Road
                                                                   Contingent
           Somerset, WI 54025
                                                                   Unliquidated
           Date or dates debt was incurred
           Various                                                 Disputed

           Last 4 digits of account number                     Basis for the claim:
                                                               Employee PTO

           Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
           claim:                                                 No
           11 U.S.C. § 507(a) ( 4 )
                                                                  Yes

  2.70
                                                               As of the petition filing date, the claim is:                $5,274.78                   $5,274.78
           Kevin McNeally                                      Check all that apply.
           38460 Coventry Drive
                                                                   Contingent
           North Branch, MN 55056
                                                                   Unliquidated
           Date or dates debt was incurred
           Various                                                 Disputed

           Last 4 digits of account number                     Basis for the claim:
                                                               Employee PTO

           Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
           claim:                                                 No
           11 U.S.C. § 507(a) ( 4 )
                                                                  Yes

  2.71
                                                               As of the petition filing date, the claim is:                $6,122.98                   $6,122.98
           Kham Thao                                           Check all that apply.
           1616 E Rose Avenue
                                                                   Contingent
           Saint Paul, MN 55106
                                                                   Unliquidated
           Date or dates debt was incurred
           Various                                                 Disputed

           Last 4 digits of account number                     Basis for the claim:
                                                               Employee PTO

           Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
           claim:                                                 No
           11 U.S.C. § 507(a) ( 4 )
                                                                  Yes
Debtor   Water Gremlin Company___________________________________________________          Case number (if known) 23-11775________________________________________
         Name
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  2.72
                                                               As of the petition filing date, the claim is:                $2,887.50                   $2,887.50
           Kler Kaw                                            Check all that apply.
           2061 Lydia Avenue East
                                                                   Contingent
           Maplewood, MN 55109
                                                                   Unliquidated
           Date or dates debt was incurred
           Various                                                 Disputed

           Last 4 digits of account number                     Basis for the claim:
                                                               Employee PTO

           Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
           claim:                                                 No
           11 U.S.C. § 507(a) ( 4 )
                                                                  Yes

  2.73
                                                               As of the petition filing date, the claim is:                $3,601.50                   $3,601.50
           Kong Yang                                           Check all that apply.
           769 Englewood Ave
                                                                   Contingent
           St. Paul, MN 55104
                                                                   Unliquidated
           Date or dates debt was incurred
           Various                                                 Disputed

           Last 4 digits of account number                     Basis for the claim:
                                                               Employee PTO

           Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
           claim:                                                 No
           11 U.S.C. § 507(a) ( 4 )
                                                                  Yes

  2.74
                                                               As of the petition filing date, the claim is:                $2,581.58                   $2,581.58
           Kou Chang                                           Check all that apply.
           1471 6th St E
                                                                   Contingent
           Saint Paul, MN 55106
                                                                   Unliquidated
           Date or dates debt was incurred
           Various                                                 Disputed

           Last 4 digits of account number                     Basis for the claim:
                                                               Employee PTO

           Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
           claim:                                                 No
           11 U.S.C. § 507(a) ( 4 )
                                                                  Yes
Debtor   Water Gremlin Company___________________________________________________          Case number (if known) 23-11775________________________________________
         Name
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  2.75
                                                               As of the petition filing date, the claim is:                  $612.79                     $612.79
           Kou Vang                                            Check all that apply.
           3252 Belmar Drive
                                                                   Contingent
           Vadnais Heights, MN 55127
                                                                   Unliquidated
           Date or dates debt was incurred
           Various                                                 Disputed

           Last 4 digits of account number                     Basis for the claim:
                                                               Employee PTO

           Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
           claim:                                                 No
           11 U.S.C. § 507(a) ( 4 )
                                                                  Yes

  2.76
                                                               As of the petition filing date, the claim is:                $3,387.55                   $3,387.55
           Kouler Her                                          Check all that apply.
           2212 6th Street East
                                                                   Contingent
           Saint Paul, MN 55119
                                                                   Unliquidated
           Date or dates debt was incurred
           Various                                                 Disputed

           Last 4 digits of account number                     Basis for the claim:
                                                               Employee PTO

           Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
           claim:                                                 No
           11 U.S.C. § 507(a) ( 4 )
                                                                  Yes


  2.77
                                                               As of the petition filing date, the claim is:                $1,142.09                   $1,142.09
           Ku Paw                                              Check all that apply.
           310 Johnson Parkway
                                                                   Contingent
           Apt #301
           Saint Paul, MN 55106                                    Unliquidated

           Date or dates debt was incurred                         Disputed
           Various                                             Basis for the claim:
           Last 4 digits of account number                     Employee PTO
                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured          No
           claim:
                                                                  Yes
           11 U.S.C. § 507(a) ( 4 )
Debtor   Water Gremlin Company___________________________________________________          Case number (if known) 23-11775________________________________________
         Name
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  2.78
                                                               As of the petition filing date, the claim is:                $2,381.12                   $2,381.12
           La Kler                                             Check all that apply.
           467 Maryland Avenue West
                                                                   Contingent
           Apt 202
           Saint Paul, MN 55117                                    Unliquidated

           Date or dates debt was incurred                         Disputed
           Various                                             Basis for the claim:
           Last 4 digits of account number                     Employee PTO
                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured          No
           claim:
           11 U.S.C. § 507(a) ( 4 )                               Yes


  2.79
                                                               As of the petition filing date, the claim is:                $1,638.40                   $1,638.40
           Lah Paw Shar                                        Check all that apply.
           461 Maryland Avenue West
                                                                   Contingent
           Apt 309
           Saint Paul, MN 55117                                    Unliquidated

           Date or dates debt was incurred                         Disputed
           Various                                             Basis for the claim:
           Last 4 digits of account number                     Employee PTO
                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured          No
           claim:
                                                                  Yes
           11 U.S.C. § 507(a) ( 4 )

  2.80
                                                               As of the petition filing date, the claim is:                $6,699.92                   $6,699.92
           Lar Lao                                             Check all that apply.
           762 23rd Avenue North
                                                                   Contingent
           South Saint Paul, MN 55075
                                                                   Unliquidated
           Date or dates debt was incurred
           Various                                                 Disputed

           Last 4 digits of account number                     Basis for the claim:
                                                               Employee PTO

           Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
           claim:                                                 No
           11 U.S.C. § 507(a) ( 4 )
                                                                  Yes
Debtor   Water Gremlin Company___________________________________________________          Case number (if known) 23-11775________________________________________
         Name
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  2.81
                                                               As of the petition filing date, the claim is:                  $519.44                     $519.44
           Lawrence Kyi                                        Check all that apply.
           221 Larpenteur Avenue West
                                                                   Contingent
           Apt 3
           Roseville, MN 55113                                     Unliquidated

           Date or dates debt was incurred                         Disputed
           Various                                             Basis for the claim:
           Last 4 digits of account number                     Employee PTO
                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured          No
           claim:
           11 U.S.C. § 507(a) ( 4 )                               Yes

  2.82
                                                               As of the petition filing date, the claim is:                $1,986.28                   $1,986.28
           Lee Chang                                           Check all that apply.
           805 Germain St
                                                                   Contingent
           Saint Paul, MN 55106
                                                                   Unliquidated
           Date or dates debt was incurred
           Various                                                 Disputed

           Last 4 digits of account number                     Basis for the claim:
                                                               Employee PTO

           Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
           claim:                                                 No
           11 U.S.C. § 507(a) ( 4 )
                                                                  Yes

  2.83
                                                               As of the petition filing date, the claim is:                $5,946.65                   $5,946.65
           Long Thao                                           Check all that apply.
           1518 Reaney Avenue East
                                                                   Contingent
           Saint Paul, MN 55106
                                                                   Unliquidated
           Date or dates debt was incurred
           Various                                                 Disputed

           Last 4 digits of account number                     Basis for the claim:
                                                               Employee PTO

           Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
           claim:                                                 No
           11 U.S.C. § 507(a) ( 4 )
                                                                  Yes
Debtor   Water Gremlin Company___________________________________________________          Case number (if known) 23-11775________________________________________
         Name
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  2.84
                                                               As of the petition filing date, the claim is:                  $498.77                     $498.77
           Long Vang                                           Check all that apply.
           1880 Hyacinth Avenue East
                                                                   Contingent
           Saint Paul, MN 55119
                                                                   Unliquidated
           Date or dates debt was incurred
           Various                                                 Disputed

           Last 4 digits of account number                     Basis for the claim:
                                                               Employee PTO

           Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
           claim:                                                 No
           11 U.S.C. § 507(a) ( 4 )
                                                                  Yes

  2.85
                                                               As of the petition filing date, the claim is:                $2,388.99                   $2,388.99
           Ma San                                              Check all that apply.
           1071 Virginia Street
                                                                   Contingent
           Saint Paul, MN 55117
                                                                   Unliquidated
           Date or dates debt was incurred
           Various                                                 Disputed

           Last 4 digits of account number                     Basis for the claim:
                                                               Employee PTO

           Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
           claim:                                                 No
           11 U.S.C. § 507(a) ( 4 )
                                                                  Yes

  2.86
                                                               As of the petition filing date, the claim is:                $3,749.06                   $3,749.06
           Ma Vang                                             Check all that apply.
           1119 Hawthorne Avenue East
                                                                   Contingent
           Saint Paul, MN 55106
                                                                   Unliquidated
           Date or dates debt was incurred
           Various                                                 Disputed

           Last 4 digits of account number                     Basis for the claim:
                                                               Employee PTO

           Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
           claim:                                                 No
           11 U.S.C. § 507(a) ( 4 )
                                                                  Yes
Debtor   Water Gremlin Company___________________________________________________          Case number (if known) 23-11775________________________________________
         Name
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  2.87
                                                               As of the petition filing date, the claim is:                $1,190.70                   $1,190.70
           Mai Choua Yang                                      Check all that apply.
           5581 Jenni Lane
                                                                   Contingent
           White Bear Lake, MN 55110
                                                                   Unliquidated
           Date or dates debt was incurred
           Various                                                 Disputed

           Last 4 digits of account number                     Basis for the claim:
                                                               Employee PTO

           Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
           claim:                                                 No
           11 U.S.C. § 507(a) ( 4 )
                                                                  Yes

  2.88
                                                               As of the petition filing date, the claim is:                $1,108.80                   $1,108.80
           Mai Lor                                             Check all that apply.
           1804 Sims Avenue
                                                                   Contingent
           St Paul, MN 55119
                                                                   Unliquidated
           Date or dates debt was incurred
           Various                                                 Disputed

           Last 4 digits of account number                     Basis for the claim:
                                                               Employee PTO

           Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
           claim:                                                 No
           11 U.S.C. § 507(a) ( 4 )
                                                                  Yes

  2.89
                                                               As of the petition filing date, the claim is:                $7,531.44                   $7,531.44
           Mark Schuldt                                        Check all that apply.
           1069 Northview Park Road
                                                                   Contingent
           Eagan, MN 55123
                                                                   Unliquidated
           Date or dates debt was incurred
           Various                                                 Disputed

           Last 4 digits of account number                     Basis for the claim:
                                                               Employee PTO

           Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
           claim:                                                 No
           11 U.S.C. § 507(a) ( 4 )
                                                                  Yes
Debtor   Water Gremlin Company___________________________________________________          Case number (if known) 23-11775________________________________________
         Name
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  2.90
                                                               As of the petition filing date, the claim is:               $14,134.63                  $14,134.63
           Markneil Silva                                      Check all that apply.
           40830 Fenian Way
                                                                   Contingent
           North Branch, MN 55056
                                                                   Unliquidated
           Date or dates debt was incurred
           Various                                                 Disputed

           Last 4 digits of account number                     Basis for the claim:
                                                               Employee PTO

           Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
           claim:                                                 No
           11 U.S.C. § 507(a) ( 4 )
                                                                  Yes


  2.91
                                                               As of the petition filing date, the claim is:                $9,335.82                   $9,335.82
           Mathew Alexander                                    Check all that apply.
           6591 Birch St
                                                                   Contingent
           North Branch, MN 55056
                                                                   Unliquidated
           Date or dates debt was incurred
           Various                                                 Disputed

           Last 4 digits of account number                     Basis for the claim:
                                                               Employee PTO

           Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
           claim:                                                 No
           11 U.S.C. § 507(a) ( 4 )
                                                                  Yes

  2.92
                                                               As of the petition filing date, the claim is:                $3,985.37                   $3,985.37
           Matthew Kleidon                                     Check all that apply.
           720 South Keller Avenue
                                                                   Contingent
           Rush City, MN 55069
                                                                   Unliquidated
           Date or dates debt was incurred
           Various                                                 Disputed

           Last 4 digits of account number                     Basis for the claim:
                                                               Employee PTO

           Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
           claim:                                                 No
           11 U.S.C. § 507(a) ( 4 )
                                                                  Yes
Debtor   Water Gremlin Company___________________________________________________          Case number (if known) 23-11775________________________________________
         Name
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  2.93
                                                               As of the petition filing date, the claim is:                $2,578.72                   $2,578.72
           Matthew Knight                                      Check all that apply.
           1608 Myrtle St N
                                                                   Contingent
           Maplewood, MN 55119
                                                                   Unliquidated
           Date or dates debt was incurred
           Various                                                 Disputed

           Last 4 digits of account number                     Basis for the claim:
                                                               Employee PTO

           Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
           claim:                                                 No
           11 U.S.C. § 507(a) ( 4 )
                                                                  Yes

  2.94
                                                               As of the petition filing date, the claim is:                $2,724.23                   $2,724.23
           Melissa Cossio                                      Check all that apply.
           3185 Karth Road
                                                                   Contingent
           Apt. 329
           White Bear Lake, MN 55110                               Unliquidated

           Date or dates debt was incurred                         Disputed
           Various                                             Basis for the claim:
           Last 4 digits of account number                     Employee PTO
                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured          No
           claim:
                                                                  Yes
           11 U.S.C. § 507(a) ( 4 )

  2.95
                                                               As of the petition filing date, the claim is:                $1,870.88                   $1,870.88
           Merry Ohn                                           Check all that apply.
           2061 Suburban Avenue
                                                                   Contingent
           Saint Paul, MN 55119
                                                                   Unliquidated
           Date or dates debt was incurred
           Various                                                 Disputed

           Last 4 digits of account number                     Basis for the claim:
                                                               Employee PTO

           Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
           claim:                                                 No
           11 U.S.C. § 507(a) ( 4 )
                                                                  Yes
Debtor   Water Gremlin Company___________________________________________________          Case number (if known) 23-11775________________________________________
         Name
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  2.96
                                                               As of the petition filing date, the claim is:                $3,788.75                   $3,788.75
           Michael Peterson                                    Check all that apply.
           224 Galaxy Drive
                                                                   Contingent
           Circle Pines, MN 55014
                                                                   Unliquidated
           Date or dates debt was incurred
           Various                                                 Disputed

           Last 4 digits of account number                     Basis for the claim:
                                                               Employee PTO

           Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
           claim:                                                 No
           11 U.S.C. § 507(a) ( 4 )
                                                                  Yes

  2.97
                                                               As of the petition filing date, the claim is:                $4,562.61                   $4,562.61
           Michael Williams                                    Check all that apply.
           210 Mayfair Road
                                                                   Contingent
           Vadnais Heights, MN 55127
                                                                   Unliquidated
           Date or dates debt was incurred
           Various                                                 Disputed

           Last 4 digits of account number                     Basis for the claim:
                                                               Employee PTO

           Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
           claim:                                                 No
           11 U.S.C. § 507(a) ( 4 )
                                                                  Yes

  2.98
                                                               As of the petition filing date, the claim is:                  $909.94                     $909.94
           Mong Vang                                           Check all that apply.
           2037 Duluth St
                                                                   Contingent
           Maplewood, MN 55109
                                                                   Unliquidated
           Date or dates debt was incurred
           Various                                                 Disputed

           Last 4 digits of account number                     Basis for the claim:
                                                               Employee PTO

           Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
           claim:                                                 No
           11 U.S.C. § 507(a) ( 4 )
                                                                  Yes
Debtor    Water Gremlin Company___________________________________________________          Case number (if known) 23-11775________________________________________
          Name
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  2.99
                                                                As of the petition filing date, the claim is:                $1,463.96                   $1,463.96
            Moung Nu                                            Check all that apply.
            1197 Wilson Avenue
                                                                    Contingent
            Saint Paul, MN 55106
                                                                    Unliquidated
            Date or dates debt was incurred
            Various                                                 Disputed

            Last 4 digits of account number                     Basis for the claim:
                                                                Employee PTO

            Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
            claim:                                                 No
            11 U.S.C. § 507(a) ( 4 )
                                                                   Yes

  2.100
                                                                As of the petition filing date, the claim is:                $1,320.64                   $1,320.64
            Mu Gay                                              Check all that apply.
            461 Maryland Ave West
                                                                    Contingent
            Apt #104
            St Paul, MN 55117                                       Unliquidated

            Date or dates debt was incurred                         Disputed
            Various                                             Basis for the claim:
            Last 4 digits of account number                     Employee PTO
                                                                Is the claim subject to offset?
            Specify Code subsection of PRIORITY unsecured          No
            claim:
                                                                   Yes
            11 U.S.C. § 507(a) ( 4 )

  2.101
                                                                As of the petition filing date, the claim is:                  $931.20                     $931.20
            Munpan Hpauyam                                      Check all that apply.
            294 Ruth St N
                                                                    Contingent
            Apt 10
            Saint Paul, MN 55119                                    Unliquidated

            Date or dates debt was incurred                         Disputed
            Various                                             Basis for the claim:
            Last 4 digits of account number                     Employee PTO
                                                                Is the claim subject to offset?
            Specify Code subsection of PRIORITY unsecured          No
            claim:
                                                                   Yes
            11 U.S.C. § 507(a) ( 4 )
Debtor    Water Gremlin Company___________________________________________________          Case number (if known) 23-11775________________________________________
          Name
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  2.102
                                                                As of the petition filing date, the claim is:                $4,422.60                   $4,422.60
            Naw Chi                                             Check all that apply.
            808 11 1/2 Avenue Southeast
                                                                    Contingent
            Willmar, MN 56201
                                                                    Unliquidated
            Date or dates debt was incurred
            Various                                                 Disputed

            Last 4 digits of account number                     Basis for the claim:
                                                                Employee PTO

            Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
            claim:                                                 No
            11 U.S.C. § 507(a) ( 4 )
                                                                   Yes

  2.103
                                                                As of the petition filing date, the claim is:                $4,279.97                   $4,279.97
            Nhia Chou Vang                                      Check all that apply.
            792 Mayhill Road North
                                                                    Contingent
            Maplewood, MN 55119
                                                                    Unliquidated
            Date or dates debt was incurred
            Various                                                 Disputed

            Last 4 digits of account number                     Basis for the claim:
                                                                Employee PTO

            Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
            claim:                                                 No
            11 U.S.C. § 507(a) ( 4 )
                                                                   Yes

  2.104
                                                                As of the petition filing date, the claim is:                $2,318.32                   $2,318.32
            Nhia Her                                            Check all that apply.
            2212 6th Street East
                                                                    Contingent
            Saint Paul, MN 55119
                                                                    Unliquidated
            Date or dates debt was incurred
            Various                                                 Disputed

            Last 4 digits of account number                     Basis for the claim:
                                                                Employee PTO

            Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
            claim:                                                 No
            11 U.S.C. § 507(a) ( 4 )
                                                                   Yes
Debtor    Water Gremlin Company___________________________________________________          Case number (if known) 23-11775________________________________________
          Name
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  2.105
                                                                As of the petition filing date, the claim is:                $1,663.20                   $1,663.20
            Nicholas Jonasen                                    Check all that apply.
            2197 108th Street
                                                                    Contingent
            New Richmond, WI 54017
                                                                    Unliquidated
            Date or dates debt was incurred
            Various                                                 Disputed

            Last 4 digits of account number                     Basis for the claim:
                                                                Employee PTO

            Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
            claim:                                                 No
            11 U.S.C. § 507(a) ( 4 )
                                                                   Yes

  2.106
                                                                As of the petition filing date, the claim is:                $3,024.69                   $3,024.69
            Noobneej Lor                                        Check all that apply.
            397 Roy Street North
                                                                    Contingent
            Saint Paul, MN 55104
                                                                    Unliquidated
            Date or dates debt was incurred
            Various                                                 Disputed

            Last 4 digits of account number                     Basis for the claim:
                                                                Employee PTO

            Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
            claim:                                                 No
            11 U.S.C. § 507(a) ( 4 )
                                                                   Yes

  2.107
                                                                As of the petition filing date, the claim is:                $2,551.50                   $2,551.50
            Ofelia Alvarez Garcia                               Check all that apply.
            1393 North Woodbridge Street
                                                                    Contingent
            Saint Paul, MN 55117
                                                                    Unliquidated
            Date or dates debt was incurred
            Various                                                 Disputed

            Last 4 digits of account number                     Basis for the claim:
                                                                Employee PTO

            Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
            claim:                                                 No
            11 U.S.C. § 507(a) ( 4 )
                                                                   Yes
Debtor    Water Gremlin Company___________________________________________________          Case number (if known) 23-11775________________________________________
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  2.108
                                                                As of the petition filing date, the claim is:                $1,211.54                   $1,211.54
            Pa Wah                                              Check all that apply.
            1668 Bush Ave
                                                                    Contingent
            Saint Paul, MN 55106
                                                                    Unliquidated
            Date or dates debt was incurred
            Various                                                 Disputed

            Last 4 digits of account number                     Basis for the claim:
                                                                Employee PTO

            Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
            claim:                                                 No
            11 U.S.C. § 507(a) ( 4 )
                                                                   Yes

  2.109
                                                                As of the petition filing date, the claim is:                $6,219.24                   $6,219.24
            Pa Xiong                                            Check all that apply.
            1836 County Road 5 Northwest
                                                                    Contingent
            Isanti, MN 55040
                                                                    Unliquidated
            Date or dates debt was incurred
            Various                                                 Disputed

            Last 4 digits of account number                     Basis for the claim:
                                                                Employee PTO

            Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
            claim:                                                 No
            11 U.S.C. § 507(a) ( 4 )
                                                                   Yes

  2.110
                                                                As of the petition filing date, the claim is:                $2,211.04                   $2,211.04
            Pah Pyaw                                            Check all that apply.
            452 Tower Street
                                                                    Contingent
            Saint Paul, MN 55119
                                                                    Unliquidated
            Date or dates debt was incurred
            Various                                                 Disputed

            Last 4 digits of account number                     Basis for the claim:
                                                                Employee PTO

            Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
            claim:                                                 No
            11 U.S.C. § 507(a) ( 4 )
                                                                   Yes
Debtor    Water Gremlin Company___________________________________________________          Case number (if known) 23-11775________________________________________
          Name
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  2.111
                                                                As of the petition filing date, the claim is:                $1,760.98                   $1,760.98
            Patrick Bane                                        Check all that apply.
            1895 Jackson St
                                                                    Contingent
            Maplewood, MN 55117
                                                                    Unliquidated
            Date or dates debt was incurred
            Various                                                 Disputed

            Last 4 digits of account number                     Basis for the claim:
                                                                Employee PTO

            Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
            claim:                                                 No
            11 U.S.C. § 507(a) ( 4 )
                                                                   Yes

  2.112
                                                                As of the petition filing date, the claim is:                  $343.27                     $343.27
            Patrick Malone                                      Check all that apply.
            1491 92nd Street
                                                                    Contingent
            New Richmond, WI 54017
                                                                    Unliquidated
            Date or dates debt was incurred
            Various                                                 Disputed

            Last 4 digits of account number                     Basis for the claim:
                                                                Employee PTO

            Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
            claim:                                                 No
            11 U.S.C. § 507(a) ( 4 )
                                                                   Yes

  2.113
                                                                As of the petition filing date, the claim is:                $8,913.43                   $8,913.43
            Paul Thanavong                                      Check all that apply.
            1024 76th Avenue North
                                                                    Contingent
            Minneapolis, MN 55444
                                                                    Unliquidated
            Date or dates debt was incurred
            Various                                                 Disputed

            Last 4 digits of account number                     Basis for the claim:
                                                                Employee PTO

            Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
            claim:                                                 No
            11 U.S.C. § 507(a) ( 4 )
                                                                   Yes
Debtor    Water Gremlin Company___________________________________________________          Case number (if known) 23-11775________________________________________
          Name
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  2.114
                                                                As of the petition filing date, the claim is:                $8,155.31                   $8,155.31
            Paula Jarvinen                                      Check all that apply.
            4097 Wild Goose Lane
                                                                    Contingent
            White Bear Township, MN 55110
                                                                    Unliquidated
            Date or dates debt was incurred
            Various                                                 Disputed

            Last 4 digits of account number                     Basis for the claim:
                                                                Employee PTO

            Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
            claim:                                                 No
            11 U.S.C. § 507(a) ( 4 )
                                                                   Yes

  2.115
                                                                As of the petition filing date, the claim is:               $10,544.28                  $10,544.28
            Peter Gibbs                                         Check all that apply.
            510 Landing Circle
                                                                    Contingent
            Hudson, WI 54016
                                                                    Unliquidated
            Date or dates debt was incurred
            Various                                                 Disputed

            Last 4 digits of account number                     Basis for the claim:
                                                                Employee PTO

            Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
            claim:                                                 No
            11 U.S.C. § 507(a) ( 4 )
                                                                   Yes

  2.116
                                                                As of the petition filing date, the claim is:                $2,156.54                   $2,156.54
            Pheng Lee                                           Check all that apply.
            4494 Margaret Street
                                                                    Contingent
            White Bear Lake, MN 55110
                                                                    Unliquidated
            Date or dates debt was incurred
            Various                                                 Disputed

            Last 4 digits of account number                     Basis for the claim:
                                                                Employee PTO

            Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
            claim:                                                 No
            11 U.S.C. § 507(a) ( 4 )
                                                                   Yes
Debtor    Water Gremlin Company___________________________________________________          Case number (if known) 23-11775________________________________________
          Name
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  2.117
                                                                As of the petition filing date, the claim is:                  $680.32                     $680.32
            Pray Reh                                            Check all that apply.
            1089 Burnquist St
                                                                    Contingent
            Apt 7
            St Paul, MN 55106                                       Unliquidated

            Date or dates debt was incurred                         Disputed
            Various                                             Basis for the claim:
            Last 4 digits of account number                     Employee PTO
                                                                Is the claim subject to offset?
            Specify Code subsection of PRIORITY unsecured          No
            claim:
            11 U.S.C. § 507(a) ( 4 )                               Yes

  2.118
                                                                As of the petition filing date, the claim is:                $1,908.03                   $1,908.03
            Prem Yang                                           Check all that apply.
            110 Skyline Drive
                                                                    Contingent
            Vadnais Heights, MN 55127
                                                                    Unliquidated
            Date or dates debt was incurred
            Various                                                 Disputed

            Last 4 digits of account number                     Basis for the claim:
                                                                Employee PTO

            Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
            claim:                                                 No
            11 U.S.C. § 507(a) ( 4 )
                                                                   Yes

  2.119
                                                                As of the petition filing date, the claim is:                  $338.50                     $338.50
            Qoua Thao                                           Check all that apply.
            2411 Gall Avenue
                                                                    Contingent
            Maplewood, MN 55109
                                                                    Unliquidated
            Date or dates debt was incurred
            Various                                                 Disputed

            Last 4 digits of account number                     Basis for the claim:
                                                                Employee PTO

            Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
            claim:                                                 No
            11 U.S.C. § 507(a) ( 4 )
                                                                   Yes
Debtor    Water Gremlin Company___________________________________________________          Case number (if known) 23-11775________________________________________
          Name
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  2.120
                                                                As of the petition filing date, the claim is:                $4,878.47                   $4,878.47
            Randy Kieger                                        Check all that apply.
            2135 11th Street
                                                                    Contingent
            White Bear Lake, MN 55110
                                                                    Unliquidated
            Date or dates debt was incurred
            Various                                                 Disputed

            Last 4 digits of account number                     Basis for the claim:
                                                                Employee PTO

            Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
            claim:                                                 No
            11 U.S.C. § 507(a) ( 4 )
                                                                   Yes

  2.121
                                                                As of the petition filing date, the claim is:                $1,848.00                   $1,848.00
            Ray Htoo                                            Check all that apply.
            461 Maryland Avenue West
                                                                    Contingent
            Apt #104
            Saint Paul, MN 55117                                    Unliquidated

            Date or dates debt was incurred                         Disputed
            Various                                             Basis for the claim:
            Last 4 digits of account number                     Employee PTO
                                                                Is the claim subject to offset?
            Specify Code subsection of PRIORITY unsecured          No
            claim:
                                                                   Yes
            11 U.S.C. § 507(a) ( 4 )

  2.122
                                                                As of the petition filing date, the claim is:                $4,411.76                   $4,411.76
            Richard Strenke Jr                                  Check all that apply.
            20437 Granada Ave N
                                                                    Contingent
            Forest Lake, MN 55025
                                                                    Unliquidated
            Date or dates debt was incurred
            Various                                                 Disputed

            Last 4 digits of account number                     Basis for the claim:
                                                                Employee PTO

            Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
            claim:                                                 No
            11 U.S.C. § 507(a) ( 4 )
                                                                   Yes
Debtor    Water Gremlin Company___________________________________________________          Case number (if known) 23-11775________________________________________
          Name
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  2.123
                                                                As of the petition filing date, the claim is:                $3,539.70                   $3,539.70
            Robert Vang                                         Check all that apply.
            1675 Old Hudson Rd
                                                                    Contingent
            Saint Paul, MN 55106
                                                                    Unliquidated
            Date or dates debt was incurred
            Various                                                 Disputed

            Last 4 digits of account number                     Basis for the claim:
                                                                Employee PTO

            Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
            claim:                                                 No
            11 U.S.C. § 507(a) ( 4 )
                                                                   Yes

  2.124
                                                                As of the petition filing date, the claim is:                $3,825.41                   $3,825.41
            Russell Spermbaur                                   Check all that apply.
            2401 Highwood Avenue East
                                                                    Contingent
            Maplewood, MN 55119
                                                                    Unliquidated
            Date or dates debt was incurred
            Various                                                 Disputed

            Last 4 digits of account number                     Basis for the claim:
                                                                Employee PTO

            Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
            claim:                                                 No
            11 U.S.C. § 507(a) ( 4 )
                                                                   Yes

  2.125
                                                                As of the petition filing date, the claim is:                $1,880.45                   $1,880.45
            Sa La                                               Check all that apply.
            621 Maryland Ave E
                                                                    Contingent
            St Paul, MN 55130
                                                                    Unliquidated
            Date or dates debt was incurred
            Various                                                 Disputed

            Last 4 digits of account number                     Basis for the claim:
                                                                Employee PTO

            Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
            claim:                                                 No
            11 U.S.C. § 507(a) ( 4 )
                                                                   Yes
Debtor    Water Gremlin Company___________________________________________________          Case number (if known) 23-11775________________________________________
          Name
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  2.126
                                                                As of the petition filing date, the claim is:                $5,184.00                   $5,184.00
            Saiwa Cha                                           Check all that apply.
            650 Virginia St
                                                                    Contingent
            Saint Paul, MN 55103
                                                                    Unliquidated
            Date or dates debt was incurred
            Various                                                 Disputed

            Last 4 digits of account number                     Basis for the claim:
                                                                Employee PTO

            Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
            claim:                                                 No
            11 U.S.C. § 507(a) ( 4 )
                                                                   Yes

  2.127
                                                                As of the petition filing date, the claim is:                $1,787.11                   $1,787.11
            Sawpakorn Wah                                       Check all that apply.
            467 Maryland Ave W
                                                                    Contingent
            Apt 308
            Saint Paul, MN 55117                                    Unliquidated

            Date or dates debt was incurred                         Disputed
            Various                                             Basis for the claim:
            Last 4 digits of account number                     Employee PTO
                                                                Is the claim subject to offset?
            Specify Code subsection of PRIORITY unsecured          No
            claim:
                                                                   Yes
            11 U.S.C. § 507(a) ( 4 )

  2.128
                                                                As of the petition filing date, the claim is:                $1,360.64                   $1,360.64
            Sei Oon                                             Check all that apply.
            859 4th Street East
                                                                    Contingent
            Saint Paul, MN 55106
                                                                    Unliquidated
            Date or dates debt was incurred
            Various                                                 Disputed

            Last 4 digits of account number                     Basis for the claim:
                                                                Employee PTO

            Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
            claim:                                                 No
            11 U.S.C. § 507(a) ( 4 )
                                                                   Yes
Debtor    Water Gremlin Company___________________________________________________          Case number (if known) 23-11775________________________________________
          Name
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  2.129
                                                                As of the petition filing date, the claim is:                $7,602.56                   $7,602.56
            Seng Yang                                           Check all that apply.
            7908 Sierra Parkway
                                                                    Contingent
            Minneapolis, MN 55444
                                                                    Unliquidated
            Date or dates debt was incurred
            Various                                                 Disputed

            Last 4 digits of account number                     Basis for the claim:
                                                                Employee PTO

            Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
            claim:                                                 No
            11 U.S.C. § 507(a) ( 4 )
                                                                   Yes

  2.130
                                                                As of the petition filing date, the claim is:                $3,145.30                   $3,145.30
            Shar Polo                                           Check all that apply.
            1471 Hazelwood Street
                                                                    Contingent
            Saint Paul, MN 55106
                                                                    Unliquidated
            Date or dates debt was incurred
            Various                                                 Disputed

            Last 4 digits of account number                     Basis for the claim:
                                                                Employee PTO

            Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
            claim:                                                 No
            11 U.S.C. § 507(a) ( 4 )
                                                                   Yes

  2.131
                                                                As of the petition filing date, the claim is:                $4,190.11                   $4,190.11
            Shaun McGlone                                       Check all that apply.
            59 Jessamine Avenue East
                                                                    Contingent
            Saint Paul, MN 55117
                                                                    Unliquidated
            Date or dates debt was incurred
            Various                                                 Disputed

            Last 4 digits of account number                     Basis for the claim:
                                                                Employee PTO

            Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
            claim:                                                 No
            11 U.S.C. § 507(a) ( 4 )
                                                                   Yes
Debtor    Water Gremlin Company___________________________________________________          Case number (if known) 23-11775________________________________________
          Name
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  2.132
                                                                As of the petition filing date, the claim is:                  $679.68                     $679.68
            Sher Lah                                            Check all that apply.
            2203 Mitchell Avenue
                                                                    Contingent
            Saint Paul, MN 55119
                                                                    Unliquidated
            Date or dates debt was incurred
            Various                                                 Disputed

            Last 4 digits of account number                     Basis for the claim:
                                                                Employee PTO

            Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
            claim:                                                 No
            11 U.S.C. § 507(a) ( 4 )
                                                                   Yes

  2.133
                                                                As of the petition filing date, the claim is:                  $292.33                     $292.33
            Shi Hsar                                            Check all that apply.
            2646 Cowern Place
                                                                    Contingent
            North Saint Paul, MN 55109
                                                                    Unliquidated
            Date or dates debt was incurred
            Various                                                 Disputed

            Last 4 digits of account number                     Basis for the claim:
                                                                Employee PTO

            Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
            claim:                                                 No
            11 U.S.C. § 507(a) ( 4 )
                                                                   Yes

  2.134
                                                                As of the petition filing date, the claim is:                $2,716.56                   $2,716.56
            Shoua Vang                                          Check all that apply.
            1022 Arkwright Street
                                                                    Contingent
            Apt 2
            Saint Paul, MN 55130                                    Unliquidated

            Date or dates debt was incurred                         Disputed
            Various                                             Basis for the claim:
            Last 4 digits of account number                     Employee PTO
                                                                Is the claim subject to offset?
            Specify Code subsection of PRIORITY unsecured          No
            claim:
                                                                   Yes
            11 U.S.C. § 507(a) ( 4 )
Debtor    Water Gremlin Company___________________________________________________          Case number (if known) 23-11775________________________________________
          Name
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  2.135
                                                                As of the petition filing date, the claim is:                    $1.78                       $1.78
            Solai Lo                                            Check all that apply.
            6418 111th Circle North
                                                                    Contingent
            Champlin, MN 55316
                                                                    Unliquidated
            Date or dates debt was incurred
            Various                                                 Disputed

            Last 4 digits of account number                     Basis for the claim:
                                                                Employee PTO

            Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
            claim:                                                 No
            11 U.S.C. § 507(a) ( 4 )
                                                                   Yes

  2.136
                                                                As of the petition filing date, the claim is:                  $679.05                     $679.05
            Steven Tulp                                         Check all that apply.
            34504 Nacre Street Northwest
                                                                    Contingent
            Princeton, MN 55371
                                                                    Unliquidated
            Date or dates debt was incurred
            Various                                                 Disputed

            Last 4 digits of account number                     Basis for the claim:
                                                                Employee PTO

            Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
            claim:                                                 No
            11 U.S.C. § 507(a) ( 4 )
                                                                   Yes

  2.137
                                                                As of the petition filing date, the claim is:                $3,542.88                   $3,542.88
            Stewart Campbell                                    Check all that apply.
            3185 Karth Rd
                                                                    Contingent
            Apt 115
            White Bear Lake, MN 55110                               Unliquidated

            Date or dates debt was incurred                         Disputed
            Various                                             Basis for the claim:
            Last 4 digits of account number                     Employee PTO
                                                                Is the claim subject to offset?
            Specify Code subsection of PRIORITY unsecured          No
            claim:
                                                                   Yes
            11 U.S.C. § 507(a) ( 4 )
Debtor    Water Gremlin Company___________________________________________________          Case number (if known) 23-11775________________________________________
          Name
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  2.138
                                                                As of the petition filing date, the claim is:                  $784.00                     $784.00
            Sue Her                                             Check all that apply.
            1226 North Woodbridge Street
                                                                    Contingent
            Saint Paul, MN 55117
                                                                    Unliquidated
            Date or dates debt was incurred
            Various                                                 Disputed

            Last 4 digits of account number                     Basis for the claim:
                                                                Employee PTO

            Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
            claim:                                                 No
            11 U.S.C. § 507(a) ( 4 )
                                                                   Yes

  2.139
                                                                As of the petition filing date, the claim is:                $3,083.22                   $3,083.22
            Sue Vang                                            Check all that apply.
            1084 Norton Street
                                                                    Contingent
            Saint Paul, MN 55117
                                                                    Unliquidated
            Date or dates debt was incurred
            Various                                                 Disputed

            Last 4 digits of account number                     Basis for the claim:
                                                                Employee PTO

            Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
            claim:                                                 No
            11 U.S.C. § 507(a) ( 4 )
                                                                   Yes

  2.140
                                                                As of the petition filing date, the claim is:                $5,258.41                   $5,258.41
            Suzanne Lajoie                                      Check all that apply.
            9915 Tapestry Grove
                                                                    Contingent
            Lake Elmo, MN 55042
                                                                    Unliquidated
            Date or dates debt was incurred
            Various                                                 Disputed

            Last 4 digits of account number                     Basis for the claim:
                                                                Employee PTO

            Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
            claim:                                                 No
            11 U.S.C. § 507(a) ( 4 )
                                                                   Yes
Debtor    Water Gremlin Company___________________________________________________          Case number (if known) 23-11775________________________________________
          Name
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  2.141
                                                                As of the petition filing date, the claim is:                $2,289.06                   $2,289.06
            Ta Dah                                              Check all that apply.
            55 Hyacinth Ave W
                                                                    Contingent
            Apt 106
            St. Paul, MN 55117                                      Unliquidated

            Date or dates debt was incurred                         Disputed
            Various                                             Basis for the claim:
            Last 4 digits of account number                     Employee PTO
                                                                Is the claim subject to offset?
            Specify Code subsection of PRIORITY unsecured          No
            claim:
                                                                   Yes
            11 U.S.C. § 507(a) ( 4 )

  2.142
                                                                As of the petition filing date, the claim is:                  $438.00                     $438.00
            Ta Wah                                              Check all that apply.
            1668 Bush Avenue
                                                                    Contingent
            Saint Paul, MN 55106
                                                                    Unliquidated
            Date or dates debt was incurred
            Various                                                 Disputed

            Last 4 digits of account number                     Basis for the claim:
                                                                Employee PTO

            Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
            claim:                                                 No
            11 U.S.C. § 507(a) ( 4 )
                                                                   Yes

  2.143
                                                                As of the petition filing date, the claim is:                $1,326.08                   $1,326.08
            Tania Morales Velez                                 Check all that apply.
            669 Surrey Ave
                                                                    Contingent
            St Paul, MN 55106
                                                                    Unliquidated
            Date or dates debt was incurred
            Various                                                 Disputed

            Last 4 digits of account number                     Basis for the claim:
                                                                Employee PTO

            Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
            claim:                                                 No
            11 U.S.C. § 507(a) ( 4 )
                                                                   Yes
Debtor    Water Gremlin Company___________________________________________________          Case number (if known) 23-11775________________________________________
          Name
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  2.144
                                                                As of the petition filing date, the claim is:                  $446.89                     $446.89
            Tha Htoo                                            Check all that apply.
            120 Iowa Avenue West
                                                                    Contingent
            Apt 8
            Saint Paul, MN 55117                                    Unliquidated

            Date or dates debt was incurred                         Disputed
            Various                                             Basis for the claim:
            Last 4 digits of account number                     Employee PTO
                                                                Is the claim subject to offset?
            Specify Code subsection of PRIORITY unsecured          No
            claim:
            11 U.S.C. § 507(a) ( 4 )                               Yes

  2.145
                                                                As of the petition filing date, the claim is:                $5,865.52                   $5,865.52
            Thao Yang                                           Check all that apply.
            2318 Navajo Road
                                                                    Contingent
            North Saint Paul, MN 55109
                                                                    Unliquidated
            Date or dates debt was incurred
            Various                                                 Disputed

            Last 4 digits of account number                     Basis for the claim:
                                                                Employee PTO

            Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
            claim:                                                 No
            11 U.S.C. § 507(a) ( 4 )
                                                                   Yes

  2.146
                                                                As of the petition filing date, the claim is:                $2,318.32                   $2,318.32
            Thay Wah                                            Check all that apply.
            2010 Bush Ave E
                                                                    Contingent
            Saint Paul, MN 55119
                                                                    Unliquidated
            Date or dates debt was incurred
            Various                                                 Disputed

            Last 4 digits of account number                     Basis for the claim:
                                                                Employee PTO

            Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
            claim:                                                 No
            11 U.S.C. § 507(a) ( 4 )
                                                                   Yes
Debtor    Water Gremlin Company___________________________________________________          Case number (if known) 23-11775________________________________________
          Name
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  2.147
                                                                As of the petition filing date, the claim is:                $5,717.04                   $5,717.04
            Theng Her                                           Check all that apply.
            1813 Mechanic Avenue East
                                                                    Contingent
            Saint Paul, MN 55119
                                                                    Unliquidated
            Date or dates debt was incurred
            Various                                                 Disputed

            Last 4 digits of account number                     Basis for the claim:
                                                                Employee PTO

            Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
            claim:                                                 No
            11 U.S.C. § 507(a) ( 4 )
                                                                   Yes

  2.148
                                                                As of the petition filing date, the claim is:                $2,510.25                   $2,510.25
            Thong Vang                                          Check all that apply.
            2168 Clark Street
                                                                    Contingent
            Saint Paul, MN 55117
                                                                    Unliquidated
            Date or dates debt was incurred
            Various                                                 Disputed

            Last 4 digits of account number                     Basis for the claim:
                                                                Employee PTO

            Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
            claim:                                                 No
            11 U.S.C. § 507(a) ( 4 )
                                                                   Yes

  2.149
                                                                As of the petition filing date, the claim is:                $6,043.51                   $6,043.51
            Timothy Harding                                     Check all that apply.
            2215 Reiling Rd
                                                                    Contingent
            Lino Lakes, MN 55110
                                                                    Unliquidated
            Date or dates debt was incurred
            Various                                                 Disputed

            Last 4 digits of account number                     Basis for the claim:
                                                                Employee PTO

            Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
            claim:                                                 No
            11 U.S.C. § 507(a) ( 4 )
                                                                   Yes
Debtor    Water Gremlin Company___________________________________________________          Case number (if known) 23-11775________________________________________
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  2.150
                                                                As of the petition filing date, the claim is:                $4,038.22                   $4,038.22
            Toua Her                                            Check all that apply.
            104 Star Circle
                                                                    Contingent
            Vadnais Heights, MN 55127
                                                                    Unliquidated
            Date or dates debt was incurred
            Various                                                 Disputed

            Last 4 digits of account number                     Basis for the claim:
                                                                Employee PTO

            Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
            claim:                                                 No
            11 U.S.C. § 507(a) ( 4 )
                                                                   Yes

  2.151
                                                                As of the petition filing date, the claim is:                $1,700.80                   $1,700.80
            Touyanglylochuechao Lao                             Check all that apply.
            762 23rd Avenue North
                                                                    Contingent
            South Saint Paul, MN 55075
                                                                    Unliquidated
            Date or dates debt was incurred
            Various                                                 Disputed

            Last 4 digits of account number                     Basis for the claim:
                                                                Employee PTO

            Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
            claim:                                                 No
            11 U.S.C. § 507(a) ( 4 )
                                                                   Yes

  2.152
                                                                As of the petition filing date, the claim is:                $6,517.30                   $6,517.30
            Tracy Cain                                          Check all that apply.
            3542 Edmar Lane Northeast
                                                                    Contingent
            Wyoming, MN 55092
                                                                    Unliquidated
            Date or dates debt was incurred
            Various                                                 Disputed

            Last 4 digits of account number                     Basis for the claim:
                                                                Employee PTO

            Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
            claim:                                                 No
            11 U.S.C. § 507(a) ( 4 )
                                                                   Yes
Debtor    Water Gremlin Company___________________________________________________          Case number (if known) 23-11775________________________________________
          Name
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  2.153
                                                                As of the petition filing date, the claim is:                $7,189.26                   $7,189.26
            Travis Xiong                                        Check all that apply.
            2610 Bittersweet Ln
                                                                    Contingent
            Maplewood, MN 55109
                                                                    Unliquidated
            Date or dates debt was incurred
            Various                                                 Disputed

            Last 4 digits of account number                     Basis for the claim:
                                                                Employee PTO

            Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
            claim:                                                 No
            11 U.S.C. § 507(a) ( 4 )
                                                                   Yes

  2.154
                                                                As of the petition filing date, the claim is:                $1,814.86                   $1,814.86
            Tyler Fearing                                       Check all that apply.
            638 Adams St NE
                                                                    Contingent
            Unit 1
            Minneapolis, MN 55413                                   Unliquidated

            Date or dates debt was incurred                         Disputed
            Various                                             Basis for the claim:
            Last 4 digits of account number                     Employee PTO
                                                                Is the claim subject to offset?
            Specify Code subsection of PRIORITY unsecured          No
            claim:
                                                                   Yes
            11 U.S.C. § 507(a) ( 4 )

  2.155
                                                                As of the petition filing date, the claim is:                $2,293.60                   $2,293.60
            U Xiong                                             Check all that apply.
            3342 Penn Ave N
                                                                    Contingent
            Minneapolis, MN 55412
                                                                    Unliquidated
            Date or dates debt was incurred
            Various                                                 Disputed

            Last 4 digits of account number                     Basis for the claim:
                                                                Employee PTO

            Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
            claim:                                                 No
            11 U.S.C. § 507(a) ( 4 )
                                                                   Yes
Debtor    Water Gremlin Company___________________________________________________          Case number (if known) 23-11775________________________________________
          Name
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  2.156
                                                                As of the petition filing date, the claim is:                $1,474.56                   $1,474.56
            Ue Thao                                             Check all that apply.
            2917 Furness Place
                                                                    Contingent
            Maplewood, MN 55109
                                                                    Unliquidated
            Date or dates debt was incurred
            Various                                                 Disputed

            Last 4 digits of account number                     Basis for the claim:
                                                                Employee PTO

            Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
            claim:                                                 No
            11 U.S.C. § 507(a) ( 4 )
                                                                   Yes

  2.157
                                                                As of the petition filing date, the claim is:                  $391.13                     $391.13
            Vang Thao                                           Check all that apply.
            1616 Rose Ave E
                                                                    Contingent
            St Paul, MN 55106
                                                                    Unliquidated
            Date or dates debt was incurred
            Various                                                 Disputed

            Last 4 digits of account number                     Basis for the claim:
                                                                Employee PTO

            Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
            claim:                                                 No
            11 U.S.C. § 507(a) ( 4 )
                                                                   Yes


  2.158
                                                                As of the petition filing date, the claim is:                $1,020.48                   $1,020.48
            Vidal Day                                           Check all that apply.
            2136 Cottage Avenue East
                                                                    Contingent
            Saint Paul, MN 55119
                                                                    Unliquidated
            Date or dates debt was incurred
            Various                                                 Disputed

            Last 4 digits of account number                     Basis for the claim:
                                                                Employee PTO

            Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
            claim:                                                 No
            11 U.S.C. § 507(a) ( 4 )
                                                                   Yes
Debtor    Water Gremlin Company___________________________________________________          Case number (if known) 23-11775________________________________________
          Name
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  2.159
                                                                As of the petition filing date, the claim is:                $1,704.61                   $1,704.61
            Wangmeng Yang                                       Check all that apply.
            2296 Cowern Place East
                                                                    Contingent
            North Saint Paul, MN 55109-4018
                                                                    Unliquidated
            Date or dates debt was incurred
            Various                                                 Disputed

            Last 4 digits of account number                     Basis for the claim:
                                                                Employee PTO

            Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
            claim:                                                 No
            11 U.S.C. § 507(a) ( 4 )
                                                                   Yes


  2.160
                                                                As of the petition filing date, the claim is:                  $690.73                     $690.73
            Warren Klein                                        Check all that apply.
            10512 Grouse Circle Northwest
                                                                    Contingent
            Coon Rapids, MN 55433
                                                                    Unliquidated
            Date or dates debt was incurred
            Various                                                 Disputed

            Last 4 digits of account number                     Basis for the claim:
                                                                Employee PTO

            Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
            claim:                                                 No
            11 U.S.C. § 507(a) ( 4 )
                                                                   Yes

  2.161
                                                                As of the petition filing date, the claim is:                $2,530.24                   $2,530.24
            Williams Ramiro                                     Check all that apply.
            1645 253rd Ave NE
                                                                    Contingent
            Isanti, MN 55040
                                                                    Unliquidated
            Date or dates debt was incurred
            Various                                                 Disputed

            Last 4 digits of account number                     Basis for the claim:
                                                                Employee PTO

            Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
            claim:                                                 No
            11 U.S.C. § 507(a) ( 4 )
                                                                   Yes
Debtor    Water Gremlin Company___________________________________________________          Case number (if known) 23-11775________________________________________
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  2.162
                                                                As of the petition filing date, the claim is:                   $15.66                      $15.66
            Xang Yang                                           Check all that apply.
            1957 Wilson Avenue
                                                                    Contingent
            Apt #302
            Saint Paul, MN 55119                                    Unliquidated

            Date or dates debt was incurred                         Disputed
            Various                                             Basis for the claim:
            Last 4 digits of account number                     Employee PTO
                                                                Is the claim subject to offset?
            Specify Code subsection of PRIORITY unsecured          No
            claim:
            11 U.S.C. § 507(a) ( 4 )                               Yes

  2.163
                                                                As of the petition filing date, the claim is:                  $718.26                     $718.26
            Xor Her                                             Check all that apply.
            308 Bankers Drive
                                                                    Contingent
            Vadnais Heights, MN 55127
                                                                    Unliquidated
            Date or dates debt was incurred
            Various                                                 Disputed

            Last 4 digits of account number                     Basis for the claim:
                                                                Employee PTO

            Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
            claim:                                                 No
            11 U.S.C. § 507(a) ( 4 )
                                                                   Yes

  2.164
                                                                As of the petition filing date, the claim is:                $2,211.04                   $2,211.04
            Yan Wang                                            Check all that apply.
            7659 64th Street North
                                                                    Contingent
            Pine Springs, MN 55115
                                                                    Unliquidated
            Date or dates debt was incurred
            Various                                                 Disputed

            Last 4 digits of account number                     Basis for the claim:
                                                                Employee PTO

            Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
            claim:                                                 No
            11 U.S.C. § 507(a) ( 4 )
                                                                   Yes
Debtor    Water Gremlin Company___________________________________________________          Case number (if known) 23-11775________________________________________
          Name
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  2.165
                                                                As of the petition filing date, the claim is:                  $758.97                     $758.97
            Yeng Lor                                            Check all that apply.
            91 Wheelock Parkway West
                                                                    Contingent
            Saint Paul, MN 55117
                                                                    Unliquidated
            Date or dates debt was incurred
            Various                                                 Disputed

            Last 4 digits of account number                     Basis for the claim:
                                                                Employee PTO

            Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
            claim:                                                 No
            11 U.S.C. § 507(a) ( 4 )
                                                                   Yes

  2.166
                                                                As of the petition filing date, the claim is:                $1,749.01                   $1,749.01
            Yeng Moua                                           Check all that apply.
            1172 Maryland Avenue East
                                                                    Contingent
            Saint Paul, MN 55106
                                                                    Unliquidated
            Date or dates debt was incurred
            Various                                                 Disputed

            Last 4 digits of account number                     Basis for the claim:
                                                                Employee PTO

            Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
            claim:                                                 No
            11 U.S.C. § 507(a) ( 4 )
                                                                   Yes

  2.167
                                                                As of the petition filing date, the claim is:                $9,425.17                   $9,425.17
            Youa Thao                                           Check all that apply.
            870 Geranium Avenue East
                                                                    Contingent
            Saint Paul, MN 55106
                                                                    Unliquidated
            Date or dates debt was incurred
            Various                                                 Disputed

            Last 4 digits of account number                     Basis for the claim:
                                                                Employee PTO

            Specify Code subsection of PRIORITY unsecured       Is the claim subject to offset?
            claim:                                                 No
            11 U.S.C. § 507(a) ( 4 )
                                                                   Yes
Debtor      Water Gremlin Company___________________________________________________                     Case number (if known) 23-11775________________________________________
          Name
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  2.168
                                                                            As of the petition filing date, the claim is:                      $1,737.07                       $1,737.07
             Zong Yang                                                      Check all that apply.
             128 Skyline Drive
                                                                                 Contingent
             Vadnais Heights, MN 55127
                                                                                 Unliquidated
             Date or dates debt was incurred
             Various                                                             Disputed

             Last 4 digits of account number                                Basis for the claim:
                                                                            Employee PTO

             Specify Code subsection of PRIORITY unsecured                  Is the claim subject to offset?
             claim:                                                             No
             11 U.S.C. § 507(a) ( 4 )
                                                                                Yes

  Part 2:     List All Creditors with NONPRIORITY Unsecured Claims

  3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill out and attach the
  Additional Page of Part 2.

                                                                                                                                                                  Amount of claim

  3.1
                                                                                               As of the petition filing date, the claim is:                                 $31,455.00
             A&S Manufacturing Co
                                                                                               Check all that apply.
             Attn: Steve Churchill
                                                                                                    Contingent
             PO Box 1282
             Southeastern, PA 19399                                                                 Unliquidated

             Date or dates debt was incurred                                                        Disputed
             Various                                                                           Basis for the claim:
                                                                                               Trade Payable
                                                                                               Is the claim subject to offset?
                                                                                                   No

                                                                                                   Yes

  3.2
                                                                                               As of the petition filing date, the claim is:                                     $387.10
             Ace Supply Co. Inc.                                                               Check all that apply.
             7640 Commerce Way
                                                                                                    Contingent
             Eden Prairie, MN 55344-2002
                                                                                                    Unliquidated
             Date or dates debt was incurred
             Various                                                                                Disputed
                                                                                               Basis for the claim:
                                                                                               Trade Payable
                                                                                               Is the claim subject to offset?
                                                                                                   No

                                                                                                   Yes
Debtor   Water Gremlin Company___________________________________________________         Case number (if known) 23-11775________________________________________
         Name
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  3.3
                                                                              As of the petition filing date, the claim is:                Undetermined
           Adam Prock                                                         Check all that apply.
           Attn: Dean M Salita
                                                                                    Contingent
           13911 Ridgedale Drive, Suite 325
           Minneapolis, MN 55305                                                    Unliquidated

           Date or dates debt was incurred                                          Disputed
           Various                                                            Basis for the claim:
                                                                              Tort Claim

                                                                              Is the claim subject to offset?
                                                                                    No

                                                                                    Yes

  3.4
                                                                              As of the petition filing date, the claim is:                              $859.94
           Adam's Pest Control Inc                                            Check all that apply.
           922 Highway 55
                                                                                    Contingent
           Ste 100
           Medina, MN 55340                                                         Unliquidated

           Date or dates debt was incurred                                          Disputed
           Various                                                            Basis for the claim:
                                                                              Trade Payable
                                                                              Is the claim subject to offset?
                                                                                    No

                                                                                    Yes

  3.5
                                                                              As of the petition filing date, the claim is:                Undetermined
           Adebola Adenusi                                                    Check all that apply.
           2225 Orleans Street West
                                                                                    Contingent
           Apt 229
           Stillwater, MN 55082                                                     Unliquidated

           Date or dates debt was incurred                                          Disputed
                                                                              Basis for the claim:
                                                                              Workers' Comp Claim

                                                                              Is the claim subject to offset?
                                                                                    No

                                                                                    Yes

  3.6
                                                                              As of the petition filing date, the claim is:                              $730.00
           Advanced Welding Technologies LLC                                  Check all that apply.
           Attn: Anthony Mark Altnow
                                                                                    Contingent
           31055 Forest Blvd
           Stacy, MN 55079                                                          Unliquidated

           Date or dates debt was incurred                                          Disputed
           Various                                                            Basis for the claim:
                                                                              Trade Payable

                                                                              Is the claim subject to offset?
                                                                                    No

                                                                                    Yes
Debtor   Water Gremlin Company___________________________________________________         Case number (if known) 23-11775________________________________________
         Name
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  3.7
                                                                              As of the petition filing date, the claim is:                Undetermined
           Akuthi Okoth                                                       Check all that apply.
           Attn: Dean M Salita
                                                                                    Contingent
           13911 Ridgedale Drive, Suite 325
           Minneapolis, MN 55305                                                    Unliquidated

           Date or dates debt was incurred                                          Disputed
           Various                                                            Basis for the claim:
                                                                              Tort Claim

                                                                              Is the claim subject to offset?
                                                                                    No

                                                                                    Yes

  3.8
                                                                              As of the petition filing date, the claim is:                               $38.00
           Alerus Retirement and Benefits                                     Check all that apply.
           201 E Clark
                                                                                    Contingent
           Albert Lea, MN 56007
                                                                                    Unliquidated
           Date or dates debt was incurred
           Various                                                                  Disputed
                                                                              Basis for the claim:
                                                                              Trade Payable
                                                                              Is the claim subject to offset?
                                                                                    No

                                                                                    Yes

  3.9
                                                                              As of the petition filing date, the claim is:                              $365.00
           Allied Generators                                                  Check all that apply.
           Attn: Roger Heath
                                                                                    Contingent
           577 Shoreview Park Rd
           Shoreview, MN 55126                                                      Unliquidated

           Date or dates debt was incurred                                          Disputed
           Various                                                            Basis for the claim:
                                                                              Trade Payable
                                                                              Is the claim subject to offset?
                                                                                    No

                                                                                    Yes

  3.10
                                                                              As of the petition filing date, the claim is:                Undetermined
           Alvina DeMars                                                      Check all that apply.
           Attn: Dean M Salita
                                                                                    Contingent
           13911 Ridgedale Drive, Suite 325
           Minneapolis, MN 55305                                                    Unliquidated

           Date or dates debt was incurred                                          Disputed
           Various                                                            Basis for the claim:
                                                                              Tort Claim
                                                                              Is the claim subject to offset?
                                                                                    No

                                                                                    Yes
Debtor   Water Gremlin Company___________________________________________________         Case number (if known) 23-11775________________________________________
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  3.11
                                                                              As of the petition filing date, the claim is:                            $1,069.79
           Amazon Capital Services Inc                                        Check all that apply.
           PO Box 035184
                                                                                    Contingent
           Seattle, WA 98124
                                                                                    Unliquidated
           Date or dates debt was incurred
           Various                                                                  Disputed
                                                                              Basis for the claim:
                                                                              Trade Payable

                                                                              Is the claim subject to offset?
                                                                                    No

                                                                                    Yes

  3.12
                                                                              As of the petition filing date, the claim is:                Undetermined
           Andre Yasis                                                        Check all that apply.
           Attn: Dean M Salita
                                                                                    Contingent
           13911 Ridgedale Drive, Suite 325
           Minneapolis, MN 55305                                                    Unliquidated

           Date or dates debt was incurred                                          Disputed
           Various                                                            Basis for the claim:
                                                                              Tort Claim
                                                                              Is the claim subject to offset?
                                                                                    No

                                                                                    Yes

  3.13
                                                                              As of the petition filing date, the claim is:                Undetermined
           Angela Hancock                                                     Check all that apply.
           Attn: Dean M Salita
                                                                                    Contingent
           13911 Ridgedale Drive, Suite 325
           Minneapolis, MN 55305                                                    Unliquidated

           Date or dates debt was incurred                                          Disputed
           Various                                                            Basis for the claim:
                                                                              Tort Claim
                                                                              Is the claim subject to offset?
                                                                                    No

                                                                                    Yes

  3.14
                                                                              As of the petition filing date, the claim is:                Undetermined
           Ardys Dellores Hawn                                                Check all that apply.
           Attn: Dean M Salita
                                                                                    Contingent
           13911 Ridgedale Drive, Suite 325
           Minneapolis, MN 55305                                                    Unliquidated

           Date or dates debt was incurred                                          Disputed
           Various                                                            Basis for the claim:
                                                                              Tort Claim
                                                                              Is the claim subject to offset?
                                                                                    No

                                                                                    Yes
Debtor   Water Gremlin Company___________________________________________________         Case number (if known) 23-11775________________________________________
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  3.15
                                                                              As of the petition filing date, the claim is:                            $3,589.40
           Automation, Inc.                                                   Check all that apply.
           4830 Azelia Ave N
                                                                                    Contingent
           Ste 500
           Minneapolis, MN 55429                                                    Unliquidated

           Date or dates debt was incurred                                          Disputed
           Various                                                            Basis for the claim:
                                                                              Trade Payable

                                                                              Is the claim subject to offset?
                                                                                    No

                                                                                    Yes

  3.16
                                                                              As of the petition filing date, the claim is:                Undetermined
           Barbara Svoboda                                                    Check all that apply.
           Attn: Dean M Salita
                                                                                    Contingent
           13911 Ridgedale Drive, Suite 325
           Minneapolis, MN 55305                                                    Unliquidated

           Date or dates debt was incurred                                          Disputed
           Various                                                            Basis for the claim:
                                                                              Tort Claim
                                                                              Is the claim subject to offset?
                                                                                    No

                                                                                    Yes

  3.17
                                                                              As of the petition filing date, the claim is:                            $1,657.29
           Barry & Sewall Industrial Supp                                     Check all that apply.
           PO Box 50
                                                                                    Contingent
           Minneapolis, MN 55440-0050
                                                                                    Unliquidated
           Date or dates debt was incurred
           Various                                                                  Disputed
                                                                              Basis for the claim:
                                                                              Trade Payable
                                                                              Is the claim subject to offset?
                                                                                    No

                                                                                    Yes

  3.18
                                                                              As of the petition filing date, the claim is:                            $1,560.00
           Bob Marty Electric Inc                                             Check all that apply.
           19660 Maidstone Way
                                                                                    Contingent
           Rogers, MN 55374
                                                                                    Unliquidated
           Date or dates debt was incurred
           Various                                                                  Disputed
                                                                              Basis for the claim:
                                                                              Trade Payable
                                                                              Is the claim subject to offset?
                                                                                    No

                                                                                    Yes
Debtor   Water Gremlin Company___________________________________________________         Case number (if known) 23-11775________________________________________
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  3.19
                                                                              As of the petition filing date, the claim is:                Undetermined
           Bradley J. Hartsell                                                Check all that apply.
           3080 Hazelwood St
                                                                                    Contingent
           Apartment 106
           Maplewood, MN 55109                                                      Unliquidated

           Date or dates debt was incurred                                          Disputed
                                                                              Basis for the claim:
                                                                              Workers' Comp Claim

                                                                              Is the claim subject to offset?
                                                                                    No

                                                                                    Yes

  3.20
                                                                              As of the petition filing date, the claim is:                Undetermined
           Brian Wilcox                                                       Check all that apply.
           Attn: Dean M Salita
                                                                                    Contingent
           13911 Ridgedale Drive, Suite 325
           Minneapolis, MN 55305                                                    Unliquidated

           Date or dates debt was incurred                                          Disputed
           Various                                                            Basis for the claim:
                                                                              Tort Claim
                                                                              Is the claim subject to offset?
                                                                                    No

                                                                                    Yes

  3.21
                                                                              As of the petition filing date, the claim is:                Undetermined
           Brianna Jungwirth                                                  Check all that apply.
           Attn: Dean M Salita
                                                                                    Contingent
           13911 Ridgedale Drive, Suite 325
           Minneapolis, MN 55305                                                    Unliquidated

           Date or dates debt was incurred                                          Disputed
           Various                                                            Basis for the claim:
                                                                              Tort Claim
                                                                              Is the claim subject to offset?
                                                                                    No

                                                                                    Yes

  3.22
                                                                              As of the petition filing date, the claim is:                            $7,606.00
           BuhlerPrince, Inc.                                                 Check all that apply.
           Attn: Julie Mast
                                                                                    Contingent
           670 Windcrest Drive
           Holland, MI 49423-5410                                                   Unliquidated

           Date or dates debt was incurred                                          Disputed
           Various                                                            Basis for the claim:
                                                                              Trade Payable
                                                                              Is the claim subject to offset?
                                                                                    No

                                                                                    Yes
Debtor   Water Gremlin Company___________________________________________________         Case number (if known) 23-11775________________________________________
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  3.23
                                                                              As of the petition filing date, the claim is:                Undetermined
           Burnell Brown                                                      Check all that apply.
           Attn: Dean M Salita
                                                                                    Contingent
           13911 Ridgedale Drive, Suite 325
           Minneapolis, MN 55305                                                    Unliquidated

           Date or dates debt was incurred                                          Disputed
           Various                                                            Basis for the claim:
                                                                              Tort Claim

                                                                              Is the claim subject to offset?
                                                                                    No

                                                                                    Yes


  3.24
                                                                              As of the petition filing date, the claim is:                              $226.93
           CDW Direct LLC                                                     Check all that apply.
           Attn: Cara Schuppe
                                                                                    Contingent
           PO Box 75723
           Chicago, IL 60675-5723                                                   Unliquidated

           Date or dates debt was incurred                                          Disputed
           Various                                                            Basis for the claim:
                                                                              Trade Payable
                                                                              Is the claim subject to offset?
                                                                                    No

                                                                                    Yes

  3.25
                                                                              As of the petition filing date, the claim is:                              $330.05
           CenturyLink                                                        Check all that apply.
           PO Box 2956
                                                                                    Contingent
           Phoenix, AZ 85062-2956
                                                                                    Unliquidated
           Date or dates debt was incurred
           Various                                                                  Disputed
                                                                              Basis for the claim:
                                                                              Trade Payable
                                                                              Is the claim subject to offset?
                                                                                    No

                                                                                    Yes

  3.26
                                                                              As of the petition filing date, the claim is:                            $3,614.68
           CenturyLink Communications LLC                                     Check all that apply.
           Business Services
                                                                                    Contingent
           PO Box 52187
           Phoenix, AZ 85072-2187                                                   Unliquidated

           Date or dates debt was incurred                                          Disputed
           Various                                                            Basis for the claim:
                                                                              Trade Payable
                                                                              Is the claim subject to offset?
                                                                                    No

                                                                                    Yes
Debtor   Water Gremlin Company___________________________________________________         Case number (if known) 23-11775________________________________________
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  3.27
                                                                              As of the petition filing date, the claim is:                           $91,576.42
           Chemsolv LLC                                                       Check all that apply.
           Attn: Jamie Austin
                                                                                    Contingent
           1140 Industry Avenue, S.E.
           Roanoke, VA 24013                                                        Unliquidated

           Date or dates debt was incurred                                          Disputed
           Various                                                            Basis for the claim:
                                                                              Trade Payable

                                                                              Is the claim subject to offset?
                                                                                    No

                                                                                    Yes

  3.28
                                                                              As of the petition filing date, the claim is:                            $1,809.41
           Chet's Safety Sales Inc                                            Check all that apply.
           8870 Rendova Street NE
                                                                                    Contingent
           Circle Pines, MN 55014
                                                                                    Unliquidated
           Date or dates debt was incurred
           Various                                                                  Disputed
                                                                              Basis for the claim:
                                                                              Trade Payable
                                                                              Is the claim subject to offset?
                                                                                    No

                                                                                    Yes

  3.29
                                                                              As of the petition filing date, the claim is:                              $216.75
           Chet's Shoes LLC                                                   Check all that apply.
           8355 University Ave NE
                                                                                    Contingent
           Spring Lake Park, MN 55432
                                                                                    Unliquidated
           Date or dates debt was incurred
           Various                                                                  Disputed
                                                                              Basis for the claim:
                                                                              Trade Payable
                                                                              Is the claim subject to offset?
                                                                                    No

                                                                                    Yes

  3.30
                                                                              As of the petition filing date, the claim is:                Undetermined
           Christopher Sager                                                  Check all that apply.
           Attn: Dean M Salita
                                                                                    Contingent
           13911 Ridgedale Drive, Suite 325
           Minneapolis, MN 55305                                                    Unliquidated

           Date or dates debt was incurred                                          Disputed
           Various                                                            Basis for the claim:
                                                                              Tort Claim
                                                                              Is the claim subject to offset?
                                                                                    No

                                                                                    Yes
Debtor   Water Gremlin Company___________________________________________________         Case number (if known) 23-11775________________________________________
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  3.31
                                                                              As of the petition filing date, the claim is:                Undetermined
           Cindy Leitschuh                                                    Check all that apply.
           Attn: Dean M Salita
                                                                                    Contingent
           13911 Ridgedale Drive, Suite 325
           Minneapolis, MN 55305                                                    Unliquidated

           Date or dates debt was incurred                                          Disputed
           Various                                                            Basis for the claim:
                                                                              Tort Claim

                                                                              Is the claim subject to offset?
                                                                                    No

                                                                                    Yes

  3.32
                                                                              As of the petition filing date, the claim is:                           $23,229.75
           Cintas Corporation                                                 Check all that apply.
           Attn: Legal Dept
                                                                                    Contingent
           6800 Cintas Blvd
           PO Box 625737                                                            Unliquidated
           Cincinnati, OH 45262
                                                                                    Disputed
           Date or dates debt was incurred                                    Basis for the claim:
           Various                                                            Trade Payable
                                                                              Is the claim subject to offset?
                                                                                    No

                                                                                    Yes

  3.33
                                                                              As of the petition filing date, the claim is:                         $326,066.00
           Clarios LLC                                                        Check all that apply.
           Attn: Mark Wallace
                                                                                    Contingent
           Florist Tower
           5757 N. Green Bay Ave                                                    Unliquidated
           Glendale, WI 53209
                                                                                    Disputed
           Date or dates debt was incurred                                    Basis for the claim:
           Various                                                            Trade Payable
                                                                              Is the claim subject to offset?
                                                                                    No

                                                                                    Yes

  3.34
                                                                              As of the petition filing date, the claim is:                            $4,530.08
           Clearscape Outdoor Services                                        Check all that apply.
           175 Old Highway 8 SW
                                                                                    Contingent
           New Brighton, MN 55112
                                                                                    Unliquidated
           Date or dates debt was incurred
           Various                                                                  Disputed
                                                                              Basis for the claim:
                                                                              Trade Payable
                                                                              Is the claim subject to offset?
                                                                                    No

                                                                                    Yes
Debtor   Water Gremlin Company___________________________________________________   Case number (if known) 23-11775________________________________________
         Name
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Debtor   Water Gremlin Company___________________________________________________         Case number (if known) 23-11775________________________________________
         Name
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  3.35
                                                                              As of the petition filing date, the claim is:                              $733.97
           Concept Machine Tool Sales, Inc.                                   Check all that apply.
           15625 Medina Road
                                                                                    Contingent
           Minneapolis, MN 55447
                                                                                    Unliquidated
           Date or dates debt was incurred
           Various                                                                  Disputed
                                                                              Basis for the claim:
                                                                              Trade Payable

                                                                              Is the claim subject to offset?
                                                                                    No

                                                                                    Yes

  3.36
                                                                              As of the petition filing date, the claim is:                              $158.62
           Congress Tools Company, Inc.                                       Check all that apply.
           51 Great Hill Road
                                                                                    Contingent
           Naugatuck, CT 06770
                                                                                    Unliquidated
           Date or dates debt was incurred
           Various                                                                  Disputed

                                                                              Basis for the claim:
                                                                              Trade Payable
                                                                              Is the claim subject to offset?
                                                                                    No

                                                                                    Yes

  3.37
                                                                              As of the petition filing date, the claim is:                            $1,278.69
           D-M-E Company, LLC                                                 Check all that apply.
           Attn: Customer Service
                                                                                    Contingent
           PO Box 854867
           Minneapolis, MN 55485-4867                                               Unliquidated

           Date or dates debt was incurred                                          Disputed
           Various                                                            Basis for the claim:
                                                                              Trade Payable

                                                                              Is the claim subject to offset?
                                                                                    No

                                                                                    Yes

  3.38
                                                                              As of the petition filing date, the claim is:                Undetermined
           Danielle Heller                                                    Check all that apply.
           Attn: Dean M Salita
                                                                                    Contingent
           13911 Ridgedale Drive, Suite 325
           Minneapolis, MN 55305                                                    Unliquidated

           Date or dates debt was incurred                                          Disputed
           Various                                                            Basis for the claim:
                                                                              Tort Claim

                                                                              Is the claim subject to offset?
                                                                                    No

                                                                                    Yes
Debtor   Water Gremlin Company___________________________________________________         Case number (if known) 23-11775________________________________________
         Name
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  3.39
                                                                              As of the petition filing date, the claim is:                Undetermined
           Darlene Frogner                                                    Check all that apply.
           Attn: Dean M Salita
                                                                                    Contingent
           13911 Ridgedale Drive, Suite 325
           Minneapolis, MN 55305                                                    Unliquidated

           Date or dates debt was incurred                                          Disputed
           Various                                                            Basis for the claim:
                                                                              Tort Claim

                                                                              Is the claim subject to offset?
                                                                                    No

                                                                                    Yes

  3.40
                                                                              As of the petition filing date, the claim is:                Undetermined
           David Kraemer                                                      Check all that apply.
           Attn: Dean M Salita
                                                                                    Contingent
           13911 Ridgedale Drive, Suite 325
           Minneapolis, MN 55305                                                    Unliquidated

           Date or dates debt was incurred                                          Disputed
           Various                                                            Basis for the claim:
                                                                              Tort Claim

                                                                              Is the claim subject to offset?
                                                                                    No

                                                                                    Yes

  3.41
                                                                              As of the petition filing date, the claim is:                Undetermined
           David Rieck                                                        Check all that apply.
           Attn: Dean M Salita
                                                                                    Contingent
           13911 Ridgedale Drive, Suite 325
           Minneapolis, MN 55305                                                    Unliquidated

           Date or dates debt was incurred                                          Disputed
                                                                              Basis for the claim:
                                                                              Workers' Comp Claim
                                                                              Is the claim subject to offset?
                                                                                    No

                                                                                    Yes

  3.42
                                                                              As of the petition filing date, the claim is:                Undetermined
           David Smith                                                        Check all that apply.
           Attn: Dean M Salita
                                                                                    Contingent
           13911 Ridgedale Drive, Suite 325
           Minneapolis, MN 55305                                                    Unliquidated

           Date or dates debt was incurred                                          Disputed
           Various                                                            Basis for the claim:
                                                                              Workers' Comp Claim

                                                                              Is the claim subject to offset?
                                                                                    No

                                                                                    Yes
Debtor   Water Gremlin Company___________________________________________________         Case number (if known) 23-11775________________________________________
         Name
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  3.43
                                                                              As of the petition filing date, the claim is:                Undetermined
           Dean Jr. Carlson                                                   Check all that apply.
           Attn: Dean M Salita
                                                                                    Contingent
           13911 Ridgedale Drive, Suite 325
           Minneapolis, MN 55305                                                    Unliquidated

           Date or dates debt was incurred                                          Disputed
           Various                                                            Basis for the claim:
                                                                              Tort Claim

                                                                              Is the claim subject to offset?
                                                                                    No

                                                                                    Yes

  3.44
                                                                              As of the petition filing date, the claim is:                Undetermined
           Dean Saunders                                                      Check all that apply.
           Attn: Dean M Salita
                                                                                    Contingent
           13911 Ridgedale Drive, Suite 325
           Minneapolis, MN 55305                                                    Unliquidated

           Date or dates debt was incurred                                          Disputed
           Various                                                            Basis for the claim:
                                                                              Tort Claim
                                                                              Is the claim subject to offset?
                                                                                    No

                                                                                    Yes

  3.45
                                                                              As of the petition filing date, the claim is:                Undetermined
           Deborah Skoog                                                      Check all that apply.
           Attn: Dean M Salita
                                                                                    Contingent
           13911 Ridgedale Drive, Suite 325
           Minneapolis, MN 55305                                                    Unliquidated

           Date or dates debt was incurred                                          Disputed
           Various                                                            Basis for the claim:
                                                                              Tort Claim
                                                                              Is the claim subject to offset?
                                                                                    No

                                                                                    Yes

  3.46
                                                                              As of the petition filing date, the claim is:                Undetermined
           Debra Currier                                                      Check all that apply.
           Attn: Dean M Salita
                                                                                    Contingent
           13911 Ridgedale Drive, Suite 325
           Minneapolis, MN 55305                                                    Unliquidated

           Date or dates debt was incurred                                          Disputed
           Various                                                            Basis for the claim:
                                                                              Tort Claim

                                                                              Is the claim subject to offset?
                                                                                    No

                                                                                    Yes
Debtor   Water Gremlin Company___________________________________________________         Case number (if known) 23-11775________________________________________
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  3.47
                                                                              As of the petition filing date, the claim is:                              $111.23
           Dell Marketing LP                                                  Check all that apply.
           One Dell Way
                                                                                    Contingent
           Round Rock, TX 78682
                                                                                    Unliquidated
           Date or dates debt was incurred
           Various                                                                  Disputed

                                                                              Basis for the claim:
                                                                              Trade Payable

                                                                              Is the claim subject to offset?
                                                                                    No

                                                                                    Yes

  3.48
                                                                              As of the petition filing date, the claim is:                Undetermined
           Dennis Gable                                                       Check all that apply.
           Attn: Dean M Salita
                                                                                    Contingent
           13911 Ridgedale Drive, Suite 325
           Minneapolis, MN 55305                                                    Unliquidated

           Date or dates debt was incurred                                          Disputed
           Various                                                            Basis for the claim:
                                                                              Tort Claim

                                                                              Is the claim subject to offset?
                                                                                    No

                                                                                    Yes


  3.49
                                                                              As of the petition filing date, the claim is:                            $2,443.68
           Diamond Vogel Paints                                               Check all that apply.
           2100 North Second Street
                                                                                    Contingent
           Minneapolis, MN 55411
                                                                                    Unliquidated
           Date or dates debt was incurred
           Various                                                                  Disputed

                                                                              Basis for the claim:
                                                                              Trade Payable
                                                                              Is the claim subject to offset?
                                                                                    No

                                                                                    Yes

  3.50
                                                                              As of the petition filing date, the claim is:                         $171,374.67
           Doe Run Company                                                    Check all that apply.
           Attn: Elizabeth Snudden
                                                                                    Contingent
           75 Remittance Drive
           Suite 2172                                                               Unliquidated
           Chicago, IL 60675-2172
                                                                                    Disputed
           Date or dates debt was incurred                                    Basis for the claim:
           Various                                                            Trade Payable

                                                                              Is the claim subject to offset?
                                                                                    No

                                                                                    Yes
Debtor   Water Gremlin Company___________________________________________________         Case number (if known) 23-11775________________________________________
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  3.51
                                                                              As of the petition filing date, the claim is:                Undetermined
           Donald Johnson                                                     Check all that apply.
           Attn: Dean M Salita
                                                                                    Contingent
           13911 Ridgedale Drive, Suite 325
           Minneapolis, MN 55305                                                    Unliquidated

           Date or dates debt was incurred                                          Disputed
           Various                                                            Basis for the claim:
                                                                              Tort Claim

                                                                              Is the claim subject to offset?
                                                                                    No

                                                                                    Yes

  3.52
                                                                              As of the petition filing date, the claim is:                Undetermined
           Donald Lilliencrantz                                               Check all that apply.
           Attn: Dean M Salita
                                                                                    Contingent
           13911 Ridgedale Drive, Suite 325
           Minneapolis, MN 55305                                                    Unliquidated

           Date or dates debt was incurred                                          Disputed
           Various                                                            Basis for the claim:
                                                                              Tort Claim

                                                                              Is the claim subject to offset?
                                                                                    No

                                                                                    Yes

  3.53
                                                                              As of the petition filing date, the claim is:                            $3,003.00
           Dongo Tool Inc.                                                    Check all that apply.
           Attn: Debbie Goers
                                                                                    Contingent
           7979 Central Ave NE
           St Louis Park, MN 55432                                                  Unliquidated

           Date or dates debt was incurred                                          Disputed
           Various                                                            Basis for the claim:
                                                                              Trade Payable
                                                                              Is the claim subject to offset?
                                                                                    No

                                                                                    Yes

  3.54
                                                                              As of the petition filing date, the claim is:                Undetermined
           Doug Kohler                                                        Check all that apply.
           Attn: Dean M Salita
                                                                                    Contingent
           13911 Ridgedale Drive, Suite 325
           Minneapolis, MN 55305                                                    Unliquidated

           Date or dates debt was incurred                                          Disputed
           Various                                                            Basis for the claim:
                                                                              Tort Claim

                                                                              Is the claim subject to offset?
                                                                                    No

                                                                                    Yes
Debtor   Water Gremlin Company___________________________________________________         Case number (if known) 23-11775________________________________________
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  3.55
                                                                              As of the petition filing date, the claim is:                           $14,298.18
           Driven Solutions                                                   Check all that apply.
           PO Box 125
                                                                                    Contingent
           Prescott, WI 54021
                                                                                    Unliquidated
           Date or dates debt was incurred
           Various                                                                  Disputed
                                                                              Basis for the claim:
                                                                              Trade Payable

                                                                              Is the claim subject to offset?
                                                                                    No

                                                                                    Yes

  3.56
                                                                              As of the petition filing date, the claim is:                           $52,920.00
           East Penn Manufacturing Co                                         Check all that apply.
           Attn: Bryce Galcycnski
                                                                                    Contingent
           102 Deka Road
           Lyon Station, PA 19536                                                   Unliquidated

           Date or dates debt was incurred                                          Disputed
           Various                                                            Basis for the claim:
                                                                              Trade Payable

                                                                              Is the claim subject to offset?
                                                                                    No

                                                                                    Yes

  3.57
                                                                              As of the petition filing date, the claim is:                Undetermined
           Emily Louise Sharot                                                Check all that apply.
           Attn: Dean M Salita
                                                                                    Contingent
           13911 Ridgedale Drive, Suite 325
           Minneapolis, MN 55305                                                    Unliquidated

           Date or dates debt was incurred                                          Disputed
           Various                                                            Basis for the claim:
                                                                              Tort Claim

                                                                              Is the claim subject to offset?
                                                                                    No

                                                                                    Yes


  3.58
                                                                              As of the petition filing date, the claim is:                Undetermined
           Emily Swoboda                                                      Check all that apply.
           Attn: Dean M Salita
                                                                                    Contingent
           13911 Ridgedale Drive, Suite 325
           Minneapolis, MN 55305                                                    Unliquidated

           Date or dates debt was incurred                                          Disputed
           Various                                                            Basis for the claim:
                                                                              Tort Claim

                                                                              Is the claim subject to offset?
                                                                                    No

                                                                                    Yes
Debtor   Water Gremlin Company___________________________________________________         Case number (if known) 23-11775________________________________________
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  3.59
                                                                              As of the petition filing date, the claim is:                            $4,389.68
           Employer Solutions Staffing Group                                  Check all that apply.
           LSQ Funding Group, L.C.
                                                                                    Contingent
           PO Box 741383
           Atlanta, GA 30374-1383                                                   Unliquidated

           Date or dates debt was incurred                                          Disputed
           Various                                                            Basis for the claim:
                                                                              Trade Payable

                                                                              Is the claim subject to offset?
                                                                                    No

                                                                                    Yes


  3.60
                                                                              As of the petition filing date, the claim is:                           $27,557.00
           Entherm, Inc.                                                      Check all that apply.
           Attn: Richard Kornbluth
                                                                                    Contingent
           500 East Travelers Trail
           Suite 100                                                                Unliquidated
           Burnsville, MN 55337
                                                                                    Disputed
           Date or dates debt was incurred                                    Basis for the claim:
           Various                                                            Trade Payable
                                                                              Is the claim subject to offset?
                                                                                    No

                                                                                    Yes

  3.61
                                                                              As of the petition filing date, the claim is:                Undetermined
           Erlinda Gonzales                                                   Check all that apply.
           Attn: Dean M Salita
                                                                                    Contingent
           13911 Ridgedale Drive, Suite 325
           Minneapolis, MN 55305                                                    Unliquidated

           Date or dates debt was incurred                                          Disputed
           Various                                                            Basis for the claim:
                                                                              Tort Claim

                                                                              Is the claim subject to offset?
                                                                                    No

                                                                                    Yes


  3.62
                                                                              As of the petition filing date, the claim is:                              $644.00
           ESCA Tech Inc                                                      Check all that apply.
           3747 North Booth Street
                                                                                    Contingent
           Milwaukee, WI 53212
                                                                                    Unliquidated
           Date or dates debt was incurred
           Various                                                                  Disputed

                                                                              Basis for the claim:
                                                                              Trade Payable

                                                                              Is the claim subject to offset?
                                                                                    No

                                                                                    Yes
Debtor   Water Gremlin Company___________________________________________________         Case number (if known) 23-11775________________________________________
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  3.63
                                                                              As of the petition filing date, the claim is:                            $1,390.47
           EvolveIP                                                           Check all that apply.
           PO Box 1023
                                                                                    Contingent
           Southeastern, PA 19398-1023
                                                                                    Unliquidated
           Date or dates debt was incurred
           Various                                                                  Disputed

                                                                              Basis for the claim:
                                                                              Trade Payable

                                                                              Is the claim subject to offset?
                                                                                    No

                                                                                    Yes


  3.64
                                                                              As of the petition filing date, the claim is:                              $280.00
           eZcom Software, Inc.                                               Check all that apply.
           Attn: Kristin Lyons
                                                                                    Contingent
           25 Rockwood Place, Ste 420
           Englewood, NJ 07631                                                      Unliquidated

           Date or dates debt was incurred                                          Disputed
           Various                                                            Basis for the claim:
                                                                              Trade Payable
                                                                              Is the claim subject to offset?
                                                                                    No

                                                                                    Yes

  3.65
                                                                              As of the petition filing date, the claim is:                           $23,076.90
           Ferriere di Stabio S.A.                                            Check all that apply.
           Attn: Sandy Leavitt
                                                                                    Contingent
           PO Box 76
           Via Laveggio 6/A                                                         Unliquidated
           Stabio, CH 06855
           Switzerland                                                              Disputed
                                                                              Basis for the claim:
           Date or dates debt was incurred                                    Trade Payable
           Various
                                                                              Is the claim subject to offset?
                                                                                    No

                                                                                    Yes


  3.66
                                                                              As of the petition filing date, the claim is:                              $418.93
           Fetter Logistics Inc                                               Check all that apply.
           PO Box 484
                                                                                    Contingent
           Hudson, WI 54016
                                                                                    Unliquidated
           Date or dates debt was incurred
           Various                                                                  Disputed

                                                                              Basis for the claim:
                                                                              Trade Payable

                                                                              Is the claim subject to offset?
                                                                                    No

                                                                                    Yes
Debtor   Water Gremlin Company___________________________________________________         Case number (if known) 23-11775________________________________________
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  3.67
                                                                              As of the petition filing date, the claim is:                              $318.22
           Fisher Scientific Company LLC                                      Check all that apply.
           Acct# 527475 001
                                                                                    Contingent
           13551 Collection Center Drive
           Chicago, IL 60693                                                        Unliquidated

           Date or dates debt was incurred                                          Disputed
           Various                                                            Basis for the claim:
                                                                              Trade Payable

                                                                              Is the claim subject to offset?
                                                                                    No

                                                                                    Yes


  3.68
                                                                              As of the petition filing date, the claim is:                            $6,930.00
           Forvis                                                             Check all that apply.
           PO Box 200870
                                                                                    Contingent
           Dallas, TX 75320-0870
                                                                                    Unliquidated
           Date or dates debt was incurred
           Various                                                                  Disputed
                                                                              Basis for the claim:
                                                                              Trade Payable
                                                                              Is the claim subject to offset?
                                                                                    No

                                                                                    Yes

  3.69
                                                                              As of the petition filing date, the claim is:                            $5,098.82
           Fox Valley Metrology                                               Check all that apply.
           3114 Medalist Drive
                                                                                    Contingent
           Oshkosh, WI 54902
                                                                                    Unliquidated
           Date or dates debt was incurred
           Various                                                                  Disputed
                                                                              Basis for the claim:
                                                                              Trade Payable

                                                                              Is the claim subject to offset?
                                                                                    No

                                                                                    Yes

  3.70
                                                                              As of the petition filing date, the claim is:                Undetermined
           Gary Currier                                                       Check all that apply.
           Attn: Dean M Salita
                                                                                    Contingent
           13911 Ridgedale Drive, Suite 325
           Minneapolis, MN 55305                                                    Unliquidated

           Date or dates debt was incurred                                          Disputed
           Various                                                            Basis for the claim:
                                                                              Tort Claim

                                                                              Is the claim subject to offset?
                                                                                    No

                                                                                    Yes
Debtor   Water Gremlin Company___________________________________________________         Case number (if known) 23-11775________________________________________
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  3.71
                                                                              As of the petition filing date, the claim is:                            $4,663.00
           Genesis Logistics                                                  Check all that apply.
           800 Thomas Drive
                                                                                    Contingent
           Unit A
           Bensenville, IL 60106                                                    Unliquidated

           Date or dates debt was incurred                                          Disputed
           Various                                                            Basis for the claim:
                                                                              Trade Payable

                                                                              Is the claim subject to offset?
                                                                                    No

                                                                                    Yes


  3.72
                                                                              As of the petition filing date, the claim is:                Undetermined
           Gerald Brink                                                       Check all that apply.
           Attn: Dean M Salita
                                                                                    Contingent
           13911 Ridgedale Drive, Suite 325
           Minneapolis, MN 55305                                                    Unliquidated

           Date or dates debt was incurred                                          Disputed
           Various                                                            Basis for the claim:
                                                                              Tort Claim
                                                                              Is the claim subject to offset?
                                                                                    No

                                                                                    Yes

  3.73
                                                                              As of the petition filing date, the claim is:                Undetermined
           Gerard Malone                                                      Check all that apply.
           Attn: Dean M Salita
                                                                                    Contingent
           13911 Ridgedale Drive, Suite 325
           Minneapolis, MN 55305                                                    Unliquidated

           Date or dates debt was incurred                                          Disputed
           Various                                                            Basis for the claim:
                                                                              Tort Claim

                                                                              Is the claim subject to offset?
                                                                                    No

                                                                                    Yes

  3.74
                                                                              As of the petition filing date, the claim is:                            $2,848.66
           Glacier Technology Inc                                             Check all that apply.
           1846 Berkshire Lane
                                                                                    Contingent
           Plymouth, MN 55441
                                                                                    Unliquidated
           Date or dates debt was incurred
           Various                                                                  Disputed

                                                                              Basis for the claim:
                                                                              Trade Payable

                                                                              Is the claim subject to offset?
                                                                                    No

                                                                                    Yes
Debtor   Water Gremlin Company___________________________________________________         Case number (if known) 23-11775________________________________________
         Name
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  3.75
                                                                              As of the petition filing date, the claim is:                            $1,085.81
           Global Industrial                                                  Check all that apply.
           29833 Network Place
                                                                                    Contingent
           Chicago, IL 60673-1298
                                                                                    Unliquidated
           Date or dates debt was incurred
           Various                                                                  Disputed

                                                                              Basis for the claim:
                                                                              Trade Payable

                                                                              Is the claim subject to offset?
                                                                                    No

                                                                                    Yes


  3.76
                                                                              As of the petition filing date, the claim is:                            $2,694.70
           Gopher Electronics Co.                                             Check all that apply.
           222 Little Canada Road
                                                                                    Contingent
           St. Paul, MN 55117
                                                                                    Unliquidated
           Date or dates debt was incurred
           Various                                                                  Disputed
                                                                              Basis for the claim:
                                                                              Trade Payable
                                                                              Is the claim subject to offset?
                                                                                    No

                                                                                    Yes

  3.77
                                                                              As of the petition filing date, the claim is:                         $516,395.33
           Gopher Resource, LLC                                               Check all that apply.
           Attn: Ray Krantz
                                                                                    Contingent
           Lockbox 446031
           PO Box 64067                                                             Unliquidated
           St Paul, MN 55164-0067
                                                                                    Disputed
           Date or dates debt was incurred                                    Basis for the claim:
           Various                                                            Trade Payable

                                                                              Is the claim subject to offset?
                                                                                    No

                                                                                    Yes

  3.78
                                                                              As of the petition filing date, the claim is:                Undetermined
           Grace Stauffer                                                     Check all that apply.
           Attn: Dean M Salita
                                                                                    Contingent
           13911 Ridgedale Drive, Suite 325
           Minneapolis, MN 55305                                                    Unliquidated

           Date or dates debt was incurred                                          Disputed
           Various                                                            Basis for the claim:
                                                                              Tort Claim

                                                                              Is the claim subject to offset?
                                                                                    No

                                                                                    Yes
Debtor   Water Gremlin Company___________________________________________________         Case number (if known) 23-11775________________________________________
         Name
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  3.79
                                                                              As of the petition filing date, the claim is:                           $35,891.52
           Grainger, Inc.                                                     Check all that apply.
           Attn: Cust Service
                                                                                    Contingent
           Dept. 806674701
           Palatine, IL 60038-0001                                                  Unliquidated

           Date or dates debt was incurred                                          Disputed
           Various                                                            Basis for the claim:
                                                                              Trade Payable

                                                                              Is the claim subject to offset?
                                                                                    No

                                                                                    Yes

  3.80
                                                                              As of the petition filing date, the claim is:                Undetermined
           Grant Leitschuh                                                    Check all that apply.
           Attn: Dean M Salita
                                                                                    Contingent
           13911 Ridgedale Drive, Suite 325
           Minneapolis, MN 55305                                                    Unliquidated

           Date or dates debt was incurred                                          Disputed
           Various                                                            Basis for the claim:
                                                                              Tort Claim
                                                                              Is the claim subject to offset?
                                                                                    No

                                                                                    Yes


  3.81
                                                                              As of the petition filing date, the claim is:                Undetermined
           Greg Gavin                                                         Check all that apply.
           Attn: Dean M Salita
                                                                                    Contingent
           13911 Ridgedale Drive, Suite 325
           Minneapolis, MN 55305                                                    Unliquidated

           Date or dates debt was incurred                                          Disputed
           Various                                                            Basis for the claim:
                                                                              Tort Claim
                                                                              Is the claim subject to offset?
                                                                                    No

                                                                                    Yes

  3.82
                                                                              As of the petition filing date, the claim is:                Undetermined
           Gregory John Duffy                                                 Check all that apply.
           Attn: Dean M Salita
                                                                                    Contingent
           13911 Ridgedale Drive, Suite 325
           Minneapolis, MN 55305                                                    Unliquidated

           Date or dates debt was incurred                                          Disputed
           Various                                                            Basis for the claim:
                                                                              Tort Claim
                                                                              Is the claim subject to offset?
                                                                                    No

                                                                                    Yes
Debtor   Water Gremlin Company___________________________________________________         Case number (if known) 23-11775________________________________________
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  3.83
                                                                              As of the petition filing date, the claim is:                Undetermined
           Harry Grogan                                                       Check all that apply.
           Attn: Dean M Salita
                                                                                    Contingent
           13911 Ridgedale Drive, Suite 325
           Minneapolis, MN 55305                                                    Unliquidated

           Date or dates debt was incurred                                          Disputed
           Various                                                            Basis for the claim:
                                                                              Tort Claim

                                                                              Is the claim subject to offset?
                                                                                    No

                                                                                    Yes

  3.84
                                                                              As of the petition filing date, the claim is:                            $1,360.94
           Hartfiel Automation, Inc                                           Check all that apply.
           Attn: Kelly Ordorff
                                                                                    Contingent
           NW 6091
           PO Box 1450                                                              Unliquidated
           Minneapolis, MN 55485-6091
                                                                                    Disputed
           Date or dates debt was incurred                                    Basis for the claim:
           Various                                                            Trade Payable

                                                                              Is the claim subject to offset?
                                                                                    No

                                                                                    Yes

  3.85
                                                                              As of the petition filing date, the claim is:                            $1,095.00
           Heartland Business Systems LLC                                     Check all that apply.
           PO Box 856846
                                                                                    Contingent
           Minneapolis, MN 55485-6846
                                                                                    Unliquidated
           Date or dates debt was incurred
           Various                                                                  Disputed
                                                                              Basis for the claim:
                                                                              Trade Payable
                                                                              Is the claim subject to offset?
                                                                                    No

                                                                                    Yes


  3.86
                                                                              As of the petition filing date, the claim is:                              $748.98
           Innovative Office Solutions, L                                     Check all that apply.
           Attn: Tammy Lee
                                                                                    Contingent
           Lockbox # 131434
           PO Box 1414                                                              Unliquidated
           Minneapolis, MN 55480-1414
                                                                                    Disputed
           Date or dates debt was incurred                                    Basis for the claim:
           Various                                                            Trade Payable
                                                                              Is the claim subject to offset?
                                                                                    No

                                                                                    Yes
Debtor   Water Gremlin Company___________________________________________________         Case number (if known) 23-11775________________________________________
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  3.87
                                                                              As of the petition filing date, the claim is:                              $327.88
           Insight Direct USA Inc                                             Check all that apply.
           Attn: Joyce Bernal
                                                                                    Contingent
           PO Box 731069
           Dallas, TX 75373-1069                                                    Unliquidated

           Date or dates debt was incurred                                          Disputed
           Various                                                            Basis for the claim:
                                                                              Trade Payable

                                                                              Is the claim subject to offset?
                                                                                    No

                                                                                    Yes

  3.88
                                                                              As of the petition filing date, the claim is:                            $7,356.00
           Integrated Corporate Health                                        Check all that apply.
           2403 Sidney Street
                                                                                    Contingent
           Ste 800
           Pittsburgh, PA 15203                                                     Unliquidated

           Date or dates debt was incurred                                          Disputed
           Various                                                            Basis for the claim:
                                                                              Trade Payable
                                                                              Is the claim subject to offset?
                                                                                    No

                                                                                    Yes

  3.89
                                                                              As of the petition filing date, the claim is:                            $3,443.69
           International Chemtex Corp.                                        Check all that apply.
           Attn: Erin
                                                                                    Contingent
           KB 31
           PO Box 9305                                                              Unliquidated
           Minneapolis, MN 55440-9305
                                                                                    Disputed
           Date or dates debt was incurred                                    Basis for the claim:
           Various                                                            Trade Payable
                                                                              Is the claim subject to offset?
                                                                                    No

                                                                                    Yes

  3.90
                                                                              As of the petition filing date, the claim is:                Undetermined
           Jackie L. Carlson                                                  Check all that apply.
           Attn: Dean M Salita
                                                                                    Contingent
           13911 Ridgedale Drive, Suite 325
           Minneapolis, MN 55305                                                    Unliquidated

           Date or dates debt was incurred                                          Disputed
           Various                                                            Basis for the claim:
                                                                              Tort Claim
                                                                              Is the claim subject to offset?
                                                                                    No

                                                                                    Yes
Debtor   Water Gremlin Company___________________________________________________         Case number (if known) 23-11775________________________________________
         Name
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  3.91
                                                                              As of the petition filing date, the claim is:                Undetermined
           James Hughes                                                       Check all that apply.
           Attn: Dean M Salita
                                                                                    Contingent
           13911 Ridgedale Drive, Suite 325
           Minneapolis, MN 55305                                                    Unliquidated

           Date or dates debt was incurred                                          Disputed
           Various                                                            Basis for the claim:
                                                                              Tort Claim

                                                                              Is the claim subject to offset?
                                                                                    No

                                                                                    Yes

  3.92
                                                                              As of the petition filing date, the claim is:                Undetermined
           Jane Hart                                                          Check all that apply.
           Attn: Dean M Salita
                                                                                    Contingent
           13911 Ridgedale Drive, Suite 325
           Minneapolis, MN 55305                                                    Unliquidated

           Date or dates debt was incurred                                          Disputed
           Various                                                            Basis for the claim:
                                                                              Tort Claim

                                                                              Is the claim subject to offset?
                                                                                    No

                                                                                    Yes

  3.93
                                                                              As of the petition filing date, the claim is:                Undetermined
           Jerome Bennek                                                      Check all that apply.
           Attn: Dean M Salita
                                                                                    Contingent
           13911 Ridgedale Drive, Suite 325
           Minneapolis, MN 55305                                                    Unliquidated

           Date or dates debt was incurred                                          Disputed
           Various                                                            Basis for the claim:
                                                                              Tort Claim
                                                                              Is the claim subject to offset?
                                                                                    No

                                                                                    Yes


  3.94
                                                                              As of the petition filing date, the claim is:                Undetermined
           Joan Bergman                                                       Check all that apply.
           Attn: Dean M Salita
                                                                                    Contingent
           13911 Ridgedale Drive, Suite 325
           Minneapolis, MN 55305                                                    Unliquidated

           Date or dates debt was incurred                                          Disputed
           Various                                                            Basis for the claim:
                                                                              Tort Claim
                                                                              Is the claim subject to offset?
                                                                                    No

                                                                                    Yes
Debtor   Water Gremlin Company___________________________________________________         Case number (if known) 23-11775________________________________________
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  3.95
                                                                              As of the petition filing date, the claim is:                Undetermined
           Joe Dell Wiggins                                                   Check all that apply.
           Attn: Dean M Salita
                                                                                    Contingent
           13911 Ridgedale Drive, Suite 325
           Minneapolis, MN 55305                                                    Unliquidated

           Date or dates debt was incurred                                          Disputed
                                                                              Basis for the claim:
                                                                              Workers' Comp Claim

                                                                              Is the claim subject to offset?
                                                                                    No

                                                                                    Yes

  3.96
                                                                              As of the petition filing date, the claim is:                Undetermined
           John Bucholz                                                       Check all that apply.
           Attn: Dean M Salita
                                                                                    Contingent
           13911 Ridgedale Drive, Suite 325
           Minneapolis, MN 55305                                                    Unliquidated

           Date or dates debt was incurred                                          Disputed
           Various                                                            Basis for the claim:
                                                                              Tort Claim
                                                                              Is the claim subject to offset?
                                                                                    No

                                                                                    Yes

  3.97
                                                                              As of the petition filing date, the claim is:                            $6,464.77
           John Henry Foster MN Inc.                                          Check all that apply.
           Attn: Bobbi M. Longley
                                                                                    Contingent
           PO Box 860625
           Minneapolis, MN 55486                                                    Unliquidated

           Date or dates debt was incurred                                          Disputed
           Various                                                            Basis for the claim:
                                                                              Trade Payable
                                                                              Is the claim subject to offset?
                                                                                    No

                                                                                    Yes

  3.98
                                                                              As of the petition filing date, the claim is:                Undetermined
           Joshua Ziedlik                                                     Check all that apply.
           Attn: Dean M Salita
                                                                                    Contingent
           13911 Ridgedale Drive, Suite 325
           Minneapolis, MN 55305                                                    Unliquidated

           Date or dates debt was incurred                                          Disputed
           Various                                                            Basis for the claim:
                                                                              Tort Claim
                                                                              Is the claim subject to offset?
                                                                                    No

                                                                                    Yes
Debtor    Water Gremlin Company___________________________________________________         Case number (if known) 23-11775________________________________________
          Name
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  3.99
                                                                               As of the petition filing date, the claim is:                Undetermined
            Judith Gunn                                                        Check all that apply.
            Attn: Dean M Salita
                                                                                     Contingent
            13911 Ridgedale Drive, Suite 325
            Minneapolis, MN 55305                                                    Unliquidated

            Date or dates debt was incurred                                          Disputed
            Various                                                            Basis for the claim:
                                                                               Tort Claim

                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes

  3.100
                                                                               As of the petition filing date, the claim is:                            $4,180.00
            Kamps North, Inc.                                                  Check all that apply.
            PO Box 675126
                                                                                     Contingent
            Detroit, MI 48267-5126
                                                                                     Unliquidated
            Date or dates debt was incurred
            Various                                                                  Disputed
                                                                               Basis for the claim:
                                                                               Trade Payable
                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes

  3.101
                                                                               As of the petition filing date, the claim is:                Undetermined
            Karen Johnston                                                     Check all that apply.
            Attn: Dean M Salita
                                                                                     Contingent
            13911 Ridgedale Drive, Suite 325
            Minneapolis, MN 55305                                                    Unliquidated

            Date or dates debt was incurred                                          Disputed
            Various                                                            Basis for the claim:
                                                                               Tort Claim
                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes


  3.102
                                                                               As of the petition filing date, the claim is:                Undetermined
            Karen Marie Formanek                                               Check all that apply.
            Attn: Dean M Salita
                                                                                     Contingent
            13911 Ridgedale Drive, Suite 325
            Minneapolis, MN 55305                                                    Unliquidated

            Date or dates debt was incurred                                          Disputed
            Various                                                            Basis for the claim:
                                                                               Tort Claim
                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes
Debtor    Water Gremlin Company___________________________________________________         Case number (if known) 23-11775________________________________________
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  3.103
                                                                               As of the petition filing date, the claim is:                Undetermined
            Kerri Luecke                                                       Check all that apply.
            Attn: Dean M Salita
                                                                                     Contingent
            13911 Ridgedale Drive, Suite 325
            Minneapolis, MN 55305                                                    Unliquidated

            Date or dates debt was incurred                                          Disputed
            Various                                                            Basis for the claim:
                                                                               Tort Claim

                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes

  3.104
                                                                               As of the petition filing date, the claim is:                            $4,788.08
            KnowBe4, Inc.                                                      Check all that apply.
            Attn: Legal and Alicia Dietzen
                                                                                     Contingent
            33 N Garden Ave
            Suite 1200                                                               Unliquidated
            Clearwater, FL 33755
                                                                                     Disputed
            Date or dates debt was incurred                                    Basis for the claim:
            Various                                                            Trade Payable
                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes

  3.105
                                                                               As of the petition filing date, the claim is:                Undetermined
            Kylee Rossbach-Jordan                                              Check all that apply.
            Attn: Dean M Salita
                                                                                     Contingent
            13911 Ridgedale Drive, Suite 325
            Minneapolis, MN 55305                                                    Unliquidated

            Date or dates debt was incurred                                          Disputed
            Various                                                            Basis for the claim:
                                                                               Tort Claim

                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes

  3.106
                                                                               As of the petition filing date, the claim is:                Undetermined
            Larry Missling                                                     Check all that apply.
            Attn: Dean M Salita
                                                                                     Contingent
            13911 Ridgedale Drive, Suite 325
            Minneapolis, MN 55305                                                    Unliquidated

            Date or dates debt was incurred                                          Disputed
            Various                                                            Basis for the claim:
                                                                               Tort Claim
                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes
Debtor    Water Gremlin Company___________________________________________________         Case number (if known) 23-11775________________________________________
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  3.107
                                                                               As of the petition filing date, the claim is:                Undetermined
            Laura Anderson                                                     Check all that apply.
            Attn: Dean M Salita
                                                                                     Contingent
            13911 Ridgedale Drive, Suite 325
            Minneapolis, MN 55305                                                    Unliquidated

            Date or dates debt was incurred                                          Disputed
            Various                                                            Basis for the claim:
                                                                               Tort Claim

                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes

  3.108
                                                                               As of the petition filing date, the claim is:                Undetermined
            Laura Antrim                                                       Check all that apply.
            Attn: Dean M Salita
                                                                                     Contingent
            13911 Ridgedale Drive, Suite 325
            Minneapolis, MN 55305                                                    Unliquidated

            Date or dates debt was incurred                                          Disputed
            Various                                                            Basis for the claim:
                                                                               Tort Claim
                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes

  3.109
                                                                               As of the petition filing date, the claim is:                            $2,314.54
            Lawnpro Grounds Maintenance                                        Check all that apply.
            PO Box 374
                                                                                     Contingent
            Hugo, MN 55038
                                                                                     Unliquidated
            Date or dates debt was incurred
            Various                                                                  Disputed
                                                                               Basis for the claim:
                                                                               Trade Payable
                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes


  3.110
                                                                               As of the petition filing date, the claim is:                Undetermined
            Leilani Lee Erickson                                               Check all that apply.
            Attn: Dean M Salita
                                                                                     Contingent
            13911 Ridgedale Drive, Suite 325
            Minneapolis, MN 55305                                                    Unliquidated

            Date or dates debt was incurred                                          Disputed
            Various                                                            Basis for the claim:
                                                                               Tort Claim
                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes
Debtor    Water Gremlin Company___________________________________________________         Case number (if known) 23-11775________________________________________
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  3.111
                                                                               As of the petition filing date, the claim is:                            $5,110.23
            Level 3 Communications                                             Check all that apply.
            PO Box 910182
                                                                                     Contingent
            Denver, CO 80291-0182
                                                                                     Unliquidated
            Date or dates debt was incurred
            Various                                                                  Disputed
                                                                               Basis for the claim:
                                                                               Trade Payable

                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes

  3.112
                                                                               As of the petition filing date, the claim is:                            $1,390.00
            Liebovich Steel & Aluminum Co                                      Check all that apply.
            PO Box 1779
                                                                                     Contingent
            Cedar Rapids, IA 52406
                                                                                     Unliquidated
            Date or dates debt was incurred
            Various                                                                  Disputed
                                                                               Basis for the claim:
                                                                               Trade Payable
                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes

  3.113
                                                                               As of the petition filing date, the claim is:                Undetermined
            Linda Ann Guanzini                                                 Check all that apply.
            Attn: Dean M Salita
                                                                                     Contingent
            13911 Ridgedale Drive, Suite 325
            Minneapolis, MN 55305                                                    Unliquidated

            Date or dates debt was incurred                                          Disputed
            Various                                                            Basis for the claim:
                                                                               Tort Claim

                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes

  3.114
                                                                               As of the petition filing date, the claim is:                Undetermined
            Lisa Sager                                                         Check all that apply.
            Attn: Dean M Salita
                                                                                     Contingent
            13911 Ridgedale Drive, Suite 325
            Minneapolis, MN 55305                                                    Unliquidated

            Date or dates debt was incurred                                          Disputed
            Various                                                            Basis for the claim:
                                                                               Tort Claim
                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes
Debtor    Water Gremlin Company___________________________________________________         Case number (if known) 23-11775________________________________________
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  3.115
                                                                               As of the petition filing date, the claim is:                Undetermined
            Lloyd Bicha                                                        Check all that apply.
            Attn: Dean M Salita
                                                                                     Contingent
            13911 Ridgedale Drive, Suite 325
            Minneapolis, MN 55305                                                    Unliquidated

            Date or dates debt was incurred                                          Disputed
            Various                                                            Basis for the claim:
                                                                               Workers' Comp Claim

                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes

  3.116
                                                                               As of the petition filing date, the claim is:                              $732.98
            Loffler Companies Inc                                              Check all that apply.
            Attn: Janet T
                                                                                     Contingent
            PO Box 660831
            Dallas, TX 75266-0831                                                    Unliquidated

            Date or dates debt was incurred                                          Disputed
            Various                                                            Basis for the claim:
                                                                               Trade Payable
                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes

  3.117
                                                                               As of the petition filing date, the claim is:                            $3,009.35
            Loffler Companies Inc.                                             Check all that apply.
            Attn: Jessica McNeil
                                                                                     Contingent
            Bin #131511
            PO Box 1511                                                              Unliquidated
            Minneapolis, MN 55480-1511
                                                                                     Disputed
            Date or dates debt was incurred                                    Basis for the claim:
            Various                                                            Trade Payable
                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes


  3.118
                                                                               As of the petition filing date, the claim is:                Undetermined
            Louise Bestow                                                      Check all that apply.
            Attn: Dean M Salita
                                                                                     Contingent
            13911 Ridgedale Drive, Suite 325
            Minneapolis, MN 55305                                                    Unliquidated

            Date or dates debt was incurred                                          Disputed
            Various                                                            Basis for the claim:
                                                                               Tort Claim
                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes
Debtor    Water Gremlin Company___________________________________________________         Case number (if known) 23-11775________________________________________
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  3.119
                                                                               As of the petition filing date, the claim is:                Undetermined
            Louise Newsom                                                      Check all that apply.
            Attn: Dean M Salita
                                                                                     Contingent
            13911 Ridgedale Drive, Suite 325
            Minneapolis, MN 55305                                                    Unliquidated

            Date or dates debt was incurred                                          Disputed
            Various                                                            Basis for the claim:
                                                                               Tort Claim

                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes

  3.120
                                                                               As of the petition filing date, the claim is:                            $8,289.70
            Lube Tech and Partners LLC                                         Check all that apply.
            Attn: Customer Service
                                                                                     Contingent
            29573 Network Place
            Chicago, IL 60673-1295                                                   Unliquidated

            Date or dates debt was incurred                                          Disputed
            Various                                                            Basis for the claim:
                                                                               Trade Payable
                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes

  3.121
                                                                               As of the petition filing date, the claim is:                Undetermined
            Luke Kubal                                                         Check all that apply.
            Attn: Dean M Salita
                                                                                     Contingent
            13911 Ridgedale Drive, Suite 325
            Minneapolis, MN 55305                                                    Unliquidated

            Date or dates debt was incurred                                          Disputed
            Various                                                            Basis for the claim:
                                                                               Tort Claim

                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes

  3.122
                                                                               As of the petition filing date, the claim is:                            $1,100.00
            Mac-Mold Base Inc                                                  Check all that apply.
            Attn: Michael Jay Gustavus
                                                                                     Contingent
            14921 32 Mile Rd
            Romeo, MI 48065                                                          Unliquidated

            Date or dates debt was incurred                                          Disputed
            Various                                                            Basis for the claim:
                                                                               Trade Payable
                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes
Debtor    Water Gremlin Company___________________________________________________         Case number (if known) 23-11775________________________________________
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  3.123
                                                                               As of the petition filing date, the claim is:                Undetermined
            Marie Hedican                                                      Check all that apply.
            Attn: Dean M Salita
                                                                                     Contingent
            13911 Ridgedale Drive, Suite 325
            Minneapolis, MN 55305                                                    Unliquidated

            Date or dates debt was incurred                                          Disputed
            Various                                                            Basis for the claim:
                                                                               Tort Claim

                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes


  3.124
                                                                               As of the petition filing date, the claim is:                Undetermined
            Mark Anderson                                                      Check all that apply.
            Attn: Dean M Salita
                                                                                     Contingent
            13911 Ridgedale Drive, Suite 325
            Minneapolis, MN 55305                                                    Unliquidated

            Date or dates debt was incurred                                          Disputed
            Various                                                            Basis for the claim:
                                                                               Tort Claim
                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes

  3.125
                                                                               As of the petition filing date, the claim is:                Undetermined
            Mary Ray                                                           Check all that apply.
            Attn: Dean M Salita
                                                                                     Contingent
            13911 Ridgedale Drive, Suite 325
            Minneapolis, MN 55305                                                    Unliquidated

            Date or dates debt was incurred                                          Disputed
            Various                                                            Basis for the claim:
                                                                               Tort Claim

                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes

  3.126
                                                                               As of the petition filing date, the claim is:                Undetermined
            Matthew Alexander                                                  Check all that apply.
            Attn: Dean M Salita
                                                                                     Contingent
            13911 Ridgedale Drive, Suite 325
            Minneapolis, MN 55305                                                    Unliquidated

            Date or dates debt was incurred                                          Disputed

                                                                               Basis for the claim:
                                                                               Workers' Comp Claim

                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes
Debtor    Water Gremlin Company___________________________________________________         Case number (if known) 23-11775________________________________________
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  3.127
                                                                               As of the petition filing date, the claim is:                           $10,795.10
            McMaster-Carr Supply Co                                            Check all that apply.
            Attn: Jay Kozak
                                                                                     Contingent
            PO Box 4355
            Chicago, IL 60680                                                        Unliquidated

            Date or dates debt was incurred                                          Disputed
            Various                                                            Basis for the claim:
                                                                               Trade Payable

                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes


  3.128
                                                                               As of the petition filing date, the claim is:                            $1,143.93
            Meaden Precision Machined Prod                                     Check all that apply.
            Attn: Theresa Chavez
                                                                                     Contingent
            16 W 210 83rd Street
            Burr Ridge, IL 60527                                                     Unliquidated

            Date or dates debt was incurred                                          Disputed
            Various                                                            Basis for the claim:
                                                                               Trade Payable
                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes

  3.129
                                                                               As of the petition filing date, the claim is:                Undetermined
            Michael Prendergast                                                Check all that apply.
            Attn: Dean M Salita
                                                                                     Contingent
            13911 Ridgedale Drive, Suite 325
            Minneapolis, MN 55305                                                    Unliquidated

            Date or dates debt was incurred                                          Disputed
            Various                                                            Basis for the claim:
                                                                               Tort Claim
                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes


  3.130
                                                                               As of the petition filing date, the claim is:                Undetermined
            Michael Truhler                                                    Check all that apply.
            Attn: Dean M Salita
                                                                                     Contingent
            13911 Ridgedale Drive, Suite 325
            Minneapolis, MN 55305                                                    Unliquidated

            Date or dates debt was incurred                                          Disputed
            Various                                                            Basis for the claim:
                                                                               Tort Claim
                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes
Debtor    Water Gremlin Company___________________________________________________         Case number (if known) 23-11775________________________________________
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  3.131
                                                                               As of the petition filing date, the claim is:                Undetermined
            Michelle Tripp                                                     Check all that apply.
            Attn: Dean M Salita
                                                                                     Contingent
            13911 Ridgedale Drive, Suite 325
            Minneapolis, MN 55305                                                    Unliquidated

            Date or dates debt was incurred                                          Disputed
            Various                                                            Basis for the claim:
                                                                               Tort Claim

                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes

  3.132
                                                                               As of the petition filing date, the claim is:                            $9,490.79
            Midland Paper Company                                              Check all that apply.
            Attn: Nick Rog
                                                                                     Contingent
            1140 Paysphere Circle
            Chicago, IL 60674                                                        Unliquidated

            Date or dates debt was incurred                                          Disputed
            Various                                                            Basis for the claim:
                                                                               Trade Payable
                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes

  3.133
                                                                               As of the petition filing date, the claim is:                              $846.35
            Mike Watts & Associates                                            Check all that apply.
            15505 W 89th Terrace
                                                                                     Contingent
            Lenexa, KS 66219
                                                                                     Unliquidated
            Date or dates debt was incurred
            Various                                                                  Disputed
                                                                               Basis for the claim:
                                                                               Trade Payable
                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes

  3.134
                                                                               As of the petition filing date, the claim is:                            $2,547.21
            Minnesota Glove & Safety, Inc.                                     Check all that apply.
            Attn: Tami Draheim
                                                                                     Contingent
            203 East Marie Avenue
            West St. Paul, MN 55118                                                  Unliquidated

            Date or dates debt was incurred                                          Disputed
            Various                                                            Basis for the claim:
                                                                               Trade Payable
                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes
Debtor    Water Gremlin Company___________________________________________________         Case number (if known) 23-11775________________________________________
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  3.135
                                                                               As of the petition filing date, the claim is:                            $2,961.30
            Mission Filtration                                                 Check all that apply.
            750 Vandalia Street
                                                                                     Contingent
            St Paul, MN 55114
                                                                                     Unliquidated
            Date or dates debt was incurred
            Various                                                                  Disputed

                                                                               Basis for the claim:
                                                                               Trade Payable

                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes

  3.136
                                                                               As of the petition filing date, the claim is:                            $9,610.48
            Motion Industries, Inc.                                            Check all that apply.
            Attn: Linda Wood
                                                                                     Contingent
            PO Box 504606
            St. Louis, MO 63150-4606                                                 Unliquidated

            Date or dates debt was incurred                                          Disputed
            Various                                                            Basis for the claim:
                                                                               Trade Payable
                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes

  3.137
                                                                               As of the petition filing date, the claim is:                Undetermined
            Mou Koi Xiong                                                      Check all that apply.
            Attn: Dean M Salita
                                                                                     Contingent
            13911 Ridgedale Drive, Suite 325
            Minneapolis, MN 55305                                                    Unliquidated

            Date or dates debt was incurred                                          Disputed
            Various                                                            Basis for the claim:
                                                                               Tort Claim
                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes

  3.138
                                                                               As of the petition filing date, the claim is:                               $44.00
            MRI Software LLC                                                   Check all that apply.
            Attn: Tony Lipinski
                                                                                     Contingent
            7900 West 78th Street
            Ste 400                                                                  Unliquidated
            Edina, MN 55439
                                                                                     Disputed
            Date or dates debt was incurred                                    Basis for the claim:
            Various                                                            Trade Payable
                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes
Debtor    Water Gremlin Company___________________________________________________         Case number (if known) 23-11775________________________________________
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  3.139
                                                                               As of the petition filing date, the claim is:                            $2,607.94
            MSC Industrial Supply Co.                                          Check all that apply.
            PO Box 953635
                                                                                     Contingent
            St Louis, MO 63195-3635
                                                                                     Unliquidated
            Date or dates debt was incurred
            Various                                                                  Disputed
                                                                               Basis for the claim:
                                                                               Trade Payable

                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes

  3.140
                                                                               As of the petition filing date, the claim is:                            $1,200.50
            MTI (Metal Treaters, Inc.)                                         Check all that apply.
            Attn: Denise J.
                                                                                     Contingent
            859 N. Prior Ave
            St. Paul, MN 55438                                                       Unliquidated

            Date or dates debt was incurred                                          Disputed
            Various                                                            Basis for the claim:
                                                                               Trade Payable
                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes

  3.141
                                                                               As of the petition filing date, the claim is:                              $474.00
            NAC                                                                Check all that apply.
            1001 Labore Industrial
                                                                                     Contingent
            Ste B
            Vadnais Heights, MN 55110                                                Unliquidated

            Date or dates debt was incurred                                          Disputed
            Various                                                            Basis for the claim:
                                                                               Trade Payable

                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes

  3.142
                                                                               As of the petition filing date, the claim is:                              $365.83
            Newark element14                                                   Check all that apply.
            33190 Collection Center Drive
                                                                                     Contingent
            Chicago, IL 60693-0331
                                                                                     Unliquidated
            Date or dates debt was incurred
            Various                                                                  Disputed

                                                                               Basis for the claim:
                                                                               Trade Payable

                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes
Debtor    Water Gremlin Company___________________________________________________         Case number (if known) 23-11775________________________________________
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  3.143
                                                                               As of the petition filing date, the claim is:                           $12,469.00
            NHA Heating & Air Conditioning                                     Check all that apply.
            13980 Kristin Lane
                                                                                     Contingent
            Carver, MN 55315-9235
                                                                                     Unliquidated
            Date or dates debt was incurred
            Various                                                                  Disputed
                                                                               Basis for the claim:
                                                                               Trade Payable

                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes


  3.144
                                                                               As of the petition filing date, the claim is:                           $21,585.88
            Nordson EFD LLC                                                    Check all that apply.
            Attn: Yoshabel Jorge
                                                                                     Contingent
            PO Box 777959
            Chicago, IL 60677-7009                                                   Unliquidated

            Date or dates debt was incurred                                          Disputed
            Various                                                            Basis for the claim:
                                                                               Trade Payable
                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes

  3.145
                                                                               As of the petition filing date, the claim is:                            $2,405.60
            North Star Coating Inc                                             Check all that apply.
            6224 Lakeland Ave N
                                                                                     Contingent
            Ste 108
            Brooklyn Park, MN 55428                                                  Unliquidated

            Date or dates debt was incurred                                          Disputed
            Various                                                            Basis for the claim:
                                                                               Trade Payable
                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes

  3.146
                                                                               As of the petition filing date, the claim is:                            $1,443.30
            Northern States Filtration Co.                                     Check all that apply.
            648 Mendelssohn Ave N
                                                                                     Contingent
            Golden Valley, MN 55427
                                                                                     Unliquidated
            Date or dates debt was incurred
            Various                                                                  Disputed
                                                                               Basis for the claim:
                                                                               Trade Payable
                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes
Debtor    Water Gremlin Company___________________________________________________         Case number (if known) 23-11775________________________________________
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  3.147
                                                                               As of the petition filing date, the claim is:                           $23,500.00
            OEE Companies LLC                                                  Check all that apply.
            Attn: Jason Schaller
                                                                                     Contingent
            855 Village Center Dr
            #336                                                                     Unliquidated
            North Oaks, MN 55127
                                                                                     Disputed
            Date or dates debt was incurred                                    Basis for the claim:
            Various                                                            Trade Payable

                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes

  3.148
                                                                               As of the petition filing date, the claim is:                       $21,615,912.00
            Okabe Co., Ltd                                                     Check all that apply.
            2-8-2, Oshiage, Sumida-ku
                                                                                     Contingent
            Tokyo 131-0045
            Japan                                                                    Unliquidated

            Date or dates debt was incurred                                          Disputed
            Various                                                            Basis for the claim:
                                                                               Unsecured Mizuho Loan Balance
                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes

  3.149
                                                                               As of the petition filing date, the claim is:                         $529,318.76
            Okabe Company Inc                                                  Check all that apply.
            Attn: Terri Harris
                                                                                     Contingent
            C/O Mizuho Corporate Bank
            PO Box 3235                                                              Unliquidated
            New York, NY 10008
                                                                                     Disputed
            Date or dates debt was incurred                                    Basis for the claim:
            Various                                                            Trade Payable
                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes

  3.150
                                                                               As of the petition filing date, the claim is:                            $1,139.17
            Old Dominion Freight Line, Inc                                     Check all that apply.
            Attn: Customer Service
                                                                                     Contingent
            14933 Collection Center Dr.
            Chicago, IL 60693-4933                                                   Unliquidated

            Date or dates debt was incurred                                          Disputed
            Various                                                            Basis for the claim:
                                                                               Trade Payable
                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes
Debtor    Water Gremlin Company___________________________________________________         Case number (if known) 23-11775________________________________________
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  3.151
                                                                               As of the petition filing date, the claim is:                            $1,275.00
            Olender LLC                                                        Check all that apply.
            1912 Flandrau Street
                                                                                     Contingent
            Maplewood, MN 55109
                                                                                     Unliquidated
            Date or dates debt was incurred
            Various                                                                  Disputed

                                                                               Basis for the claim:
                                                                               Trade Payable

                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes

  3.152
                                                                               As of the petition filing date, the claim is:                              $551.24
            Open Text Inc                                                      Check all that apply.
            c/o JP Morgan Lockbox
                                                                                     Contingent
            24685 Network Place
            Chicago, IL 60673-1246                                                   Unliquidated

            Date or dates debt was incurred                                          Disputed
            Various                                                            Basis for the claim:
                                                                               Trade Payable
                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes

  3.153
                                                                               As of the petition filing date, the claim is:                Undetermined
            Owen Lofthus                                                       Check all that apply.
            Attn: Dean M Salita
                                                                                     Contingent
            13911 Ridgedale Drive, Suite 325
            Minneapolis, MN 55305                                                    Unliquidated

            Date or dates debt was incurred                                          Disputed
            Various                                                            Basis for the claim:
                                                                               Tort Claim
                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes

  3.154
                                                                               As of the petition filing date, the claim is:                           $44,433.96
            Owens Companies, Inc.                                              Check all that apply.
            Attn: Mary Castaneda
                                                                                     Contingent
            930 East 80th Street
            Bloomington, MN 55420                                                    Unliquidated

            Date or dates debt was incurred                                          Disputed
            Various                                                            Basis for the claim:
                                                                               Trade Payable
                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes
Debtor    Water Gremlin Company___________________________________________________         Case number (if known) 23-11775________________________________________
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  3.155
                                                                               As of the petition filing date, the claim is:                           $51,643.20
            Pace Analytical Services LLC                                       Check all that apply.
            PO Box 684056
                                                                                     Contingent
            Chicago, IL 60695-4056
                                                                                     Unliquidated
            Date or dates debt was incurred
            Various                                                                  Disputed
                                                                               Basis for the claim:
                                                                               Trade Payable

                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes

  3.156
                                                                               As of the petition filing date, the claim is:                Undetermined
            Page Stevens                                                       Check all that apply.
            Attn: Dean M Salita
                                                                                     Contingent
            13911 Ridgedale Drive, Suite 325
            Minneapolis, MN 55305                                                    Unliquidated

            Date or dates debt was incurred                                          Disputed
            Various                                                            Basis for the claim:
                                                                               Tort Claim
                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes

  3.157
                                                                               As of the petition filing date, the claim is:                            $2,991.56
            Panther Precision Machine Inc                                      Check all that apply.
            6640 Sunwood Drive NW
                                                                                     Contingent
            Ramsey, MN 55303
                                                                                     Unliquidated
            Date or dates debt was incurred
            Various                                                                  Disputed
                                                                               Basis for the claim:
                                                                               Trade Payable
                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes

  3.158
                                                                               As of the petition filing date, the claim is:                              $546.04
            Parallel Technologies, Inc.                                        Check all that apply.
            VB 147
                                                                                     Contingent
            PO Box 9202
            Minneapolis, MN 55480-9202                                               Unliquidated

            Date or dates debt was incurred                                          Disputed
            Various                                                            Basis for the claim:
                                                                               Trade Payable

                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes
Debtor    Water Gremlin Company___________________________________________________         Case number (if known) 23-11775________________________________________
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  3.159
                                                                               As of the petition filing date, the claim is:                Undetermined
            Patrick James Hedican                                              Check all that apply.
            Attn: Dean M Salita
                                                                                     Contingent
            13911 Ridgedale Drive, Suite 325
            Minneapolis, MN 55305                                                    Unliquidated

            Date or dates debt was incurred                                          Disputed
            Various                                                            Basis for the claim:
                                                                               Tort Claim

                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes


  3.160
                                                                               As of the petition filing date, the claim is:                Undetermined
            Patrick Lanigan                                                    Check all that apply.
            Attn: Dean M Salita
                                                                                     Contingent
            13911 Ridgedale Drive, Suite 325
            Minneapolis, MN 55305                                                    Unliquidated

            Date or dates debt was incurred                                          Disputed
            Various                                                            Basis for the claim:
                                                                               Tort Claim
                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes


  3.161
                                                                               As of the petition filing date, the claim is:                              $194.98
            PC Connection Sales Corporatio                                     Check all that apply.
            PO Box 536472
                                                                                     Contingent
            Pittsburgh, PA 15253-5906
                                                                                     Unliquidated
            Date or dates debt was incurred
            Various                                                                  Disputed
                                                                               Basis for the claim:
                                                                               Trade Payable
                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes

  3.162
                                                                               As of the petition filing date, the claim is:                            $8,220.91
            Perkins Coie                                                       Check all that apply.
            Attn: Melissa Duff
                                                                                     Contingent
            Attn Client Accounting
            PO Box 24643                                                             Unliquidated
            Seattle, WA 98124-0643
                                                                                     Disputed
            Date or dates debt was incurred                                    Basis for the claim:
            Various                                                            Trade Payable
                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes
Debtor    Water Gremlin Company___________________________________________________         Case number (if known) 23-11775________________________________________
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  3.163
                                                                               As of the petition filing date, the claim is:                              $768.94
            Plastics International                                             Check all that apply.
            C/O Minnesota Plastic
                                                                                     Contingent
            7600 Anagram Drive
            Eden Prairie, MN 55344                                                   Unliquidated

            Date or dates debt was incurred                                          Disputed
            Various                                                            Basis for the claim:
                                                                               Trade Payable

                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes

  3.164
                                                                               As of the petition filing date, the claim is:                           $14,980.08
            Power/Mation Division, Inc.                                        Check all that apply.
            Attn: Al Rausch
                                                                                     Contingent
            1310 Energy Lane
            Saint Paul, MN 55108                                                     Unliquidated

            Date or dates debt was incurred                                          Disputed
            Various                                                            Basis for the claim:
                                                                               Trade Payable
                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes

  3.165
                                                                               As of the petition filing date, the claim is:                            $3,290.00
            Preferred Tool LLC                                                 Check all that apply.
            Attn: Jon Granger
                                                                                     Contingent
            PO BOX 493
            Hugo, MN 55038                                                           Unliquidated

            Date or dates debt was incurred                                          Disputed
            Various                                                            Basis for the claim:
                                                                               Trade Payable
                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes

  3.166
                                                                               As of the petition filing date, the claim is:                              $288.42
            Premier Lighting Inc                                               Check all that apply.
            2885 Country Drive
                                                                                     Contingent
            Ste 135
            St. Paul, MN 55117                                                       Unliquidated

            Date or dates debt was incurred                                          Disputed
            Various                                                            Basis for the claim:
                                                                               Trade Payable
                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes
Debtor    Water Gremlin Company___________________________________________________         Case number (if known) 23-11775________________________________________
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  3.167
                                                                               As of the petition filing date, the claim is:                Undetermined
            Priscilla Stauffer                                                 Check all that apply.
            Attn: Dean M Salita
                                                                                     Contingent
            13911 Ridgedale Drive, Suite 325
            Minneapolis, MN 55305                                                    Unliquidated

            Date or dates debt was incurred                                          Disputed
            Various                                                            Basis for the claim:
                                                                               Tort Claim

                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes

  3.168
                                                                               As of the petition filing date, the claim is:                            $3,494.82
            Quality Forklift Sales & Servi                                     Check all that apply.
            5300 12th Avenue East
                                                                                     Contingent
            Shakopee, MN 55379
                                                                                     Unliquidated
            Date or dates debt was incurred
            Various                                                                  Disputed
                                                                               Basis for the claim:
                                                                               Trade Payable
                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes

  3.169
                                                                               As of the petition filing date, the claim is:                              $667.25
            Quality Tape, Inc.                                                 Check all that apply.
            1607 South Concord St.
                                                                                     Contingent
            PO Box 765
            South St. Paul, MN 55075                                                 Unliquidated

            Date or dates debt was incurred                                          Disputed
            Various                                                            Basis for the claim:
                                                                               Trade Payable
                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes

  3.170
                                                                               As of the petition filing date, the claim is:                            $2,610.41
            Quench USA, Inc.                                                   Check all that apply.
            PO Box 735777
                                                                                     Contingent
            Dallas, TX 75373-5777
                                                                                     Unliquidated
            Date or dates debt was incurred
            Various                                                                  Disputed
                                                                               Basis for the claim:
                                                                               Trade Payable
                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes
Debtor    Water Gremlin Company___________________________________________________         Case number (if known) 23-11775________________________________________
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  3.171
                                                                               As of the petition filing date, the claim is:                         $240,287.00
            Ramsey County                                                      Check all that apply.
            Attn: Legal Dept
                                                                                     Contingent
            PO Box 64045
            St Paul, MN 55164                                                        Unliquidated

            Date or dates debt was incurred                                          Disputed
            Various                                                            Basis for the claim:
                                                                               Trade Payable

                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes

  3.172
                                                                               As of the petition filing date, the claim is:                Undetermined
            Randy Nelson                                                       Check all that apply.
            Attn: Dean M Salita
                                                                                     Contingent
            13911 Ridgedale Drive, Suite 325
            Minneapolis, MN 55305                                                    Unliquidated

            Date or dates debt was incurred                                          Disputed
            Various                                                            Basis for the claim:
                                                                               Tort Claim
                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes

  3.173
                                                                               As of the petition filing date, the claim is:                            $2,219.09
            Reliable Bronze & Mfg Inc                                          Check all that apply.
            Dept. #1807
                                                                                     Contingent
            PO Box 5905
            Carol Stream, IL 60197                                                   Unliquidated

            Date or dates debt was incurred                                          Disputed
            Various                                                            Basis for the claim:
                                                                               Trade Payable
                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes

  3.174
                                                                               As of the petition filing date, the claim is:                Undetermined
            Richard Svoboda                                                    Check all that apply.
            Attn: Dean M Salita
                                                                                     Contingent
            13911 Ridgedale Drive, Suite 325
            Minneapolis, MN 55305                                                    Unliquidated

            Date or dates debt was incurred                                          Disputed
            Various                                                            Basis for the claim:
                                                                               Tort Claim
                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes
Debtor    Water Gremlin Company___________________________________________________         Case number (if known) 23-11775________________________________________
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  3.175
                                                                               As of the petition filing date, the claim is:                Undetermined
            Robert Kappes                                                      Check all that apply.
            Attn: Dean M Salita
                                                                                     Contingent
            13911 Ridgedale Drive, Suite 325
            Minneapolis, MN 55305                                                    Unliquidated

            Date or dates debt was incurred                                          Disputed
            Various                                                            Basis for the claim:
                                                                               Tort Claim

                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes


  3.176
                                                                               As of the petition filing date, the claim is:                Undetermined
            Rock Tierney                                                       Check all that apply.
            Attn: Dean M Salita
                                                                                     Contingent
            13911 Ridgedale Drive, Suite 325
            Minneapolis, MN 55305                                                    Unliquidated

            Date or dates debt was incurred                                          Disputed
            Various                                                            Basis for the claim:
                                                                               Tort Claim
                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes


  3.177
                                                                               As of the petition filing date, the claim is:                              $848.00
            Rodix Inc                                                          Check all that apply.
            2316 23rd Ave.
                                                                                     Contingent
            Rockford, IL 61104-7337
                                                                                     Unliquidated
            Date or dates debt was incurred
            Various                                                                  Disputed
                                                                               Basis for the claim:
                                                                               Trade Payable
                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes

  3.178
                                                                               As of the petition filing date, the claim is:                Undetermined
            Roland Missling                                                    Check all that apply.
            Attn: Dean M Salita
                                                                                     Contingent
            13911 Ridgedale Drive, Suite 325
            Minneapolis, MN 55305                                                    Unliquidated

            Date or dates debt was incurred                                          Disputed
            Various                                                            Basis for the claim:
                                                                               Tort Claim
                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes
Debtor    Water Gremlin Company___________________________________________________         Case number (if known) 23-11775________________________________________
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  3.179
                                                                               As of the petition filing date, the claim is:                Undetermined
            Ronald Johnson                                                     Check all that apply.
            Attn: Dean M Salita
                                                                                     Contingent
            13911 Ridgedale Drive, Suite 325
            Minneapolis, MN 55305                                                    Unliquidated

            Date or dates debt was incurred                                          Disputed
            Various                                                            Basis for the claim:
                                                                               Tort Claim

                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes

  3.180
                                                                               As of the petition filing date, the claim is:                         $276,372.46
            RoofCare Service Center LLC                                        Check all that apply.
            Attn: Legal Dept
                                                                                     Contingent
            851 E. I-65 Service Road S.
            Ste 300                                                                  Unliquidated
            Mobile, AL 36606
                                                                                     Disputed
            Date or dates debt was incurred                                    Basis for the claim:
            Various                                                            Trade Payable
                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes

  3.181
                                                                               As of the petition filing date, the claim is:                Undetermined
            Ross Abernathy                                                     Check all that apply.
            Attn: Dean M Salita
                                                                                     Contingent
            13911 Ridgedale Drive, Suite 325
            Minneapolis, MN 55305                                                    Unliquidated

            Date or dates debt was incurred                                          Disputed
                                                                               Basis for the claim:
                                                                               Workers' Comp Claim
                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes

  3.182
                                                                               As of the petition filing date, the claim is:                Undetermined
            Roxanne Wilcox                                                     Check all that apply.
            Attn: Dean M Salita
                                                                                     Contingent
            13911 Ridgedale Drive, Suite 325
            Minneapolis, MN 55305                                                    Unliquidated

            Date or dates debt was incurred                                          Disputed
            Various                                                            Basis for the claim:
                                                                               Tort Claim
                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes
Debtor    Water Gremlin Company___________________________________________________         Case number (if known) 23-11775________________________________________
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  3.183
                                                                               As of the petition filing date, the claim is:                            $8,421.00
            RSM US LLP                                                         Check all that apply.
            5155 Paysphere Circle
                                                                                     Contingent
            Chicago, IL 60674-0051
                                                                                     Unliquidated
            Date or dates debt was incurred
            Various                                                                  Disputed
                                                                               Basis for the claim:
                                                                               Trade Payable

                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes

  3.184
                                                                               As of the petition filing date, the claim is:                            $3,165.94
            Safety-Kleen Systems, Inc.                                         Check all that apply.
            PO Box 975201
                                                                                     Contingent
            Dallas, TX 75397-5201
                                                                                     Unliquidated
            Date or dates debt was incurred
            Various                                                                  Disputed
                                                                               Basis for the claim:
                                                                               Trade Payable
                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes

  3.185
                                                                               As of the petition filing date, the claim is:                Undetermined
            Sage Hockinson                                                     Check all that apply.
            Attn: Dean M Salita
                                                                                     Contingent
            13911 Ridgedale Drive, Suite 325
            Minneapolis, MN 55305                                                    Unliquidated

            Date or dates debt was incurred                                          Disputed
            Various                                                            Basis for the claim:
                                                                               Tort Claim
                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes

  3.186
                                                                               As of the petition filing date, the claim is:                Undetermined
            Sara Robertson                                                     Check all that apply.
            Attn: Dean M Salita
                                                                                     Contingent
            13911 Ridgedale Drive, Suite 325
            Minneapolis, MN 55305                                                    Unliquidated

            Date or dates debt was incurred                                          Disputed
            Various                                                            Basis for the claim:
                                                                               Tort Claim
                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes
Debtor    Water Gremlin Company___________________________________________________         Case number (if known) 23-11775________________________________________
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  3.187
                                                                               As of the petition filing date, the claim is:                Undetermined
            Sarah Kraemer                                                      Check all that apply.
            Attn: Dean M Salita
                                                                                     Contingent
            13911 Ridgedale Drive, Suite 325
            Minneapolis, MN 55305                                                    Unliquidated

            Date or dates debt was incurred                                          Disputed
            Various                                                            Basis for the claim:
                                                                               Tort Claim

                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes

  3.188
                                                                               As of the petition filing date, the claim is:                Undetermined
            Sarah Monley                                                       Check all that apply.
            Attn: Dean M Salita
                                                                                     Contingent
            13911 Ridgedale Drive, Suite 325
            Minneapolis, MN 55305                                                    Unliquidated

            Date or dates debt was incurred                                          Disputed
            Various                                                            Basis for the claim:
                                                                               Tort Claim

                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes

  3.189
                                                                               As of the petition filing date, the claim is:                            $3,125.20
            Service Plus Logistics, Inc.                                       Check all that apply.
            Attn: Kimberly Kormanik
                                                                                     Contingent
            3686 Flowerfield Rd
            Blaine, MN 55014                                                         Unliquidated

            Date or dates debt was incurred                                          Disputed
            Various                                                            Basis for the claim:
                                                                               Trade Payable
                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes

  3.190
                                                                               As of the petition filing date, the claim is:                            $6,198.43
            Service Plus Transport, Inc.                                       Check all that apply.
            Attn: Kim Kormanik
                                                                                     Contingent
            3686 Flowerfield Road
            Blaine, MN 55014                                                         Unliquidated

            Date or dates debt was incurred                                          Disputed
            Various                                                            Basis for the claim:
                                                                               Trade Payable
                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes
Debtor    Water Gremlin Company___________________________________________________         Case number (if known) 23-11775________________________________________
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  3.191
                                                                               As of the petition filing date, the claim is:                Undetermined
            Shari Bicha                                                        Check all that apply.
            Attn: Dean M Salita
                                                                                     Contingent
            13911 Ridgedale Drive, Suite 325
            Minneapolis, MN 55305                                                    Unliquidated

            Date or dates debt was incurred                                          Disputed
            Various                                                            Basis for the claim:
                                                                               Tort Claim

                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes


  3.192
                                                                               As of the petition filing date, the claim is:                              $487.51
            Sherwin Williams                                                   Check all that apply.
            1028 Highway 96 E
                                                                                     Contingent
            Vadnais Heights, MN 55127-2309
                                                                                     Unliquidated
            Date or dates debt was incurred
            Various                                                                  Disputed
                                                                               Basis for the claim:
                                                                               Trade Payable
                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes


  3.193
                                                                               As of the petition filing date, the claim is:                Undetermined
            Shirley Stortroen                                                  Check all that apply.
            Attn: Dean M Salita
                                                                                     Contingent
            13911 Ridgedale Drive, Suite 325
            Minneapolis, MN 55305                                                    Unliquidated

            Date or dates debt was incurred                                          Disputed
            Various                                                            Basis for the claim:
                                                                               Tort Claim
                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes

  3.194
                                                                               As of the petition filing date, the claim is:                              $258.48
            Shred-It USA LLC                                                   Check all that apply.
            28883 Network Place
                                                                                     Contingent
            Chicago, IL 60673-1288
                                                                                     Unliquidated
            Date or dates debt was incurred
            Various                                                                  Disputed
                                                                               Basis for the claim:
                                                                               Trade Payable
                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes
Debtor    Water Gremlin Company___________________________________________________         Case number (if known) 23-11775________________________________________
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  3.195
                                                                               As of the petition filing date, the claim is:                              $669.48
            SPS Commerce, Inc.                                                 Check all that apply.
            PO Box 205782
                                                                                     Contingent
            Dallas, TX 75320-5782
                                                                                     Unliquidated
            Date or dates debt was incurred
            Various                                                                  Disputed
                                                                               Basis for the claim:
                                                                               Trade Payable

                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes

  3.196
                                                                               As of the petition filing date, the claim is:                           $17,056.00
            Stanley Engineered Fastening L                                     Check all that apply.
            Attn: Henry Boyton; Judy Kassel
                                                                                     Contingent
            4 Shelter Rock Lane
            Danbury, CT 06810                                                        Unliquidated

            Date or dates debt was incurred                                          Disputed
            Various                                                            Basis for the claim:
                                                                               Trade Payable
                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes

  3.197
                                                                               As of the petition filing date, the claim is:                Undetermined
            State Automobile Mutual Insurance Company                          Check all that apply.
            c/o BatesCarey LLP
                                                                                     Contingent
            Attn: Adam H. Fleischer
            191 N. Wacker, Suite 2400                                                Unliquidated
            Chicago, IL 60606
                                                                                     Disputed
            Date or dates debt was incurred                                    Basis for the claim:
                                                                               Litigation Claim
                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes

  3.198
                                                                               As of the petition filing date, the claim is:                Undetermined
            Steve Carlson                                                      Check all that apply.
            Attn: Dean M Salita
                                                                                     Contingent
            13911 Ridgedale Drive, Suite 325
            Minneapolis, MN 55305                                                    Unliquidated

            Date or dates debt was incurred                                          Disputed
            Various                                                            Basis for the claim:
                                                                               Tort Claim
                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes
Debtor    Water Gremlin Company___________________________________________________         Case number (if known) 23-11775________________________________________
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  3.199
                                                                               As of the petition filing date, the claim is:                Undetermined
            Steve LaLiberte                                                    Check all that apply.
            Attn: Dean M Salita
                                                                                     Contingent
            13911 Ridgedale Drive, Suite 325
            Minneapolis, MN 55305                                                    Unliquidated

            Date or dates debt was incurred                                          Disputed
            Various                                                            Basis for the claim:
                                                                               Tort Claim

                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes

  3.200
                                                                               As of the petition filing date, the claim is:                Undetermined
            Steven Kappes                                                      Check all that apply.
            Attn: Dean M Salita
                                                                                     Contingent
            13911 Ridgedale Drive, Suite 325
            Minneapolis, MN 55305                                                    Unliquidated

            Date or dates debt was incurred                                          Disputed
            Various                                                            Basis for the claim:
                                                                               Tort Claim
                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes

  3.201
                                                                               As of the petition filing date, the claim is:                            $4,470.00
            StormWind LLC                                                      Check all that apply.
            17550 N. Perimeter Dr.
                                                                                     Contingent
            Ste 300
            Scottsdale, AZ 85255                                                     Unliquidated

            Date or dates debt was incurred                                          Disputed
            Various                                                            Basis for the claim:
                                                                               Trade Payable
                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes

  3.202
                                                                               As of the petition filing date, the claim is:                            $7,574.47
            Summit Fire Protection                                             Check all that apply.
            PO Box 851675
                                                                                     Contingent
            Minneapolis, MN 55485-1675
                                                                                     Unliquidated
            Date or dates debt was incurred
            Various                                                                  Disputed
                                                                               Basis for the claim:
                                                                               Trade Payable
                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes
Debtor    Water Gremlin Company___________________________________________________         Case number (if known) 23-11775________________________________________
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  3.203
                                                                               As of the petition filing date, the claim is:                              $288.77
            Sunnen Products Company                                            Check all that apply.
            PO Box 790379
                                                                                     Contingent
            St. Louis, MO 63179
                                                                                     Unliquidated
            Date or dates debt was incurred
            Various                                                                  Disputed
                                                                               Basis for the claim:
                                                                               Trade Payable

                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes

  3.204
                                                                               As of the petition filing date, the claim is:                Undetermined
            Susan Carole Carlson                                               Check all that apply.
            Attn: Dean M Salita
                                                                                     Contingent
            13911 Ridgedale Drive, Suite 325
            Minneapolis, MN 55305                                                    Unliquidated

            Date or dates debt was incurred                                          Disputed
            Various                                                            Basis for the claim:
                                                                               Tort Claim

                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes

  3.205
                                                                               As of the petition filing date, the claim is:                Undetermined
            Susan Thomson                                                      Check all that apply.
            Attn: Dean M Salita
                                                                                     Contingent
            13911 Ridgedale Drive, Suite 325
            Minneapolis, MN 55305                                                    Unliquidated

            Date or dates debt was incurred                                          Disputed
            Various                                                            Basis for the claim:
                                                                               Tort Claim
                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes

  3.206
                                                                               As of the petition filing date, the claim is:                Undetermined
            Susan Wakefield-Olson                                              Check all that apply.
            Attn: Dean M Salita
                                                                                     Contingent
            13911 Ridgedale Drive, Suite 325
            Minneapolis, MN 55305                                                    Unliquidated

            Date or dates debt was incurred                                          Disputed
            Various                                                            Basis for the claim:
                                                                               Tort Claim
                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes
Debtor    Water Gremlin Company___________________________________________________         Case number (if known) 23-11775________________________________________
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  3.207
                                                                               As of the petition filing date, the claim is:                            $1,431.63
            Tennant Sales & Service Compan                                     Check all that apply.
            PO Box 71414
                                                                                     Contingent
            Chicago, IL 60694-1414
                                                                                     Unliquidated
            Date or dates debt was incurred
            Various                                                                  Disputed
                                                                               Basis for the claim:
                                                                               Trade Payable

                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes

  3.208
                                                                               As of the petition filing date, the claim is:                Undetermined
            Terry Robertson                                                    Check all that apply.
            Attn: Dean M Salita
                                                                                     Contingent
            13911 Ridgedale Drive, Suite 325
            Minneapolis, MN 55305                                                    Unliquidated

            Date or dates debt was incurred                                          Disputed
            Various                                                            Basis for the claim:
                                                                               Tort Claim
                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes


  3.209
                                                                               As of the petition filing date, the claim is:                            $2,110.24
            The Cary Company                                                   Check all that apply.
            PO Box 88670
                                                                                     Contingent
            Chicago, IL 60680-1670
                                                                                     Unliquidated
            Date or dates debt was incurred
            Various                                                                  Disputed

                                                                               Basis for the claim:
                                                                               Trade Payable
                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes

  3.210
                                                                               As of the petition filing date, the claim is:                           $58,143.82
            Thomas Scientific                                                  Check all that apply.
            Attn: Traci Ann Shiffer
                                                                                     Contingent
            7125 Northland Terrace N
            Ste 100                                                                  Unliquidated
            Brooklyn Park, MN 55428
                                                                                     Disputed
            Date or dates debt was incurred                                    Basis for the claim:
            Various                                                            Trade Payable
                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes
Debtor    Water Gremlin Company___________________________________________________         Case number (if known) 23-11775________________________________________
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  3.211
                                                                               As of the petition filing date, the claim is:                            $1,707.04
            TIE Commerce, Inc.                                                 Check all that apply.
            PO Box 412823
                                                                                     Contingent
            Boston, MA 02241-2823
                                                                                     Unliquidated
            Date or dates debt was incurred
            Various                                                                  Disputed
                                                                               Basis for the claim:
                                                                               Trade Payable

                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes

  3.212
                                                                               As of the petition filing date, the claim is:                            $4,730.00
            Tiffin Foundry & Machine, Inc.                                     Check all that apply.
            Attn: Steven Sobol
                                                                                     Contingent
            PO Box 37
            Tiffin, OH 44883                                                         Unliquidated

            Date or dates debt was incurred                                          Disputed
            Various                                                            Basis for the claim:
                                                                               Trade Payable
                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes

  3.213
                                                                               As of the petition filing date, the claim is:                               $44.31
            Torrington Brush Works, Inc.                                       Check all that apply.
            4377 Independence Ct
                                                                                     Contingent
            Sarasota, FL 34234
                                                                                     Unliquidated
            Date or dates debt was incurred
            Various                                                                  Disputed
                                                                               Basis for the claim:
                                                                               Trade Payable
                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes

  3.214
                                                                               As of the petition filing date, the claim is:                            $2,758.99
            Total Tool Supply Inc.                                             Check all that apply.
            Attn: Carrie
                                                                                     Contingent
            PO Box 860681
            Minneapolis, MN 55486                                                    Unliquidated

            Date or dates debt was incurred                                          Disputed
            Various                                                            Basis for the claim:
                                                                               Trade Payable
                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes
Debtor    Water Gremlin Company___________________________________________________         Case number (if known) 23-11775________________________________________
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  3.215
                                                                               As of the petition filing date, the claim is:                         $245,460.56
            Trans-Matic Manufacturing                                          Check all that apply.
            Attn: Lori Dewitt
                                                                                     Contingent
            300 E 48th Street
            Holland, MI 49423                                                        Unliquidated

            Date or dates debt was incurred                                          Disputed
            Various                                                            Basis for the claim:
                                                                               Trade Payable

                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes

  3.216
                                                                               As of the petition filing date, the claim is:                            $2,352.00
            UHL Company Inc                                                    Check all that apply.
            Lockbox 191
                                                                                     Contingent
            PO Box 1575
            Minneapolis, MN 55480-1575                                               Unliquidated

            Date or dates debt was incurred                                          Disputed
            Various                                                            Basis for the claim:
                                                                               Trade Payable
                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes

  3.217
                                                                               As of the petition filing date, the claim is:                            $1,491.92
            Uline Enterprises                                                  Check all that apply.
            PO Box 88741
                                                                                     Contingent
            Chicago, IL 60680-1741
                                                                                     Unliquidated
            Date or dates debt was incurred
            Various                                                                  Disputed

                                                                               Basis for the claim:
                                                                               Trade Payable
                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes

  3.218
                                                                               As of the petition filing date, the claim is:                            $9,254.97
            United Electric                                                    Check all that apply.
            Attn: Joan. Follmer
                                                                                     Contingent
            PO Box 802578
            Chicago, IL 60680-2578                                                   Unliquidated

            Date or dates debt was incurred                                          Disputed
            Various                                                            Basis for the claim:
                                                                               Trade Payable
                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes
Debtor    Water Gremlin Company___________________________________________________         Case number (if known) 23-11775________________________________________
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  3.219
                                                                               As of the petition filing date, the claim is:                              $763.84
            United Gear & Assembly, Inc.                                       Check all that apply.
            L-3898
                                                                                     Contingent
            Columbus, OH 43260
                                                                                     Unliquidated
            Date or dates debt was incurred
            Various                                                                  Disputed
                                                                               Basis for the claim:
                                                                               Trade Payable

                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes

  3.220
                                                                               As of the petition filing date, the claim is:                            $1,051.34
            United Surface Preparation, In                                     Check all that apply.
            Attn: Toni Zitzloff
                                                                                     Contingent
            900 Lund Blvd
            Anoka, MN 55303                                                          Unliquidated

            Date or dates debt was incurred                                          Disputed
            Various                                                            Basis for the claim:
                                                                               Trade Payable
                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes

  3.221
                                                                               As of the petition filing date, the claim is:                              $794.21
            UPS, Inc.                                                          Check all that apply.
            PO Box 809488
                                                                                     Contingent
            Chicago, IL 60680-9488
                                                                                     Unliquidated
            Date or dates debt was incurred
            Various                                                                  Disputed
                                                                               Basis for the claim:
                                                                               Trade Payable
                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes


  3.222
                                                                               As of the petition filing date, the claim is:                            $1,650.00
            Versique, Inc.                                                     Check all that apply.
            6465 Wayzata Blvd.
                                                                                     Contingent
            Ste 800
            Minneapolis, MN 55426                                                    Unliquidated

            Date or dates debt was incurred                                          Disputed
            Various                                                            Basis for the claim:
                                                                               Trade Payable
                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes
Debtor    Water Gremlin Company___________________________________________________         Case number (if known) 23-11775________________________________________
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  3.223
                                                                               As of the petition filing date, the claim is:                            $1,779.21
            Voestalpine High Performance M                                     Check all that apply.
            Attn: AR
                                                                                     Contingent
            PO Box 856088
            Minneapolis, MN 55485-6088                                               Unliquidated

            Date or dates debt was incurred                                          Disputed
            Various                                                            Basis for the claim:
                                                                               Trade Payable

                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes

  3.224
                                                                               As of the petition filing date, the claim is:                              $297.50
            Warehouse Plus Inc.                                                Check all that apply.
            20981 County Hwy 24
                                                                                     Contingent
            West Concord, MN 55985
                                                                                     Unliquidated
            Date or dates debt was incurred
            Various                                                                  Disputed
                                                                               Basis for the claim:
                                                                               Trade Payable
                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes

  3.225
                                                                               As of the petition filing date, the claim is:                       $15,918,138.00
            Water Gremlin Holdings                                             Check all that apply.
            4400 Otter Lake Rd
                                                                                     Contingent
            White Bear Township, MN 55110
                                                                                     Unliquidated
            Date or dates debt was incurred
            Various                                                                  Disputed
                                                                               Basis for the claim:
                                                                               Intercompany Payable to HoldCo
                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes

  3.226
                                                                               As of the petition filing date, the claim is:                Undetermined
            Westfield Insurance Company                                        Check all that apply.
            c/o GOETZ & ECKLAND P.A.
                                                                                     Contingent
            Attn: Michael S. Rowley
            Banks Building                                                           Unliquidated
            615 1st Avenue NE, Suite 425
            Minneapolis, MN 55413                                                    Disputed
                                                                               Basis for the claim:
            Date or dates debt was incurred                                    Litigation Claims
                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes
Debtor    Water Gremlin Company___________________________________________________         Case number (if known) 23-11775________________________________________
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  3.227
                                                                               As of the petition filing date, the claim is:                           $17,650.01
            WestRock                                                           Check all that apply.
            Attn: Legal Dept
                                                                                     Contingent
            1000 Abernathy Rd NE
            Sandy Springs, GA 30328                                                  Unliquidated

            Date or dates debt was incurred                                          Disputed
            Various                                                            Basis for the claim:
                                                                               Trade Payable

                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes

  3.228
                                                                               As of the petition filing date, the claim is:                           $27,828.67
            White Bear Township                                                Check all that apply.
            Attn: Patrick Christopherson
                                                                                     Contingent
            1281 Hammond Road
            White Bear Township, MN 55110                                            Unliquidated

            Date or dates debt was incurred                                          Disputed
            Various                                                            Basis for the claim:
                                                                               Trade Payable
                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes

  3.229
                                                                               As of the petition filing date, the claim is:                           $10,460.01
            WorldWide Express                                                  Check all that apply.
            29228 Network Place
                                                                                     Contingent
            Chicago, IL 60673
                                                                                     Unliquidated
            Date or dates debt was incurred
            Various                                                                  Disputed
                                                                               Basis for the claim:
                                                                               Trade Payable
                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes

  3.230
                                                                               As of the petition filing date, the claim is:                         $272,585.37
            Xcel Energy                                                        Check all that apply.
            c/o Bankruptcy Department
                                                                                     Contingent
            Attn: Katie Ann Miller
            PO Box 9477                                                              Unliquidated
            Minneapolis, MN 55484
                                                                                     Disputed
            Date or dates debt was incurred                                    Basis for the claim:
                                                                               Trade Payable
                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes
Debtor    Water Gremlin Company___________________________________________________         Case number (if known) 23-11775________________________________________
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  3.231
                                                                               As of the petition filing date, the claim is:                Undetermined
            Xeng Vang                                                          Check all that apply.
            Attn: Dean M Salita
                                                                                     Contingent
            13911 Ridgedale Drive, Suite 325
            Minneapolis, MN 55305                                                    Unliquidated

            Date or dates debt was incurred                                          Disputed
                                                                               Basis for the claim:
                                                                               Workers' Comp Claim

                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes

  3.232
                                                                               As of the petition filing date, the claim is:                            $1,670.61
            Xtra Lease LLC                                                     Check all that apply.
            7911 Forsyth Blvd.
                                                                                     Contingent
            Suite 600
            St. Louis, MO 63105-3825                                                 Unliquidated

            Date or dates debt was incurred                                          Disputed
            Various                                                            Basis for the claim:
                                                                               Trade Payable
                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes

  3.233
                                                                               As of the petition filing date, the claim is:                            $2,023.74
            Zep Sales & Service                                                Check all that apply.
            13237 Collections Center
                                                                                     Contingent
            Chicago, IL 60693
                                                                                     Unliquidated
            Date or dates debt was incurred
            Various                                                                  Disputed
                                                                               Basis for the claim:
                                                                               Trade Payable

                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes

  3.234
                                                                               As of the petition filing date, the claim is:                            $8,337.38
            Zoro                                                               Check all that apply.
            PO Box 5233
                                                                                     Contingent
            Janesville, WI 53547-5233
                                                                                     Unliquidated
            Date or dates debt was incurred
            Various                                                                  Disputed
                                                                               Basis for the claim:
                                                                               Trade Payable
                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes
Debtor    Water Gremlin Company___________________________________________________         Case number (if known) 23-11775________________________________________
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  3.235
                                                                               As of the petition filing date, the claim is:                Undetermined
            Thomas Stephen Flater                                              Check all that apply.
            Attn: Dean M Salita
                                                                                     Contingent
            13911 Ridgedale Drive, Suite 325
            Minneapolis, MN 55305                                                    Unliquidated

            Date or dates debt was incurred                                          Disputed
                                                                               Basis for the claim:
                                                                               Tort Claim

                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes

  3.236
                                                                               As of the petition filing date, the claim is:                Undetermined
            Thomas Vadnais                                                     Check all that apply.
            Attn: Dean M Salita
                                                                                     Contingent
            13911 Ridgedale Drive, Suite 325
            Minneapolis, MN 55305                                                    Unliquidated

            Date or dates debt was incurred                                          Disputed
                                                                               Basis for the claim:
                                                                               Tort Claim
                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes

  3.237
                                                                               As of the petition filing date, the claim is:                Undetermined
            Tori Stebbing                                                      Check all that apply.
            Attn: Dean M Salita
                                                                                     Contingent
            13911 Ridgedale Drive, Suite 325
            Minneapolis, MN 55305                                                    Unliquidated

            Date or dates debt was incurred                                          Disputed
                                                                               Basis for the claim:
                                                                               Tort Claim
                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes

  3.238
                                                                               As of the petition filing date, the claim is:                Undetermined
            Violet Hughes                                                      Check all that apply.
            Attn: Dean M Salita
                                                                                     Contingent
            13911 Ridgedale Drive, Suite 325
            Minneapolis, MN 55305                                                    Unliquidated

            Date or dates debt was incurred                                          Disputed
                                                                               Basis for the claim:
                                                                               Tort Claim
                                                                               Is the claim subject to offset?
                                                                                     No

                                                                                     Yes
Debtor      Water Gremlin Company___________________________________________________                     Case number (if known) 23-11775________________________________________
         Name
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  Part 3:     List Others to Be Notified About Unsecured Claims

  4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies, assignees of claims
  listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.
   Name and mailing address                                                                     On which line in Part 1 or Part 2 is the related               Last 4 digits of
                                                                                                creditor (if any) listed?                                      account number, if any

  4.1
                                                                                                Line



                                                                                                       Not listed. Explain



  Part 4:     Total Amounts of the Priority and Nonpriority Unsecured Claims

  5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                                               Total of claim amounts

  5a. Total claims from Part 1                                                                                                         5a.                              $602,362.42
  5b. Total claims from Part 2                                                                                                         5b.                           $40,984,409.96
  5c. Total of Parts 1 and 2                                                                                                           5c.
                                                                                                                                                                    $41,586,772.38
  Lines 5a + 5b = 5c.
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  Fill in this information to identify the case:

  Debtor name: Water Gremlin Company

  United States Bankruptcy Court for the: District of Delaware
                                                                                                                                                        Check if this is an
  Case number: 23-11775
                                                                                                                                                        amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

Schedule G:    Executory Contracts and Unexpired Leases

1. Does the debtor have any executory contracts or unexpired leases?

   No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.

   Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B).

 2. List all contracts and unexpired leases                                                State the name and mailing address for all other parties with whom the debtor
                                                                                           has an executory contract or unexpired lease

2.1     State what the contract        Standard Agreement
        or lease is for and the                                                           Adam's Pest Control, Inc.
        nature of the debtor’s                                                            922 Highway 55
        interest                                                                          Suite 100
        State the term                 Effective Date: 2/27/2014                          Medina, MN 55340
        remaining
        List the contract number
        of any government
        contract

2.2     State what the contract        Prevention Plus Agreement
        or lease is for and the                                                           Adam's Pest Control, Inc.
        nature of the debtor’s                                                            922 Highway 55
        interest                                                                          Suite 100
        State the term                 Effective Date: 9/1/2020                           Medina, MN 55340
        remaining
        List the contract number
        of any government
        contract

2.3     State what the contract        Master Administrative Services Agreement
                                                                                          Alerus Retirement and Benefits
        or lease is for and the
        nature of the debtor’s                                                            201 East Clark Street
        interest                                                                          Albert Lea, MN 56007
        State the term                 Effective Date: 1/1/2017
        remaining
        List the contract number
        of any government
        contract
Debtor   Water Gremlin Company___________________________________________________        Case number (if known) 23-11775________________________________________
         Name
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  2.4      State what the contract    Material Supply Agreement
           or lease is for and the                                                C&D Technologies, Inc. and its subsidiaries including Trojan Battery Company, LLC
           nature of the debtor’s                                                 (collectely, CDTR and/or TBC) and the members listed on Attachment "B"
           interest                                                               200 W Main Street
           State the term             Effective Date: 3/1/2022                    Attica, IN 47918
           remaining
           List the contract number
           of any government
           contract

  2.5      State what the contract    Vending Services Agreement
           or lease is for and the                                                C&S Vending Company, Inc.
           nature of the debtor’s                                                 Attn: Ryan Wagner
           interest                                                               1919 NW 2nd Street
           State the term             Effective Date: 3/1/2016                    PO Box 876
           remaining                                                              Faribault, MN 55021
           List the contract number
           of any government
           contract

  2.6      State what the contract    Specialty Apparel Renta Service Agreement
           or lease is for and the                                                Cintas
           nature of the debtor’s                                                 6800 Cintas Boulevard
           interest                                                               Mason, OH 45040
           State the term             Effective Date: 7/19/2019
           remaining
           List the contract number
           of any government
           contract

  2.7      State what the contract    Outdoor Services Agreement
           or lease is for and the                                                Clearscape Outdoor Services
           nature of the debtor’s                                                 Attn: Matt Johnson
           interest                                                               175 Old Highway 8 SW
           State the term             Effective Date: 11/1/2023                   New Brighton, MN 55112
           remaining
           List the contract number
           of any government
           contract

  2.8      State what the contract    Agreement
           or lease is for and the                                                DDMN ASO, LLC
           nature of the debtor’s                                                 PO Box 330
           interest                                                               Minneapolis, MN 55440
           State the term
           remaining
           List the contract number
           of any government
           contract

  2.9      State what the contract    Consignment Agreement
           or lease is for and the                                                Driven Solutions LLC
           nature of the debtor’s                                                 PO Box 125
           interest                                                               Prescott, WI 54021
           State the term             Effective Date: 2/2/2023
           remaining
           List the contract number
           of any government
           contract
Debtor   Water Gremlin Company___________________________________________________      Case number (if known) 23-11775________________________________________
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  2.10     State what the contract    Proposal for Renewal Integrated Service
           or lease is for and the    Agreement                                 EESCO
           nature of the debtor’s                                               601 Lakeview Poiunt Dr
           interest                                                             New Brighton, MN 55112
           State the term             Effective Date: 3/22/2023
           remaining
           List the contract number
           of any government
           contract

  2.11     State what the contract    Staffing Agreement
           or lease is for and the                                              Employer Solutions Staffing Group, LLC
           nature of the debtor’s                                               7301 Ohms Ln
           interest                                                             Ste 405
           State the term             Effective Date: 11/7/2017                 Edina, MN 55439
           remaining
           List the contract number
           of any government
           contract

  2.12     State what the contract    End User License Agreement
           or lease is for and the                                              Epicor Software Corporation
           nature of the debtor’s                                               18200 Von Karman Avenue
           interest                                                             Suite 1000
           State the term             Effective Date: 12/22/2006                Irvine, CA 92612
           remaining
           List the contract number
           of any government
           contract

  2.13     State what the contract    Sales Order
           or lease is for and the                                              Evolve IP, LLP
           nature of the debtor’s                                               630 Allendale Rd
           interest                                                             King of Prussia, PA 19406
           State the term             Effective Date: 8/7/2023
           remaining
           List the contract number
           of any government
           contract

  2.14     State what the contract    Lead Purchase Agreement
           or lease is for and the                                              Gopher Resource, LLC
           nature of the debtor’s                                               2900 Lone Oak Pkwy
           interest                                                             Ste 140A
           State the term             Effective Date: 1/1/2023                  Eagan, MN 55121
           remaining
           List the contract number
           of any government
           contract

  2.15     State what the contract    Conversion Recycling Agreement
           or lease is for and the                                              Gopher Resource, LLC
           nature of the debtor’s                                               2900 Lone Oak Pkwy
           interest                                                             Ste 140A
           State the term             Effective Date: 6/1/2023                  Eagan, MN 55121
           remaining
           List the contract number
           of any government
           contract
Debtor   Water Gremlin Company___________________________________________________      Case number (if known) 23-11775________________________________________
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  2.16     State what the contract     Statement of Work
           or lease is for and the                                              Heartland Business Systems, LLC
           nature of the debtor’s                                               101 Broadway Ave W
           interest                                                             Ste 106
           State the term              Effective Date: 2/1/2023                 Osseo, MN 55369
           remaining
           List the contract number
           of any government
           contract

  2.17     State what the contract     Maintenance Agreement
           or lease is for and the                                              John Henry Foster MN, Inc.
           nature of the debtor’s                                               3103 Mike Collins Dr
           interest                                                             Eagan, MN 55121
           State the term              Effective Date: 6/1/2023
           remaining
           List the contract number
           of any government
           contract

  2.18     State what the contract     Agreement
           or lease is for and the                                              KnowBe4
           nature of the debtor’s                                               33 N Garden Ave
           interest                                                             Ste 1200
           State the term                                                       Clearwater, FL 33755
           remaining
           List the contract number
           of any government
           contract

  2.19     State what the contract     KONE Care Maintenance Agreement
           or lease is for and the                                              KONE
           nature of the debtor’s                                               2965 Lone Oak Drive
           interest                                                             Suite 100
           State the term              Effective Date: 12/1/2021                Eagan, MN 55121
           remaining
           List the contract number
           of any government
           contract

  2.20     State what the contract     Grounds Maintenance Contract
           or lease is for and the                                              LawnPro Grounds Maintenance
           nature of the debtor’s                                               PO Box 374
           interest                                                             Hugo, MN 55038
           State the term              Effective Date: 4/1/2017
           remaining
           List the contract number
           of any government
           contract

  2.21     State what the contract     Lease Agreement
           or lease is for and the                                              Loffler
           nature of the debtor’s                                               1101 E 78th St
           interest                                                             Bloomington, MN 55420
           State the term              Effective Date: 8/30/2023
           remaining
           List the contract number
           of any government
           contract
Debtor   Water Gremlin Company___________________________________________________       Case number (if known) 23-11775________________________________________
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  2.22     State what the contract     Vehicle Lease Order
           or lease is for and the                                               Luther White Bear Acura Subaru
           nature of the debtor’s                                                3525 N Hwy 61
           interest                                                              White Bear Lake, MN 55110
           State the term              Effective Date: 1/26/2021
           remaining
           List the contract number
           of any government
           contract

  2.23     State what the contract     Vehicle Lease Order
           or lease is for and the                                               Luther White Bear Acura Subaru
           nature of the debtor’s                                                3525 N Hwy 61
           interest                                                              White Bear Lake, MN 55110
           State the term              Effective Date: 1/4/2022
           remaining
           List the contract number
           of any government
           contract

  2.24     State what the contract     Master Service Agreement
           or lease is for and the                                               Masterson Staffing Solutions Inc.
           nature of the debtor’s                                                3300 Fernbrook Ln N
           interest                                                              Ste 200
           State the term              Effective Date: 6/18/2021                 Plymouth, MN 55447
           remaining
           List the contract number
           of any government
           contract

  2.25     State what the contract     Midwest Protection Agency Inc. Contract
           or lease is for and the                                               Midwest Protection Agency Inc.
           nature of the debtor’s                                                533 Central Ave
           interest                                                              Minneapolis, MN 55369
           State the term              Effective Date: 10/5/2023
           remaining
           List the contract number
           of any government
           contract

  2.26     State what the contract     Agreement
           or lease is for and the                                               Nations Roof, LLC
           nature of the debtor’s                                                851 E. I-65 Service Road S
           interest                                                              Suite 300
           State the term              Effective Date: 7/26/2023                 Mobile, AL 36606
           remaining
           List the contract number
           of any government
           contract

  2.27     State what the contract     Lease Agreement
           or lease is for and the                                               Pitney Bowes Inc.
           nature of the debtor’s                                                PO Box 981026
           interest                                                              Boston, MA 02298-1026
           State the term              Effective Date: 4/29/2022
           remaining
           List the contract number
           of any government
           contract
Debtor   Water Gremlin Company___________________________________________________        Case number (if known) 23-11775________________________________________
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  2.28     State what the contract     Agreement
           or lease is for and the                                                PMC Insurance Agency, Inc.
           nature of the debtor’s                                                 PMC Insurance Group
           interest                                                               209 Burlington Rd
           State the term              Effective Date: 8/1/2023                   Ste 109
           remaining                                                              Bedford, MA 01730
           List the contract number
           of any government
           contract

  2.29     State what the contract     Agreement
           or lease is for and the                                                Robert Half
           nature of the debtor’s                                                 30 E. 7th Street
           interest                                                               Suite 3150
           State the term              Effective Date: 10/16/2023                 St. Paul, MN 55101
           remaining
           List the contract number
           of any government
           contract

  2.30     State what the contract     Closed-End Motor Vehicle Lease Agreement
           or lease is for and the                                                Rudy Luthers White Bear Motors
           nature of the debtor’s                                                 3525 Hwy 61 N
           interest                                                               White Bear Lake, MN 55110
           State the term              Effective Date: 1/4/2023
           remaining
           List the contract number
           of any government
           contract

  2.31     State what the contract     Professional Services Agreement
           or lease is for and the                                                Stantec Consulting Services Inc.
           nature of the debtor’s                                                 Attn: Aaron Benker
           interest                                                               1800 Pioneer Creek Center
           State the term              Effective Date: 5/26/2021                  Maple Plain, MN 55359
           remaining
           List the contract number
           of any government
           contract

  2.32     State what the contract     Epic Live Order Agreement
           or lease is for and the                                                StormWind, LLC
           nature of the debtor’s                                                 17550 N Perimeter Dr
           interest                                                               Ste 300
           State the term              Effective Date: 9/29/2023                  Scottsdale, AZ 85255
           remaining
           List the contract number
           of any government
           contract

  2.33     State what the contract     Agreement
           or lease is for and the                                                Subaru Motors Finance
           nature of the debtor’s                                                 PO Box 78058
           interest                                                               Phoenix, AZ 85062-8058
           State the term
           remaining
           List the contract number
           of any government
           contract
Debtor   Water Gremlin Company___________________________________________________      Case number (if known) 23-11775________________________________________
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  2.34     State what the contract    Inspection Service Agreement
           or lease is for and the                                              Summit Fire Protection Co.
           nature of the debtor’s                                               Attn: Matthew Allen
           interest                                                             575 Minnehaha Ave West
           State the term             Effective Date: 8/1/2021                  St. Paul, MN 55103
           remaining
           List the contract number
           of any government
           contract

  2.35     State what the contract    Inspection Service Agreement
           or lease is for and the                                              Summit Fire Protection Co.
           nature of the debtor’s                                               Attn: Matthew Allen
           interest                                                             575 Minnehaha Ave West
           State the term             Effective Date: 8/1/2021                  St. Paul, MN 55103
           remaining
           List the contract number
           of any government
           contract

  2.36     State what the contract    Agreement
           or lease is for and the                                              UKG Inc.
           nature of the debtor’s                                               PO Box 930953
           interest                                                             Atlanta, GA 31193-0953
           State the term             Effective Date: 3/23/2021
           remaining
           List the contract number
           of any government
           contract

  2.37     State what the contract    Agreement
           or lease is for and the                                              United of Omaha Life Insurance Company
           nature of the debtor’s                                               3300 Mutual of Omaha Plaza
           interest                                                             Omaha, NE 68175
           State the term             Effective Date: 1/1/2023
           remaining
           List the contract number
           of any government
           contract

  2.38     State what the contract    Agreement
           or lease is for and the                                              United of Omaha Life Insurance Company
           nature of the debtor’s                                               3300 Mutual of Omaha Plaza
           interest                                                             Omaha, NE 68175
           State the term
           remaining
           List the contract number
           of any government
           contract

  2.39     State what the contract    Amendment Number One to the Letter of
           or lease is for and the    Understanding                             W.W. Grainger, Inc.
           nature of the debtor’s                                               100 Grainger Pkwy
           interest                                                             Lake Forest, IL 60045
           State the term             Effective Date: 7/28/2022
           remaining
           List the contract number
           of any government
           contract
Debtor   Water Gremlin Company___________________________________________________     Case number (if known) 23-11775________________________________________
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  2.40     State what the contract    Revised T&M Agreement
           or lease is for and the                                              Wenck now Stantec
           nature of the debtor’s                                               Attn: Aaron Benker
           interest                                                             1800 Pioneer Creek Center
           State the term                                                       Maple Plain, MN 55359
           remaining
           List the contract number
           of any government
           contract

  2.41     State what the contract    Equipment Lease Agreement
           or lease is for and the                                              XTRA Lease
           nature of the debtor’s                                               7911 Forsyth Blvd.
           interest                                                             Suite 600
           State the term             Effective Date: 7/5/2022                  St. Louis, MO 63105-3825
           remaining
           List the contract number
           of any government
           contract
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  Fill in this information to identify the case:

  Debtor name: Water Gremlin Company

  United States Bankruptcy Court for the: District of Delaware
                                                                                                                                                                        Check if this is an
  Case number: 23-11775
                                                                                                                                                                        amended filing


Official Form 206H
Schedule H: Codebtors

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the Additional Page to this
page.

1. Does the debtor have any codebtors?

   No. Check this box and submit this form to the court with the debtor’s other schedules. Nothing else needs to be reported on this form.

   Yes

2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of creditors, Schedules D-G. Include all
guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one
creditor, list each creditor separately in Column 2.

 Column 1: Codebtor                                                                                 Column 2: Creditor


 Name                              Mailing Address                                                  Name                                                              Check all schedules
                                                                                                                                                                      that apply:

2.1
Okabe Co., Ltd                                                                                     Mizuho Bank                                                             D
                                  2-8-2, Oshiage, Sumida-ku
                                  Tokyo 131-0045                                                                                                                           E/F
                                  Japan
                                                                                                                                                                           G
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  Fill in this information to identify the case:

  Debtor name: Water Gremlin Company

  United States Bankruptcy Court for the: District of Delaware
                                                                                                                                                     Check if this is an
  Case number: 23-11775
                                                                                                                                                     amended filing


Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this form for the schedules of
assets and liabilities, any other document that requires a declaration that is not included in the document, and any amendments of those documents. This form must
state the individual’s position or relationship to the debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.
WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection with a
bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


  I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another individual serving as a
  representative of the debtor in this case.

  I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


       Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

       Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

       Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

       Schedule H: Codebtors (Official Form 206H)

       Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

       Amended Schedule

       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

       Other document that requires a
  declaration

I declare under penalty of perjury that the foregoing is true and correct.

12/18/2023                                                                             /s/ Bradley J. Hartsell

Executed on                                                                            Signature of individual signing on behalf of debtor
                                                                                       Bradley J. Hartsell

                                                                                       Printed name
                                                                                       President

                                                                                       Position or relationship to debtor
